Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31           Desc Main
                                 Document    Page 1 of 108




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

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Case 21-03032-MBK       Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31             Desc Main
                               Document    Page 2 of 108



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                                                    Chapter 11

  In re:                                            Case No.: 21-30589(MBK)

  LTL MANAGEMENT, LLC,                              Honorable Michael B. Kaplan

                               Debtor.



  LTL MANAGEMENT LLC,                                Adv. Pro. No. 21-03032 (MBK)


                               Plaintiff,

           v.


  THOSE PARTIES LISTED ON
  APPENDIX A TO COMPLAINT
  and JOHN AND JANE
  DOES 1-1000,

                               Defendants.


     OBJECTION OF THE OFFICIAL COMMITTEE OF TALC CLAIMANTS TO
   DEBTOR’S MOTION FOR AN ORDER (I) DECLARING THAT THE AUTOMATIC
     STAY APPLIES TO CERTAIN ACTIONS AGAINST NON-DEBTORS OR (II)
      PRELIMINARILY ENJOINING SUCH ACTIONS AND (III) GRANTING A
       TEMPORARY RESTRAINING ORDER PENDING A FINAL HEARING
Case 21-03032-MBK                  Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                          Desc Main
                                          Document    Page 3 of 108



                                                   TABLE OF CONTENTS
                                                                                                                                    Page

 TABLE OF AUTHORITIES ......................................................................................................... iii

 PRELIMINARY STATEMENT .....................................................................................................1

 FACTUAL BACKGROUND..........................................................................................................5

           I.         The Debtor, Its Estate and Its Creditors.................................................................. 5

           II.        Events Culminating in the Debtor’s Bankruptcy Filing ......................................... 7

                      A.         J&J and Its Talcum Powder Products ......................................................... 7

                      B.         Talcum Powder Litigation ........................................................................ 14

                      C.         J&J’s Prior Preference for the Tort System over Bankruptcy Court ........ 22

                      D.         J&J Decides to Shift Course ..................................................................... 25

                      E.         The “Texas Two-Step” ............................................................................. 28

                      F.         The Bankruptcy Filing and Announced Stay of Litigation....................... 39

           III.       Relevant Procedural History ................................................................................. 41

 ARGUMENT.................................................................................................................................44

           I.         THE DEBTOR HAS NOT ESTABLISHED THAT ANY EXTENSION OF THE
                      STAY under § 362(a) IS WARRANTED ............................................................ 44

                      A.         Section 362(a) Was Enacted to Give a Reprieve to the Debtor................ 44

                      B.         The Stay Should Not Be Extended Here Under § 362(a)(1) .................... 47

                      C.         The Stay Under §362(a)(3) is Inapplicable Here...................................... 73

           II.        THE DEBTOR HAS NOT DEMONSTRATED ITS ENTITLEMENT TO
                      PRELIMINARY INJUNCTIVE RELIEF UNDER § 105(A) OF THE
                      BANKRUPTCY CODE........................................................................................ 77

                      A.         The Court Does Not Have Subject Matter Jurisdiction to Issue the
                                 Requested Injunction Enjoining Actions Between Non-Debtors ............. 78

                      B.         The Debtor Has Not Satisfied Its Burden of Establishing the Requirements
                                 for Granting the Extraordinary Relief of a Preliminary Injunction .......... 82



                                                                      i
Case 21-03032-MBK                  Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                         Desc Main
                                          Document    Page 4 of 108



                      C.        The Debtor’s Request for Equitable Relief Should Be Denied Due to The
                                Debtor’s (and J&J’s) Unclean Hands ....................................................... 93

 CONCLUSION..............................................................................................................................95




                                                                     ii
Case 21-03032-MBK                      Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                                    Desc Main
                                              Document    Page 5 of 108



                                                             Table of Authorities
                                                                                                                                                    Page

 Cases

 A.H. Robins Co., Inc. v. Piccinin,
   788 F.2d 994 (4th Cir.) .................................................................................................................... passim

 Algemene Bank Nederland, N.V. v. Hallwood Indus., Inc.,
   133 B.R. 176 (W.D. Pa. 1991).......................................................................................................... 70, 88

 Allen v. McCurry,
    449 U.S. 90 (1980) ................................................................................................................................. 72

 Assoc. of St. Croix Condo. Owners v. St. Croix Hotel Corp.,
   682 F.2d 446 (3d Cir. 1982) ................................................................................................................... 45

 Austin v. Unarco Industries, Inc.,
   705 F.2d 1 (1st Cir. 1983) ...................................................................................................................... 61

 Bippus v. Norton Co.,
   437 F. Supp. 104 (E.D. Pa. 1977)........................................................................................................... 66

 Blackstone Valley Elec. Co. v. Stone & Webster, Inc.,
   867 F. Supp. 73 (D. Mass. 1994)............................................................................................................ 66

 Bouton v. Litton Indus., Inc.,
   423 F.2d 643 (3d Cir. 1970) ............................................................................................................. 66, 67

 Bradberry v. Carrier Corp.,
   86 So. 3d 973 (Ala. 2011) ................................................................................................................ 48, 59

 CAE Indus. Ltd. v. Aerospace Holdings Co.,
   116 B.R. 31 (S.D.N.Y. 1991) ................................................................................................................. 69

 City of Chicago v. Fulton,
    141 S. Ct. 585 (2021) ............................................................................................................................. 45

 Constitution Bank v. Tubbs,
   68 F.3d 685 (3d Cir. 1995) ..................................................................................................................... 45

 Cowan v. Harris Corp.,
   1982 WL 602774 (D. Kan. 1982)........................................................................................................... 66

 Darcy v. Brooklyn & N.Y. Ferry Co.,
   89 N.E. 461 (N.Y. 1909) ........................................................................................................................ 64

 Deutsche Bank Nat. Trust Co. v. FDIC,
   109 F. Supp. 3d 179 (D.D.C. 2015).................................................................................................. 65, 66



                                                                            iii
Case 21-03032-MBK                       Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                                      Desc Main
                                               Document    Page 6 of 108


 Eastern Refractories Co. v. Forty Eight Insulations Inc.,
   157 F.3d 169 (2d Cir. 1998) ............................................................................................................. 44, 45

 Edwards v. McElliotts Trucking, LLC,
   2017 WL 5559921 (S.D. W. Va. Nov. 17, 2017)................................................................................... 49

 Elsinore,
    91 B.R. 238............................................................................................................................................. 80

 Federal–Mogul Global, Inc.,
   300 F.3d 382..................................................................................................................................... 79, 81

 Federal-Mogul,
   282 B.R. 308........................................................................................................................................... 70

 Ferguson v. Arcata Redwood Co.,
   2004 WL 2600471 (N.D. Cal. 2004) ..................................................................................................... 66

 Feuer v. Merck & Co.,
   187 A.3d 873 (N.J. App. Div. 2018) ...................................................................................................... 65

 Forcine Concrete & Const. Co. v. Manning Equip. Sales & Serv.,
   426 B.R. 520 (E.D. Pa. 2010)........................................................................................................... 70, 71

 Gold v. Johns-Manville Sales Corp.,
   723 F.2d 1068 (3d Cir. 1983) ........................................................................................................... 60, 61

 Goldin v. Primavera Familienstiftung Tag Assocs. (In re Granite Partners, L.P.),
   194 B.R. 318 (Bankr. S.D.N.Y. 1996).................................................................................................... 76

 Granfinanciera, S.A. v. Nordberg,
   492 U.S. 33 (1989) ................................................................................................................................. 92

 Gray v. Hirsch,
   230 B.R. 239 (S.D.N.Y.1999) ................................................................................................................ 47

 Halper v. Halper,
   164 F.3d 830........................................................................................................................................... 78

 Haring v. Prosise,
   462 U.S. 306 (1983) ............................................................................................................................... 72

 Harrison Lumber & Hardware Co. v. C. I. R.,
   15 T.C.M. (CCH) 281 (Tax 1956).......................................................................................................... 66

 Holland v. High Power Energy,
   248 B.R. 53 (S.D. W. Va. 2000)............................................................................................................. 60

 Huylar v. Cragin Cattle Co.,
   7 A. 521 (N.J. Ch. 1887) ........................................................................................................................ 65



                                                                              iv
Case 21-03032-MBK                     Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                                Desc Main
                                             Document    Page 7 of 108


 In re Aldan Indus., Inc.,
    No. 00-10360DWS, 2000 WL 357719 (Bankr. E.D. Pa. Apr. 3, 2000) ..................................... 48, 49, 60

 In re Aldrich Pump, LLC,
    20-30608 (JCW), 2021 WL 3729335 (Bank. W.D.N.C. Aug. 23, 2021) ................................... 25, 55, 85

 In re All Seasons Resorts, Inc.,
    79 B.R. 901 (Bankr. C.D. Cal. 1987) ............................................................................................... 49, 57

 In re Am. Cap. Equip., LLC,
    688 F.3d 145 (3d Cir. 2012) ............................................................................................................. 86, 87

 In re Am. Film Techs., Inc.,
    175 B.R. 847 (Bankr. D. Del. 1994)................................................................................................. 72, 73

 In re Bestwall LLC,
    606 B.R. 243 (Bankr. W.D.N.C. 2019) ................................................................................ 55, 56, 84, 85

 In re Bora Bora, Inc.,
    424 B.R. 17 (Bankr. D.P.R. 2010).......................................................................................................... 49

 In re Briarpatch Film Corp.,
    281 B.R. 820 (Bankr. S.D.N.Y. 2002).................................................................................................... 46

 In re Brier Creek Corporate Center Associates Ltd.,
    486 B.R. 681 (Bankr. E.D.N.C. 2013).............................................................................................. 51, 80

 In re Colonial Realty,
    980 F.2d 125 (2d Cir. 1992) ................................................................................................................... 46

 In re Combustion Eng’g, Inc.,
    391 F.3d 190 (3d Cir. 2004) ............................................................................................................passim

 In re DBMP LLC,
    Case No. 20-30080 (JCW), 2021 WL 3552350 (Bankr. W.D.N.C. Aug. 11, 2021) ............ 25, 55, 56, 85

 In re Denby-Peterson,
    941 F.3d 115 (3d Cir. 2019) ....................................................................................................... 45, 52, 84

 In re F.T.L., Inc.,
    152 B.R. 61 (E.D. Va. 1993) .................................................................................................................. 49

 In re Federal-Mogul Global Inc.,
    411 B.R. 148 (Bankr. D. Del. 2008)....................................................................................................... 63

 In re First Cent. Fin. Corp.,
    238 B.R. 9 (Bankr. E.D.N.Y. 1999) ....................................................................................................... 57

 In re FPSDA I, LLC,
    No. 10-75439, 2012 WL 6681794 (Bankr. E.D.N.Y. Dec. 21, 2012)........................................ 49, 56, 83



                                                                          v
Case 21-03032-MBK                     Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                                 Desc Main
                                             Document    Page 8 of 108


 In re G-I Holdings Inc.,
    420 B.R. 216 (D.N.J. 2009).................................................................................................................... 82

 In re G-I Holdings,
    580 B.R. 388 (Bankr. D.N.J. 2018) ........................................................................................................ 80

 In re Heating Oil Partners,
    No. 3:08-CV-1976 CSH, 2009 WL 5110838 (D. Conn. Dec. 17,2009) ................................................ 50

 In re Imerys Talc America, Inc, Inc.,
    2019 WL 3253366(D. Del. 2019)..................................................................................................... 74, 81

 In re Integrated Telecom Express, Inc.,
    384 F.3d 108 (3d Cir. 2004) ................................................................................................................... 53

 In re Irwin,
    457 B.R. 413 (Bankr. E.D. Pa. 2011) ..................................................................................................... 51

 In re Johns-Manville Corp.,
    26 B.R. 405 (Bankr. S.D.N.Y. 1983)...................................................................................................... 45

 In re Johns-Manville Corp.,
    801 F.2d 60 (2d Cir. 1986) ..................................................................................................................... 79

 In re Johnson & Johnson Talcum Products,
    509 F. Supp. 3d 116 (D.N.J. 2020)......................................................................................................... 17

 In re Kaiser Aluminum Corp.,
    456 F.3d 328 (3d Cir. 2006) ................................................................................................................... 52

 In re KB Toys Inc.,
    736 F.3d 247 (3d Cir. 2013) ................................................................................................................... 84

 In re Lower Bucks Hosp.,
    488 B.R. 303 (E.D. Pa. 2013)........................................................................................................... 58, 81

 In re MCSi, Inc.,
    371 B.R. 270 (S.D. Ohio 2004) .............................................................................................................. 72

 In re Metal Center, Inc.,
    31 B.R. 458 (Bankr. D. Conn. 1983)...................................................................................................... 72

 In re Millennium Lab Holdings II LLC,
    945 F.3d 126 (3d Cir. 2019) ................................................................................................................... 53

 In re Monroe Well Serv., Inc.,
    67 B.R. 746 (Bankr. E.D. Pa. 1986) ........................................................................................... 51, 80, 91

 In re New Valley Corp.,
    181 F.3d 517 (3d Cir. 1999) ............................................................................................................. 92, 93



                                                                          vi
Case 21-03032-MBK                     Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                                  Desc Main
                                             Document    Page 9 of 108


 In re Owens Corning,
    419 F.3d 195 (3d Cir. 2005) ................................................................................................................... 53

 In re Phila. Newspapers, LLC,
    418 B.R. 548 (E.D. Pa. 2009)................................................................................................................. 52

 In re Phila. Newspapers, LLC,
    407 B.R. 606 (E.D. Pa. 2009)............................................................................................... 49, 78, 79, 82

 In re Quigley Co., Inc.,
    676 F.3d 45 (2d Cir. 2012) ............................................................................................................... 75, 87

 In re Saxby’s Coffee Worldwide, LLC,
    440 B.R. 369 (Bankr. E.D. Pa. 2009) ............................................................................................... 51, 82

 In re Scarborough-St. James Corp.,
    535 B.R. 60 (Bankr. D. Del. 2015)................................................................................................... 45, 51

 In Re Seven Fields Dev. Corp.,
    505 F.3d (3d Cir. 2007) ......................................................................................................................... 80

 In re Trans-Service Logistics, Inc.,
    304 B.R. 805 (Bankr. S.D. Ohio 2004) .................................................................................................. 49

 In re Uni-Marts, LLC,
    399 B.R. 400 (Bankr. D. Del. 2009)........................................................................................... 47, 48, 57

 In re Univ. Med. Ctr.,
    82 B.R. 754 (Bankr. E.D. Pa. 1988) ....................................................................................................... 50

 In re W.R. Grace & Co.,
    No. 01-01139 (JKF), 2004 WL 954772 (Bankr. D. Del. Apr. 29, 2004) ............................................... 48

 In re Wedgewood Realty Group, Ltd.,
    878 F.2d 693 (3d Cir. 1989) ............................................................................................................. 49, 77

 In SGL Carbon Corp.,
    200 F.3d 154 (3d Cir. 1999) ................................................................................................................... 53

 In W.R. Grace & Co. v. Chakarian (In re W.R. Grace & Co.),
    386 B.R. 17 (Bankr. D. Del. 2008)......................................................................................................... 72

 Ingham v. Johnson & Johnson,
    608 S.W.3d 663 (Mo. Ct. App. 2020) ........................................................................................ 19, 20, 90

 Instant Air Freight Co. v. C.F. Air Freight, Inc.,
    882 F.2d 797 (3d Cir. 1989) ................................................................................................................... 81

 Int'l Union of Painters & Allied Trades Dist. Council No. 21 Health & Welfare Fund v.
    Serv. Painting, Inc.,
    No. CV 18-3480, 2019 WL 2143370 (E.D. Pa. May 16, 2019) ............................................................. 72


                                                                          vii
Case 21-03032-MBK                      Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                                     Desc Main
                                             Document    Page 10 of 108


 Jackson v. Trump Ent. Resorts, Inc.,
   No. CV 13-1605 (JHR/JS), 2015 WL 13637411 (D.N.J. Feb. 11, 2015)......................................... 46, 70

 Jaycox v. Terex Corp.,
   No. 4:19-CV-02650 SRC, 2021 WL 2187907 (E.D. Mo. May 28, 2021).............................................. 63

 Kaiser Group Int'l, Inc. v. Kaiser Aluminum and Chem. Corp. (In re Kaiser Aluminum Corp., Inc.),
   315 B.R. 655 (D. Del. 2004) .................................................................................................................. 50

 Keystone Driller Co. v. General Excavating Co.,
   290 U.S. 240 (1933) ............................................................................................................................... 93

 Lyondell Chem. Co. v. CenterPoint Energy Gas Servs., Inc.,
   402 B.R. 571..................................................................................................................................... 51, 80

 Maaco Enters., Inc. v. Corrao,
   91-3325, 1991 WL 255132 (E.D. Pa. Nov. 25, 1991)............................................................................ 50

 Mallinckrodt PLC v. Connecticut,
   20-408-LPS, 2021 WL 523625 (D. Del. Feb. 2, 2021) .......................................................................... 50

 Maritime Elec. Co. v. United Jersey Bank,
   959 F.2d 1194 (3d Cir. 1991) ........................................................................................................... 45, 46

 Matter of S.I. Acquisition, Inc.,
   817 F.2d 1142......................................................................................................................................... 83

 Mazurek v. Armstrong,
   520 U.S. 968 (1997) ......................................................................................................................... 82, 83

 McCartney v. Integra Nat. Bank N.,
   106 F.3d 506 (3d Cir. 1997) ................................................................................................. 45, 46, 47, 49

 Milchalko v. Cooke Color & Chem. Corp.,
   91 N.J. 386 (1982) .................................................................................................................................. 69

 Millard v. Developmental Disabilities Institute, Inc.,
   266 B.R. 42 (E.D.N.Y. 2001) ..................................................................................................... 49, 50, 57

 Mitchell v. Horn,
   318 F.3d 523 (3d Cir. 2003) ................................................................................................................... 52

 Monsanto Co. v. Geertson Seed Farms,
   561 U.S. 139 (2010) ............................................................................................................................... 81

 Muskrat v. United States,
   219 U.S. 346 (1911) ............................................................................................................................... 54

 Novartis Consumer Health, Inc. v. Johnson & Johnson – Merck Consumer Pharmaceuticals Co.,
   290 F.3d 578 (3d Cir. 2002) ................................................................................................................... 82



                                                                           viii
Case 21-03032-MBK                       Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                                     Desc Main
                                              Document    Page 11 of 108


 NutraSweet Co. v. Vit-Mar Enterprises, Inc.,
   176 F.3d 151 (3d Cir. 1999) ................................................................................................................... 82

 Nuveen Mun. Tr. ex rel. Nuveen High Yield Mun. Bond Fund v. WithumSmith Brown, P.C.,
   692 F.3d 283 (3d Cir. 2012) ................................................................................................................... 78

 Official Unsecured Creditors Committee of Phar-Mor, Inc. v. Bowen, et al. (In re Phar-Mor, Inc.
   Sec. Litig.),
   164 B.R. 903 (W.D. Pa. 1994).................................................................................................... 57, 74, 82

 Pacor, Inc. v. Higgins,
   743 F.2d 984 (3d Cir. 1984) ....................................................................................................... 72, 78, 79

 Paden v. Union for Experimenting Colleges and Universities,
   7 B.R. 289 (N.D. Ill. 1980)..................................................................................................................... 45

 Patton v. Bearden,
   8 F.3d 343 (6th Cir. 1993) ...................................................................................................................... 49

 Phar-Mor, Inc. v. Gen. Elec. Capital Corp. (In re Phar-Mor, Inc. Sec. Litig.),
   166 B.R. 57 (W.D. Pa. 1994).................................................................................................................. 59

 Pierre-Louis v. DeLonghi America, Inc.,
   66 A.D.3d 859, 887 N.Y.S.2d 628 (2d Dep’t 2009)............................................................................... 69

 Poe v. Ullman,
   367 U.S. 497 (1961) ............................................................................................................................... 54

 Queenie, Ltd. v. Nygard Int'l,
   321 F.3d 282 (2d. Cir. 2003) ...................................................................................................... 48, 71, 72

 Richards v. Musselman,
    267 S.E.2d 164 ....................................................................................................................................... 92

 Solidus Networks, Inc. v. Excel Innovations, Inc. (In re Excel Innovations, Inc.),
   502 F.3d 1086 (9th Cir. 2007) ................................................................................................................ 82

 Stanford v. Foamex L.P.,
    2009 WL 1033607 (E.D. Pa. Apr. 15, 2009).......................................................................................... 60

 Stoe v. Flaherty,
    436 F.3d 209 (3d Cir. 2006) ............................................................................................................. 78, 80

 Teachers Ins. & Annuity Ass’n of Am. v. Butler,
   803 F.2d 61 (2d Cir. 1986) ..................................................................................................................... 49

 Tenafly Eruv Ass'n, Inc. v. Borough of Tenafly,
   309 F.3d 144 (3d Cir. 2002) ................................................................................................................... 82

 Travelodge Hotels, Inc. v. Patel,
   C.A. No. 13-03719 (WHW), 2013 WL 4537906 (D.N.J. Aug. 27, 2013) ............................................. 46


                                                                             ix
Case 21-03032-MBK                       Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                                     Desc Main
                                              Document    Page 12 of 108


 United States Trustee v. Gryphon at the Stone Mansion, Inc.,
   166 F.3d 552 (3d Cir.1999) .................................................................................................................... 78

 United States v. Johnson,
   319 U.S. 302 (1943) ............................................................................................................................... 54

 United States v. Ron Pair Enters., Inc.,
   489 U.S. 235 (1989) ............................................................................................................................... 52

 Wedgeworth v. Fibreboard Corp.,
   706 F.2d 541 (5th Cir. 1983) ............................................................................................................ 61, 62

 Williford v. Armstrong World Industries, Inc.,
   715 F.2d 124 (4th Cir. 1983) ...................................................................................................... 60, 61, 90

 Winter v. Natural Resources Defense Council, Inc.,
   555 U.S. 7 (2008) ............................................................................................................................. 81, 83

 Worldcom, Inc. v. Boyne,
   68 Fed. App’x. 447 (4th Cir. 2003) ........................................................................................................ 92

 Statutes

 11 U.S.C. § 101........................................................................................................................................... 85

 11 U.S.C. § 105....................................................................................................................................passim

 11 U.S.C. § 105(a) ...............................................................................................................................passim

 11 U.S.C. § 129(a)(10)................................................................................................................................ 86

 11 U.S.C. § 301(b) ...................................................................................................................................... 85

 11 U.S.C. § 362....................................................................................................................................passim

 11 U.S.C. § 362(a)(1).................................................................................................................................. 44

 11 U.S.C. § 362(a)(3).................................................................................................................................. 44

 11 U.S.C. § 362(a) ...............................................................................................................................passim

 11 U.S.C. § 362(a)(3).................................................................................................................................. 46

 11 U.S.C. § 502(e)(1)(B) ............................................................................................................................ 89

 11 U.S.C. § 524........................................................................................................................................... 86

 11 U.S.C. § 524(g)(4)(a) ............................................................................................................................. 87

 11 U.S.C. § 524(g) ...............................................................................................................................passim

 11 U.S.C. § 524(g)(2)(B)(ii)(IV)(bb).......................................................................................................... 86

                                                                              x
Case 21-03032-MBK                       Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                                     Desc Main
                                              Document    Page 13 of 108


 11 U.S.C. § 524(g)(4)(A)(ii) ....................................................................................................................... 87

 11 U.S.C. § 524(g)(4)(A)(ii)(I) ................................................................................................................... 85

 11 U.S.C. § 524(g)(4)(A)(ii)(II).................................................................................................................. 85

 11 U.S.C. § 524(g)(4)(A)(iii) ...................................................................................................................... 85

 11 U.S.C. § 548(a) ...................................................................................................................................... 58

 28 U.S.C. § 157(b)(5) ................................................................................................................................. 23

 28 U.S.C. § 1334(b) .............................................................................................................................. 23, 78

 28 U.S.C. § 1407..................................................................................................................................... 5, 92

 N.J.S.A. 14A:5–28 ...................................................................................................................................... 65

 N.J.S.A. 14A:5–28(4) ................................................................................................................................. 65

 Rules

 Fed. R. Civ. P. 8(a) ..................................................................................................................................... 17

 Fed. R. Civ. P. 9(b) ..................................................................................................................................... 17

 Fed. R. Bankr. P. 7001(7) ........................................................................................................................... 41

 Other Authorities

 6 Norton Bankr. L. & Prac. § 112:10 (3d ed. 2012) ................................................................................... 86

 11A Wright, Miller & Kane, Federal Practice and Procedure § 2948, p. 129-30 (1995) ........................... 82

 63 Am. Jur. 2d Products Liability § 91 (Aug. 2021 update)....................................................................... 68

 Fletcher Cyc. Corp. §§ 2189, 2191, 2193 ................................................................................................... 65

 H.R. Rep. No. 95–595................................................................................................................................. 45

 Restatement, Torts 2d, § 402A.................................................................................................................... 69




                                                                              xi
Case 21-03032-MBK            Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                          Desc Main
                                   Document    Page 14 of 108



         The Official Committee of Talc Claimants (the “Official Committee”)1 appointed in the

 above-referenced chapter 11 case (the “Bankruptcy Case”) of LTL Management LLC (“LTL” or

 the “Debtor”), hereby submits this memorandum of law in support of its Objection to the Debtor’s

 Motion for an order (I) Declaring That the Automatic Stay Applied to Certain Actions Against

 Non-Debtors or (II) Preliminarily Enjoining Such Actions and (III) Granting a Temporary

 Restraining Order Pending a Final Hearing [Adv. Pro. Dkt. No. 2] (the “Motion”) and in response

 to the Debtor’s Supplemental Memorandum of Law in Support of Preliminary Injunction Motion

 [Adv. Pro. Dkt. No. 128] (the “Supplemental Memorandum”),2 and respectfully states as

 follows:

                                     PRELIMINARY STATEMENT

         LTL was created two days before its Chapter 11 filing with the stated purpose of filing for

 bankruptcy. Through this bankruptcy, generally, and by this motion, specifically, Johnson &

 Johnson (“J&J”) seeks to “borrow” for itself and its commercial partners LTL’s automatic stay

 (without itself filing for bankruptcy), seize up all cosmetic talcum powder-related litigation being

 prosecuted against J&J, and gain a litigation advantage over dying of cancer. From the perspective

 of J&J and the Debtor, this case (as ugly as can be) is about litigation advantage, plain and simple.

         The automatic stay, though, is no small thing: It is a statutory injunction, indiscriminately

 imposed, that serves as a complete restraint on Seventh Amendment entitlements. It is brutal in

 effect. And, because it is so powerful, it is very carefully circumscribed. By its plain terms, it

 protects the estate, and the estate alone. And, even then, it is temporary and subject to exceptions

 and relief therefrom (including, especially hardship relief). There is no explicit statutory basis in


 1
         The Official Committee is a party to the adversary proceeding by virtue of a Stipulation and Order between
 the Debtor and the Official Committee entered on November 24, 2021. Adv. Pro. Dkt. No. 109.
 2
         References to the Supplemental Memorandum are cited as “Mem. at __.”

                                                         1
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                 Document    Page 15 of 108



 § 362(a) to extend the stay beyond the estate and, in fact, any such extension is inconsistent with

 the words of the statute. Courts have allowed such extensions under their general equity powers

 conferred in § 105(a). But, as the highest appellate courts have reiterated over and over, the courts’

 § 105(a) powers are limited and must be used sparingly. As such, extending the automatic stay

 beyond the estate is a rare, exceptional, almost emergency occurrence. The Debtor’s burden here

 is perhaps the heaviest in all of bankruptcy law.

         This is LTL’s fourth attempt to extend the stay to J&J and hundreds of J&J’s affiliates,

 insurers and retailers. All three of the Debtor’s prior attempts to extend the automatic stay for the

 duration of the bankruptcy case were rejected by the prior bankruptcy court. And for good reason.

 If successful, the Debtor’s effort to extend the stay would indefinitely and completely halt tens of

 thousands of lawsuits, including a five-year-old multi-district litigation pending in this District.

 All of those cases are filed against J&J and others — none have been filed against LTL.

         The Debtor’s first attempt at extending the stay was denied as procedurally infirm by the

 United States Bankruptcy Court for the Western District of North Carolina (the “North Carolina

 Court”). The second attempt — an oral application for a temporary restraining order — was

 denied by the North Carolina Court, which, after a half-day evidentiary hearing, expressed “grave

 concerns” with the requested extension. On the third attempt — a preliminary injunction motion

 decided after another day and a half of evidentiary hearings and following the announcement that

 the bankruptcy case would be transferred to this District — the North Carolina Court, “influenced

 heavily by the fact that I’m . . . sending the case to another court” and “the last thing I want to do

 is send it with it on fire,” granted interim relief for only 60 days and with the express intention

 “not . . . to bind” the recipient court.




                                                     2
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                Desc Main
                                 Document    Page 16 of 108



           On the record now before it, this Court should (once again) deny the extraordinary and

 unjustifiable relief requested by the Debtor. That record leaves no room for doubt that the Debtor’s

 request — manifestly made for the benefit of J&J and its affiliates and commercial partners —

 seeks to pervert the fundamental language, nature, and purpose of the Bankruptcy Code’s

 automatic stay. The stay was designed to give the honest but unfortunate debtor a breathing spell

 from the collection efforts of its creditors. But here, LTL seeks to extend that protection to one of

 the richest companies in the world, J&J, which is not in bankruptcy and has no need to resort to

 bankruptcy relief, in order to provide J&J with some refuge from mass tort litigation arising out of

 J&J’s own misconduct. In other words, this is the quintessential case of the tail wagging the dog:

 the debtor was designed for the automatic stay rather than the automatic stay designed for the

 debtor.

           The consequences of extending the automatic stay under these circumstances cannot be

 overstated. This case would provide a blueprint to transform the Bankruptcy Code into a tool for

 unbridled corporate greed and manipulation. The bankruptcy filing of a new shell entity formed

 solely for the purpose of housing inconvenient, embarrassing, or intractable liabilities would

 become the recipe for any corporation — no matter how solvent — to stonewall its creditors. If

 successful, the Debtor’s strategy would also gut the multi-district litigation system that Congress

 established in 28 U.S.C.§ 1407 to centralize, efficiently manage, and ultimately settle mass tort

 actions. That entire statutory litigation process would become obsolete, replaced by a system of

 divisive mergers and bankruptcy filings.

           The Third Circuit Court of Appeals and other courts have recognized that the automatic

 stay may be extended to non-debtors under “unusual circumstances,” i.e., where an “identity of

 interest” has been shown between the debtor and the non-debtors such that claims against the non-



                                                  3
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 17 of 108



 debtors are tantamount to claims against the debtor. However, no appellate or district court has

 ever applied the automatic stay in circumstances here, where the purported “identities of interests”

 were manufactured by the non-debtors on the eve of bankruptcy. To be clear, the Debtor did not

 sign or assume any of the indemnification agreements, insurance policies or tender letters on which

 it now relies to claim an identity of interest with J&J and its affiliates, insurers and retailers.

 Rather, it was J&J and its affiliates that purported to allocate all those various liabilities to the

 Debtor through a Texas “divisional merger.” Outside of a small handful of decisions — none

 precedential or persuasive — in “Texas Two-Step” cases filed exclusively in the North Carolina

 Court (the manufactured venue in which the Debtor chose to file this case), the Debtor cites to no

 case where, as here, the automatic stay was applied to non-debtors who, by corporate alchemy,

 fabricated their own identities of interest with the debtor days before putting the debtor into

 bankruptcy. This Court should not set precedent by expanding the reach of the automatic stay to

 such breathtaking lengths and solely on the basis of corporate artifice.

        Even if the identities of interest on which the Debtor now relies were not manufactured on

 the eve of its bankruptcy filing (and they were), there still would be no basis for extending the

 automatic stay here. As the language and history of the statute evince, the purpose of the automatic

 stay is to prevent creditor actions that would diminish the debtor’s assets. But that purpose finds

 no place in this bankruptcy, where the litigation claims are asserted against J&J, a half-trillion

 dollar corporation with practically no limits on its distributable assets. To be sure, the Debtor was

 allocated certain indemnification obligations, shared insurance, and/or defense payment

 obligations. But, this maneuvering was contrived. And, in any event, the Debtor claims that J&J

 — among the most solvent and credit-worthy institutions in the world — has agreed to replenish




                                                  4
Case 21-03032-MBK               Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31               Desc Main
                                      Document    Page 18 of 108



     any consequent erosion to the Debtor’s assets. In short, the rationale for applying the automatic

     stay — to prevent any adverse impact on the Debtor’s estate — is glaringly absent.

               In all events, were the Court even to reach the issue, the Debtor has not carried its heavy

     burden of establishing each of its supposed obligations on which it relies for purposes of its

     Motion. The Debtor’s position on each of these points — indemnification, shared insurance, and

     accepted tenders of defense — is unsupported by the record and flatly contradicted by the

     testimony of J&J’s own witnesses in numerous talcum powder litigations prior to the bankruptcy

     filing. Nor can the Debtor demonstrate any irreparable harm that would result from failure to grant

     injunctive relief, given its position that J&J has agreed to replenish any erosion in the Debtor’s

     estate.

               Conversely, the harm to tens of thousands of litigants dying of cancer from the denial of

     access to the courts is manifest. This Court should not close its eyes to the human costs of the

     Debtor’s requested relief, which would deny tens of thousands of dying victims their right to a day

     in court.

               The Motion should be denied in its entirety.

                                         FACTUAL BACKGROUND

I.             The Debtor, Its Estate and Its Creditors

               The Debtor is a special purpose vehicle (“SPV”) created by J&J and its consumer products

     subsidiary, Johnson and Johnson Consumer, Inc. (“JJCI” or “Old JJCI”), two days before its

     bankruptcy filing. (First Day Decl. of John K. Kim (“First Day Decl.”) [Main Dkt. No. 5], at ¶

     23). Its staff consists of three individuals, working out of J&J’s headquarters and other offices in

     New Jersey, seconded to the Debtor by Johnson & Johnson Services, Inc. (“J&J Services”), a J&J




                                                        5
Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                            Desc Main
                                    Document    Page 19 of 108



 subsidiary. (Id. at ¶ 29; Kim Dep. Tr., Oct. 31, 2021 (“Kim Tr.”), at 255:1-8, 262:9-264:3; 3 Oct.

 22, 2021 H’rg Tr. [Joint Claimant Ex. (“Cl. Ex.”)4 5], at 45:2-46:12; 5 Debtor Ex. (“Dbt. Ex.”) 6

 1 (LTL 0001874-89, LTL 0001890-900)). All three worked for J&J until the Debtor’s formation.

 (Cl. Ex. 5, at 45:9-46:15; Nov. 4, 2021 H’rg Tr., at 173:7-174:9; 276:11-20; First Day Decl., at ¶

 2). The Debtor’s Chief Legal Officer (“CLO”), John Kim, had been the head of Product Liability

 Litigation for J&J, but resigned from that post shortly before the Debtor’s formation and was

 succeeded by another J&J in-house attorney. (First Day Decl., at ¶ 2; Kim Tr., at 9:22-10:17,

 254:14-24).      Consequently, none of the Debtor’s staff have, or should have, any ongoing

 responsibilities with regard to products liability litigation filed against J&J at this point. (Kim Tr.,

 at 254:14-24).

          The Debtor does not have any operational presence. (Dbt. Ex. 1 (LTL 0001874-89)). It

 does not make anything or sell anything. It does not participate in the commercial world in any

 capacity. (First Day Decl., at ¶¶ 16-18, ¶¶ 22-24). In that vein, the Debtor did not sign, or

 otherwise take any steps to become a party to, any commercial agreement, including (as discussed




 3
         A copy of the Kim Transcript is attached as Exhibit “A” to the Declaration of Melanie L. Cyganowski in
 Support of Objection of the TCC to Debtor’s Motion for Preliminary Injunction, filed contemporaneously herewith
 (the “Cyganowski Decl.”). The Cyganowski Decl. attaches certain documents that were not submitted previously in
 connection with the Motion
 4        “Cl. Ex.” Refers to the Joint Claimants’ exhibits that were admitted into the record during the November 4-
 5, 2021 Preliminary Injunction Hearing in the North Carolina Court, Case No. 21-30589 (MBK), and related adversary
 proceeding Adv. Pro. No. 21-03032 (MBK).
 5        A copy of the October 22, 2021 hearing transcript is attached as Exhibit “1” to the Declaration of Adam C.
 Silverstein in Support of Objection of the TCC to Debtor’s Motion for Preliminary Injunction, filed
 contemporaneously herewith (the “Silverstein Decl.”). The Silverstein Decl. attaches for the convenience of the Court
 certain Joint Claimants’ exhibits previously admitted into evidence in connection with the Motion, certain transcripts
 from proceedings before the North Carolina Court and certain public filings on the dockets of certain other cases,
 referred to herein. The Debtor has filed, or is filing, the Debtor exhibits it offered, and which were admitted into
 evidence, on the docket of this Adversary Proceeding.
 6       “Debtor Ex.” Refers to the Debtor's exhibits that were admitted into the record during the November 4-5,
 2021 Preliminary Injunction Hearing in the North Carolina Court, Case No. 21-30589 (MBK), and related adversary
 proceeding Adv. Pro. No. 21-03032 (MBK) (Adv. Pro. Dkt. No. 135).

                                                           6
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                     Document    Page 20 of 108



      below) any of the indemnification agreements, insurance agreements or tender of defense

      agreements on which it now relies in an effort to extend the automatic stay. (See pp. 29–39, infra).

             The Debtor asserts that: “At the time of the bankruptcy filing, the Debtor was besieged by

      talc claims . . . .” (Mem. at 2). That is categorically untrue. As of the bankruptcy filing, the then

      two-day-old Debtor had never been sued. Mr. Kim admitted that fact in open court:

             Q: [A]t the time of the LTL filing on October the 14th there were no talc lawsuits
             pending against LTL, correct?

             A: True, yes.

      (Silverstein Decl, Ex. 2 (Nov. 4 H’rg Tr.), at 244:24–245:1). Befitting a passive SPV, upon its

      creation, the Debtor was bestowed with a few assets: a royalty stream, a bank account with $6

      million, and a funding obligation from J&J and JJCI. (First Day Decl., at ¶¶ 22-24).

             According to its bankruptcy schedules, the Debtor does not have any funded or meaningful

      operational debt. (Schedules of Assets and Liabilities for LTL Management LLC [Main Dkt. No.

      908]). Rather, its creditors consist almost entirely of tens of thousands of individuals who are

      suffering from ovarian cancer or mesothelioma, or who are the personal representatives of

      individuals who died from ovarian cancer or mesothelioma, alleged to have been caused by J&J’s

      talcum powder products. (Id.). As the Chief Medical Officer of JJCI testified, “both of these

      diseases is typically fatal.” (Silverstein Decl. Ex. 3 (Nov. 5, 2021 H’rg Tr.), at 417:1-5).

II.          Events Culminating in the Debtor’s Bankruptcy Filing

             A.      J&J and Its Talcum Powder Products

             J&J is one of the largest multi-national conglomerates in the world, operating in three

      principal segments: consumer health, pharmaceuticals and medical devices. (See JNJ 2021 Form




                                                        7
Case 21-03032-MBK           Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                  Desc Main
                                  Document    Page 21 of 108



 10-K Annual Report at 1).7 Its shares are publicly traded on the New York Stock Exchange under

 the ticker symbol “JNJ.” (Id.). As of the filing of the Motion, the company had a market

 capitalization of approximately $430 billion, $31 billion in cash and marketable securities, and

 was one of two governmental or nongovernmental enterprises in the world (Microsoft being the

 other) with the highest available credit rating (higher than the United States of America) —

 notwithstanding the well-known existence of tens of thousands of talcum powder-related lawsuits

 (discussed below) against it.8

         In the Motion, the Debtor makes much of the fact that “[i]n the 1970s, J&J adopted a policy

 to decentralize its operations” “by giving each company autonomy to make decisions without

 unnecessary constraints.” (Mem. at 8). But the Debtor ignores that — even after decentralization

 — multiple companies, including J&J, had direct involvement with talcum powder production,

 marketing, sale and safety. As described below, notwithstanding that J&J is now a holding

 company, it has its own personnel, who, both before and after decentralization, had, and continue

 to have, direct involvement with talcum powder products that subject, and have subjected, J&J to

 direct claims of liability.

                 1.      Johnson’s Baby Powder

         For nearly one hundred years, J&J directly manufactured, marketed and sold Johnson’s

 Baby Powder (“JBP”). (First Day Decl., at ¶10). In 1979, J&J transferred the assets of its Baby

 Products division (through which J&J had most recently sold JBP) into a wholly-owned subsidiary

 called Johnson and Johnson Baby Products Company (“J&J Baby Products”). (First Day Decl.,




 7
         Available at https://johnsonandjohnson.gcs-web.com/node/47816/html.
 8
          See What Do AA+ and AAA Credit Ratings Mean?, Investopedia, https://www.investopedia.com/stock-
 analysis/2011/what-do-aa-and-aaa-credit-ratings-mean-jnj-xom-adp-msft0809.aspx.

                                                      8
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 22 of 108



 at ¶ 10; Cl. Ex. 5, at 72:25-74:22). Through a series of asset transfers and mergers, J&J Baby

 Products ultimately was succeeded by JJCI. (First Day Decl., at ¶¶ 10-14).

        Hence, from 1979 through 2020 when it announced that it would discontinue its sale of

 talcum powder products in the United States and Canada, JJCI (or one of its predecessors)

 manufactured and sold JBP. (First Day Decl., at ¶ 33). Conversely, at all times prior to 1979, it

 was J&J, not any subsidiary, that manufactured and sold the product. (Cl. Ex. 5, at 59:6-59:19).

 That is significant because, as Mr. Kim, testified, “when a plaintiff used the product . . . is,

 generally, in these cases in the '60s and '70s up through the present.” (Nov. 5 H’rg Tr., at 315:10-

 18). As Mr. Kim later explained, “in the talc cases, there is a latency period, of 60 years.” (Id. at

 343:12-344:6). He further admitted that, consequently, “for pre-1979 exposure” J&J is legally

 “responsible in the sense that it should be named the party in the lawsuit.” (Cl. Ex. 5, at 59:6-19).

        Even after 1979, J&J’s copyright (owned by J&J) continued to appear in advertisements

 for JBP, and J&J’s logo (owned by J&J) continued to appear on certain JBP packaging. (Cl. Ex.

 5, at 77:10-78:19, 89:22-90:17). In fact, at all times, both before and after 1979, J&J owned, and

 continues to own, all intellectual property appearing in advertisements for, and on containers of,

 JBP. (Nov. 4 H’rg. Tr., at 22:5-220:15).

                2.      Shower to Shower

        J&J — again, directly, not through a subsidiary — also manufactured, marketed and sold

 another talcum powder product called Shower to Shower (“STS”), from, at least, the 1960s through

 the end of 1978. (Cl. Ex. 5, at 78:20-79:10, 80:18-82:12; Nov. 4 H’rg. Tr., at 114:3-114:11,

 202:14-20). Beginning in 1979, a wholly-owned subsidiary of J&J called Johnson and Johnson

 Personal Products Company (“J&J Personal Products”), began to manufacture and sell STS.

 (Nov. 4 H’rg. Tr., at 114:3-12, 205:22-206:7). As with JPB, at all times, J&J owned, and continues



                                                  9
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                             Desc Main
                                     Document    Page 23 of 108



 to own, all intellectual property appearing in advertisements for, and on containers of, STS. (Nov.

 4 H’rg. Tr., 22:5-220:15).

          J&J Personal Products, J&J’s wholly owned subsidiary, manufactured and sold STS until

 about 1987, when the product line was transferred to J&J Baby Products, a predecessor of JJCI.

 In 2012, the STS product line was then sold outside the J&J group of companies to Valeant

 Pharmaceuticals International, Inc., now known as Bausch Health Companies Inc. (Supplemental

 Declaration of John K. Kim in Support of Debtor’s Complaint for Declaratory and Injunctive

 Relief and Related Motions [Adv. Pro. Dkt. No. 3] (“Supp. Decl.”), at ¶ 12; Nov. 4 H’rg Tr.

 130:11-131:21, 207:2-21, 208:18-209:4).

          The Debtor asserts that, because the “liabilities . . . related to [STS] products were

 transferred from [J&J Personal Products] to [J&J Baby Products],” “Old JJCI became responsible

 for all claims alleging that [STS] . . . causes cancer.” (Mem. at 12-13). But the Debtor’s own

 witness, Mr. Kim, admitted the Debtor has found no agreement showing (i) that J&J Personal

 Products assumed any STS liabilities when it took over STS, or (ii) that the J&J Baby Products

 assumed any liabilities when it took over STS in 1987. (Nov. 4 H’rg Tr., at 206:12-209:12).9

                   3.       Windsor Minerals

          From the 1960’s to 1989, J&J, through a wholly owned subsidiary called Windsor

 Minerals, Inc. (“Windsor”), also owned certain Vermont mines that supplied the talc for the



 9
          Further, corporate representatives designated by J&J to give binding testimony in talcum powder litigation
 have acknowledged J&J’s independent liability with regard to STS, even after the product line was transferred to J&J
 Personal Products in 1978. (See Silverstein Decl, Ex. 5 (Cl. Ex. 6), at 7750:22-7751:1 (“Q: Johnson & Johnson has
 been ultimately responsible for manufacturing, selling, distributing and testing Shower to Shower through the entire
 history of that product with Johnson & Johnson, correct? A: Yes, up until its sale to Valiant [Valeant].”). In the North
 Carolina Court, Mr. Kim attempted to disavow this binding testimony, but ultimately admitted that“[i]t may have been
 Johnson & Johnson. I just don’t know.” (Oct. 22, 21 H’rg. Tr., at 85: 6-7). Any suggestion that the witness’s reference
 to “Johnson & Johnson” may have been colloquial is belied by the witnesses’ immediately preceding testimony in
 which he clearly differentiated between “Johnson & Johnson” as the parent company and “Johnson & Johnson
 Consumer Inc.” as the subsidiary. (Cl. Ex. 6, at 7749:6-19).

                                                           10
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 24 of 108



 manufacture of JBP, STS and certain industrial products. (Nov. 4 Tr. 209:20-210:19, 210:20-

 211:3, 211:16-211:22, 212:9-15, 213:6-213:11). Windsor was never owned or operated by JJCI

 or any predecessor thereto. (Nov. 4 Tr. 210:14-210:19, 212:2-212:8). In 1989, J&J sold Windsor

 to Cyprus Mines Corporation (“Cyprus”). (Nov. 4 H’r Tr. 212:25-213:5; Silverstein Decl. Ex. 4

 (Cl. Ex. 50)). In connection with the sale, it was J&J, not JJCI, which gave an indemnity to Cyprus.

 (Id. 218:7-12; Cl. Ex. 50 §11.2).

        At all times until Windsor’s sale, J&J maintained complete control of the Vermont mines,

 including the testing of talc ore (as well as of end-products), and touted J&J’s mining operations

 as a means of assuring safety. A 1976 pamphlet, bearing J&J’s copyright, told consumers:

        Aren’t all powders the same? No. Because talcs are different. Johnson & Johnson
        owns its own talc mines in Vermont. These mines have an exceptionally high
        quality talc which is constantly checked to insure its safety and purity. The talc has
        a minimum of impurities and a maximum of the platelet crystals that make talc
        smooth and adsorbent. You can feel the difference between other powders and the
        smoothness of JOHNSON’S Baby Powder.

 (Cyganowski Decl. Ex B. (JNJ 000881819_0001-00005) (emphasis added)). A decade later, J&J

 was still repeating the theme that its control over the Vermont mines assured the safety of JBP.

 (See Cyganowski Decl. Ex C (JNJ 000018966-9024), at JNJ 000018998 (“Johnson & Johnson’s

 own talc mine is located in Vermont. . . . Johnson & Johnson mines only the highest grade talc”);

 JNJ000018976 (“We own the talc mine which gives us complete control over the quality of talc

 used in our products”); Cyganowski Decl. Ex. D (JNJ 000234904-05) (referring to “our

 underground operation in Vermont”)).

                4.      Health and Safety Policy Decisions

        Despite transferring the manufacture and sale of its talcum powder products to subsidiaries

 in 1979, J&J continued to make health and safety policy decisions governing the manufacture and

 sale of its subsidiaries’ products, including the decision whether to include health and safety

                                                 11
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 25 of 108



 warnings. (Cl. Ex. 5, at 85:9-86:8, 88:6-89:9). In talcum powder litigation prior to the bankruptcy

 filing, the corporate representative designated to testify on behalf of J&J and JJCI, Dr. John

 Hopkins, made that clear in binding testimony:

        Q: Johnson & Johnson Corporate in New Brunswick made all health and safety
        policy decisions with regard to asbestos and talc products, correct?

        A: The -- yes. The company in New Jersey is the parent company for all the global
        companies, made those decisions, yes.

 (Id. at 86:16-87:21; Silverstein Decl., Ex. 6 (Cl. Ex. 4), at 25:10-15). Dr. Hopkins further testified:

        Q: And you would agree that Johnson & Johnson has the authority to require
        warnings on Johnson's Baby Powder about cancer, correct?

        A: They have the authority to require warnings. If that were a medical requirement,
        they would, yes.

 (Cl.Ex. 5, at 88:16-89:9; Cl. Ex. 6, at 7752:11-15).

         In the bankruptcy, when asked about Dr. Hopkins’ testimony, Mr. Kim testified that he

 “ha[d] to assume there were some [public health and safety policy] decisions made elsewhere

 [other than J&J],” but did not deny the fact that J&J continued to make its own independent health

 and safety policy decisions affecting the manufacture and sale of its subsidiaries’ products,

 including whether to include warnings. (Cl. Ex. 5, at 87:24-88:3, 88:16-89:9). Further, in

 reference to Dr. Hopkins’ repeated testimony that J&J made “all health and safety policy

 decisions” and that J&J had the authority to require warnings on its products, Mr. Kim further

 testified that “we live by the testimony that was given.” (Nov. 4 H’rg. Tr., at 221:23-226:13).

        In 2013, J&J formally instituted a Medical Safety Committee (“MSC”), chaired by its

 Chief Medical Officer (“CMO”). (Nov. 4 Tr., at 227:1-228:22; Cl. Ex. 164). The MSC is “the

 highest body of Johnson & Johnson engaged in setting the standards of medical safety.” (Nov. 5

 H’rg Tr., at 400:21-401:8; Dbt. Ex. 45). Any health and safety decision made at the product sector,



                                                   12
Case 21-03032-MBK           Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31               Desc Main
                                  Document    Page 26 of 108



 i.e., subsidiary, level can be elevated to the MSC for review, and J&J’s CMO, alone, can elevate

 any such decision for review. (Id. at 404:21-24, 407:5-7, 13-21; Cl. Ex. 164). Once elevated to

 the MSC, the MSC is charged with making health and safety decisions by consensus. But, in the

 absence of consensus (including, because J&J’s CMO disagrees with the sector-level medical

 officers), the health and safety decision under review is to be made solely by J&J’s CMO. (Id. at

 408:12-20, 415:17-23; Cl. Ex. 164).

                5.      Public Relations

        As the ultimate parent company, with public stockholders economically impacted by the

 operational decisions of J&J’s subsidiaries, public relations is another area in which J&J continued

 to maintain direct involvement with talcum powder products, even after the manufacture and sale

 of those products was transferred to its subsidiaries in 1979. Thus, when Reuters published an

 article in December 2018 reporting on the presence of asbestos in JBP, it was J&J that responded

 with full-page newspaper ads, featuring photos of the JBP container, signed “Johnson & Johnson.”

 (Silverstein Decl. Ex. 8 (Cl. Ex. 12); Cl. Ex. 5, at 96:19-102:19). In the ads, J&J — not JJCI —

 sought to reassure the public:

        Johnson & Johnson knows that the talc in our baby powder is the purest, safest
        pharmaceutical-grade talc on earth.

        [It] does not contain asbestos and never will. We test every single lot to ensure it.

        *       *       *

        [W]e have always acted with the transparency in this matter. Nothing is more
        important to us than the health and safety of our customers . . . .

 (Id.). As J&J’s head of “strategic communications,” Danielle Devine, testified in talcum powder

 litigation months before the bankruptcy filing, the “Johnson & Johnson ad” campaign was

 launched “with the goal of having people trust us.” (Cyganowski Decl. Ex. E, Transcript of


                                                 13
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 27 of 108



 Deposition of Danielle Devine, January 19, 2021, at 12;22-14:6, 156:1-6). She acknowledged:

 “by putting it in an advertisement that ran in major newspapers, it's something that Johnson &

 Johnson said with the intention that people would believe it.” (Id. 198:21-25 (emphasis added)).

 Indeed, J&J’s public relations response to the Reuters article was led from the very top, with J&J’s

 chief executive officer, Alex Gorsky, directly taking to the airwaves to assure the public personally

 that its subsidiaries’ products were safe, free of asbestos and could, and should, continue to be

 purchased and used. (Cl. Ex. 5, at 96:19-102:19; Nov. 4 H’rg. Tr, at. 229:4-229:20; Silverstein

 Decl, Exs. 9 and 10 (Cl. Exs. 14 & 15)).

        B.      Talcum Powder Litigation

                1.      Ovarian Cancer and Mesothelioma Cases

        It is well known that J&J faces tens of thousands of lawsuits arising from cancer caused by

 its talcum powder products. Those cases fall into two categories: ovarian cancer cases and

 mesothelioma cancer cases.

        The first lawsuit against J&J and/or JJCI claiming ovarian cancer resulting from the alleged

 use of their talcum powder products was a case known as Berg filed in 2009 that went to trial in

 2013. (Nov. 4 H’rg Tr., at 120:6-121:3; First Day Decl., at ¶ 35). In February 2016, an ovarian

 cancer case against J&J and JJCI known as Fox went to trial, and “the jury awarded the plaintiff

 $72 million.” (Id. at ¶ 36). That verdict, according to the Debtor, resulted in the “number of

 ovarian cases skyrocket[ing].” (Id. at ¶ 43). In 2014, J&J and/or JJCI had been named in 46

 ovarian cancer complaints; by 2017, “that number was nearly 5,000;” “[a]s of the Petition Date,

 there were approximately 38,000 ovarian cancer cases . . ., including approximately 35,000 cases

 pending in a federal multi-district litigation in New Jersey, and approximately 3,300 cases in

 multiple state court jurisdictions across the country,” including New Jersey. (Id. at ¶¶ 42-43; Nov.


                                                  14
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                Desc Main
                                 Document    Page 28 of 108



 5 H’rg. Tr., at 120:6-121:3, 242:2-6). None of those cases named the Debtor as a defendant. (See

 p. 7, supra).

          The first lawsuit against J&J and/or JJCI claiming mesothelioma — a cancer of the lining

 of the lungs and other organs caused by asbestos inhalation — resulting from the alleged use of

 talcum powder products was a case known as Howard filed in 1996. (Nov. 4 Hr’g Tr., at 200:4-

 11). By February 2016, “[a]t the time of the Fox trial, there were only six mesothelioma cases

 naming Old JJCI or J&J as a defendant . . .;” “[b]y the beginning of 2017, more than 100

 mesothelioma cases had been filed naming Old JJCI or J&J as a defendant;” and, since that time,

 “[t]he number of cases of mesothelioma cases steadily grew,” well into the hundreds. (First Day

 Decl.,at ¶ 23; Nov. 5 H’rg. Tr., at 241:10-17). Mr. Kim admitted that, over time, J&J and JJCI

 have settled many of the mesothelioma cases against them. (Nov. 5 H’rg. Tr., at 241:22-242:1).

 As of the bankruptcy filing, there were less than 500 mesothelioma cases pending against J&J and

 JJCI. (Nov. 5 H’rg. Tr., at 120:6-121:3, 242:2-6; First Day Decl. ¶ 44). None of those cases named

 the Debtor as a defendant. (See p. 7, supra).

          The Debtor avers that, to date, J&J and/or Old JJCI have “incurred nearly $1 billion in

 defending personal injury lawsuits relating to alleged talc exposure,” and have “paid

 approximately $3.5 billion . . . in connection with settlements and verdicts.” (First Day Decl., at

 ¶ 40).

                 2.      The MDL

          The stated premise of the Debtor’s bankruptcy filing, and the thrust of the Motion, is that,

 with regard to all of the foregoing cases, the legal system has failed J&J and JJCI. The Debtor

 asserts that “[t]he status quo was untenable given the cost, burden, uncertainty and anticipated

 duration of the cosmetic talc litigation,” and that “[t]he only available option to appropriately

 assess, resolve and administer the current and future talc-related claims in an efficient and
                                                  15
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                Desc Main
                                Document    Page 29 of 108



 equitable manner is this Chapter 11 Case” (which the Debtor elected to file in North Carolina

 Court). (Mem. at 32; see also First Day Decl., at ¶ 58). That premise flies in the face of J&J’s own

 experience with mass tort multi-district litigation, in general (Nov. 5 H’rg. Tr., at 262:8-264:16),

 and with the substantial progress that the parties have made in the multi-district talcum powder

 litigation pending in this District before Chief Judge Wolfson, In re: Johnson & Johnson Talcum

 Powder Products Marketing, Sales Practices and Products Liability Litigation, 3:16-md-02738-

 FLW-LHG (the “MDL”), in particular. (See Silverstein Decl. Ex. 11, Transfer Order).

        This MDL was commenced more than five years ago when the United States Judicial Panel

 on Multi-District Litigation (the “MDL Panel” or “Panel”) concluded that “centralization in the

 District of New Jersey” of “personal injury or wrongful death actions brought by plaintiffs who

 allege that they or their decedents developed ovarian or uterine cancer following perineal

 application of Johnson & Johnson’s talcum powder products” “will serve the convenience of the

 parties and witnesses and promote the just and efficient conduct of this litigation.” (MDL Dkt.

 No. 1). The Panel selected this District, because the “district is a convenient and accessible forum

 for this nationwide litigation, and is located in close proximity to a large number of state court

 actions pending in New Jersey and other jurisdictions on the East Coast of the United States,” and

 also because “[a]s Johnson & Johnson is headquartered in New Jersey, relevant evidence and

 witnesses likely are located” within the District. (Id.). In selecting the District, the MDL Panel

 specifically cited the experience of Chief Judge Wolfson, whom the Panel observed “is well

 situated to structure this litigation so as to minimize delay and avoid unnecessary duplication of

 discovery and motion practice.” (Id.).

         Chief Judge Wolfson has done precisely what the MDL Panel envisioned. After years of

 discovery, extensive expert submissions and a full Daubert hearing, Chief Judge Wolfson has



                                                 16
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                    Desc Main
                                 Document    Page 30 of 108



 fulfilled her role as gatekeeper to determine the expert opinions on causation that may be

 considered by juries. See In re Johnson & Johnson Talcum Products, 509 F. Supp. 3d 116 (D.N.J.

 2020) (Wolfson, C.J.). In that regard, contrary to the Debtor’s position that JPB and STS have

 “never contained asbestos” and that claims against J&J and JJCI “have no valid scientific basis”

 (First Day Decl. at ¶ 31; Mem. at 2), the Court determined, among other things, that: (i) the opinion

 of the MDL plaintiffs’ expert on the “the presence of ‘ultra-trace’ asbestos in Defendants' talc

 products is . . . admissible” and that plaintiffs’ general causation experts are entitled to rely on “the

 assumption that Defendants' talc products contain asbestos to support their opinions that talc use

 is associated with ovarian cancer,” 509 F. Supp. 3d at 157, and (ii) further, “the opinions [as to the

 causal relationship between talcum powder use and ovarian cancer] of Plaintiffs' general causation

 experts [also] are admissible,” id. at 187. Moreover, as a result of her ongoing active case

 management, Judge Wolfson has positioned the MDL for the first bellwether trial(s) to begin in

 April 2022. (MDL Dkt. Nos. 2441 17:6-20, 19:18-20:2; Silverstein Decl. Ex. 12).

                 3.      Theories of Liability Pled, Found by Juries and Affirmed on Appeal

         In all, or virtually all, of the above-referenced talcum powder litigations, J&J is named as

 a defendant. The Debtor further bemoans that plaintiffs in talcum powder litigations “make no

 effort to differentiate between J&J and Old JJCI,” but instead “lump J&J and Old JJCI together,

 asserting collectively against them the same claim based on the same product, the same defect and

 the same alleged harm.” (Mem. at 19-21). But group pleading is a permitted form of pleading in

 the products liability context, where there is no particularity requirement, and does not support any

 suggestion that direct and independent claims against J&J do not exist. Compare, e.g., Fed. R.

 Civ. P. 8(a) with Fed. R. Civ. P. 9(b). In fact, the allegations involving J&J in the MDL and

 elsewhere largely hew to the facts concerning J&J’s direct involvement with talcum powder

 products set forth above. For example, the Plaintiffs’ Amended Second Amended Master Long
                                                    17
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 31 of 108



 Form Complaint in the MDL (Dbt. Ex. 20), contains allegations that: J&J directly manufactured

 and sold JBP for nearly a hundred years through the 1970s (id. at ¶¶ 24-25); J&J directly

 manufactured and sold STS beginning in the 1960s (id. at ¶ 29); J&J knew, from its ownership of

 Windsor, of the presence of asbestos and fibrous talc in its cosmetic talcum powder products going

 back, at least, to the 1970s (id. at ¶ 158); J&J’s CEO, Mr. Gorsky, made false statements directly

 to the public regarding the safety of JBP and STS (id. at ¶ 141); and J&J had been advised to place

 a warning on its talcum powder products as far back as 1982 but failed to do so (id. at ¶ 49). All

 of these are allegations directed at J&J (Dbt. Ex. 20), not, as the Debtor implies, a group of lumped

 “Defendants” or “Johnson & Johnson Defendants.”

        Of course, in every case, J&J is afforded the right, under applicable rules of civil procedure,

 to attack any claims against it as legally insufficient, either on a motion to dismiss or a motion for

 summary judgment. But, tellingly, it has not done so. When asked in an interrogatory “to identify

 any lawsuit, arbitration or other proceeding alleging Talc-Related Liabilities by J&J in which J&J

 filed or otherwise submitted a motion to dismiss, or motion for summary judgment, as to any claim

 on the grounds that J&J owed no duty, or had no liability independent of any liability of Old JJCI,

 to the plaintiff,” the Debtor (liberally) identified fewer than 10 lawsuits out of the more than 38,000

 that have been filed against it in which it supposedly sought such relief, and the cases it cited did

 not support its assertion. (Silverstein Decl. Ex. 13 (Cl. Ex. 138, No. 3)).

        Moreover, juries deciding talcum powder claims tried against J&J and JJCI have been

 required to find both liability and damages separately against each defendant. (Cl. Ex. 5, at

 105:14-110:18; Silverstein Decl. Exs. 14-16, 48-51 (Cl. Exd. 17-19, 125-127, 156). In fact, time

 and again, that is exactly what juries have found — finding J&J, separately and independently

 from JJCI, (i) liable to the plaintiff on claims of negligence and otherwise, (ii) the proximate cause



                                                   18
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                Desc Main
                                 Document    Page 32 of 108



 of the plaintiff’s compensatory damages, with a percentage of fault specifically allocated to J&J,

 and (iii) responsible for punitive damages in an amount, greater or lesser (depending on the case),

 than that found against JJCI. (Id.). As just one example, in a case identified as Olson, the jury

 was asked, specifically, on the record to assess the separate liability of J&J and JJCI on each of

 the plaintiff’s claims, e.g.:

         COURT CLERK: Question 1: Were the following defendants negligent in failing
         to adequately warn about any danger related to asbestos associated with the use of
         Johnson's Baby Powder and/or Shower to Shower talc products.

         Johnson & Johnson?

         THE FOREPERSON: Yes.

         COURT CLERK: Johnson & Johnson Consumer Inc.?

         THE FOREPERSON: Yes.

 (Silverstein Decl., Ex. 17 (Cl. Ex. 16), at 9517:23-9520:16). Significantly, the Debtor points to

 no appellate court decision that has reversed any post-trial judgment entered against J&J on the

 grounds that J&J had no separate or independent liability to the plaintiff.

                 4.      The Ingham Verdict and Appeal

         There is no better illustration of J&J’s direct and independent liability than the post-trial

 judgment, affirmed in part, and reversed in part, by the Missouri Court of Appeals in Ingham, et

 al. v. Johnson & Johnson, et al. (Silverstein Decl. Ex. 19 (Cl. Ex. 128)). See Ingham v. Johnson

 & Johnson, 608 S.W.3d 663 (Mo. Ct. App. 2020), reh’g and/or transfer denied, Missouri Supreme

 Court, (Nov. 3, 2020), and cert. denied, 141 S. Ct. 2716 (2021). In Ingham, a jury returned a

 verdict against both J&J and JJCI in favor of 22 plaintiffs with ovarian cancer, awarding each

 plaintiff compensatory damages of $25 million (for a total of $550 million) and awarding punitive

 damages in a total amount of $4.14 billion, with J&J responsible for $3.15 billion and JJCI

 responsible for $990 million. Id. at 680. (See also Nov. 4 H’rg. Tr., at 2239:1-15; Cl. Ex. 128).

                                                  19
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 33 of 108



        The Debtor refers to the Ingham verdict as “egregious.” (Mem. at 31). But the verdict was

 affirmed, in substantial part, on appeal. Significantly, the Missouri Court of Appeals rejected the

 argument that a judgment notwithstanding the verdict should have been entered on the plaintiffs’

 negligence claims against J&J and JJCI, finding sufficient evidence in the trial record of each

 defendant’s duty to the plaintiffs, of each defendant’s breach of duty to the plaintiffs, and that each

 defendant’s breach of duty proximately caused damages to the plaintiffs. Ingham, 608 S.W.3d at

 711-14.

        Nevertheless, the Missouri Court of Appeals reversed judgment as to certain of the

 plaintiffs on the grounds of lack of personal jurisdiction over the defendants. Notably, in so doing,

 the appellate court analyzed assertions of jurisdiction over J&J and JJCI completely separately,

 and rejected any argument that there was sufficient evidence in the record of alter ego or agency

 sufficient to attribute JJCI’s contacts with Missouri to J&J. Id. at 687-98, 719-25. The court, thus,

 proportionately reduced the total award against JJCI (to $1.4 billion) by two non-resident plaintiffs

 who failed to establish personal jurisdiction over JJCI, and proportionately reduced the total award

 against J&J (to over $840.9 million) by 15 non-resident plaintiffs who failed to establish personal

 jurisdiction over J&J. Id. at 692-98, 719-25.

        The court, further, analyzed J&J and JJCI completely separately in affirming different

 awards of punitive damages against each of J&J and JJCI, finding that:

        Defendants’ decision to chart their course of reprehensible conduct began with J&J
        long before JJCI was spun off as a separate entity in 1979 and engaged in
        reprehensible conduct of its own. Given this evidence, the higher ratio of 5.72:1 for
        J&J is justified.

 Id. at 719-25. Taken collectively, the Missouri Court of Appeals’ holdings — final in every sense,

 given that both the Missouri Supreme Court (on November 3, 2020) and the United States Supreme

 Court (on June 1, 2021) denied petitions for writ of certiorari –— demolish any notion that


                                                   20
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 34 of 108



 separate, direct claims against J&J do not exist and that it is only by dint of derivative theories,

 such as alter ego and agency, that J&J has been, and can be, held liable.

                5.      J&J’s Inconsistent Positions In and Out of Bankruptcy

        It bears noting that, during the course of all of this talcum powder litigation, J&J and JJCI

 repeatedly have taken positions that are strikingly different from those that they are now advancing

 (through the Debtor) in support of the Motion. J&J’s and JJCI’s speaking out of both sides of their

 mouths concerns every, or virtually every, significant issue in this bankruptcy case. Thus, in

 bankruptcy, J&J (through the Debtor) seeks to reorganize under § 524(g), the “unique” feature of

 which, the Debtor acknowledges, is to “make[] it possible for future asbestos claimants to obtain

 substantially similar recoveries as current claimants in a manner consistent with due process.”

 (Mem. at 88 n.51). But outside the bankruptcy, J&J steadfastly maintains “this is not an asbestos

 case.” (Silverstein Decl. Ex. 18 (Brief for Defendants-Appellants in Olson v. Brenntag N. Am.

 Inc.), at p. 3) (emphasis added).

        In the bankruptcy case, the Debtor asserts that JJCI was, and remains, legally responsible

 for all talcum powder claims asserted by any plaintiff (even if such claims were/are asserted

 against J&J), but that is not the position that J&J and JJCI took prior to the bankruptcy filing. Prior

 to the bankruptcy, J&J and JJCI took the position before certain juries that “Johnson & Johnson is

 responsible for any liability of Johnson & Johnson Consumer, Inc.,” not the other way around.

 (Silverstein Decl. Ex. 20 (Cl. Ex. 155), at 3000:20-25) (emphasis added). In other cases, J&J’s

 and JJCI’s position before juries was that “Johnson & Johnson was responsible for the product up

 until 1979. After that, it’s JJCI.” (Silverstein Decl. Ex. 21 (Cl. Ex. 29), at 322:24-323:2; 10/22/21

 H’rg. Tr., at 63:5-64:5). They did not take the position, as they do now, that JJCI was responsible

 for all claims against J&J.



                                                   21
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 35 of 108



        Further, contrary to the Debtor’s position now that JJCI agreed to indemnify J&J for all

 talcum powder liability, when asked in pre-bankruptcy talcum powder litigation to identify any

 party against which either co-defendant, J&J or JJCI, “asserts a claim for indemnification,” the co-

 defendants gave the same sworn interrogatory response: “None.” (Silverstein Decl. Ex. 22 (Cl.

 Ex. 26), at 21-22; Cl. Ex. 5, at 112:24-114:18). Further when asked directly whether “Johnson &

 Johnson [has] any indemnification agreements to pay for its talc litigation liabilities,” the corporate

 representative designated to give binding testimony for J&J and JJCI testified: “Not that I am

 aware of.”    (Cyganowski Decl., Ex. F, Transcript of Deposition of Christopher Picariello

 (“Picariello Tr.”), January 11, 2019, at 10:5-14, 58:15-18). To the same effect, a mere two months

 before the Debtor’s bankruptcy filing, JJCI’s Vice President of Finance, Kevin Neats, denied in

 sworn testimony that JJCI has any “separate litigation expense” account with J&J through which

 it reimburses J&J for talcum powder liabilities and expenses. (Silverstein Decl. Ex. 23 (Cl. Ex.

 51), at 38:3-39:1). Moreover, while J&J (through the Debtor) now relies on shared insurance

 coverage to support the Motion, when asked in pre-bankruptcy litigation to identify any insurance

 policies relevant to the plaintiffs’ claims, J&J and JJCI responded in effect, as Mr. Kim admitted:

        Don't worry. We have plenty of money to satisfy these judgments. And so our
        insurance isn't relevant.

 (Cl. Ex. 5, at 116:20-117:3).

        C.      J&J’s Prior Preference for the Tort System over Bankruptcy Court

        The inconsistencies in J&J’s pre- versus post-bankruptcy positions stand in no starker

 contrast than in the context of the first time when J&J confronted the choice of litigating its talcum

 powder cases in bankruptcy court rather than in the mass tort system. That choice was presented

 when J&J’s major talc supplier and co-defendant of J&J and JJCI in tens of thousands of lawsuits,

 Imerys Talc America, Inc. and its affiliates (“Imerys”), filed for bankruptcy protection in February


                                                   22
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                 Document    Page 36 of 108



 2019 in the United States Bankruptcy Court for the District of Delaware. See In re Imerys Talc

 America, Inc., et al. (“In re Imerys”), Case No. 19–10289 (LSS).

        Initially, J&J sought to use Imerys’ bankruptcy filing to create, in effect, a second multi-

 district litigation in District Court, removing the then 2,400 state court talcum powder cases filed

 against them to various District Courts on the purported grounds of “related to” bankruptcy

 jurisdiction under 28 U.S.C. §1334(b). See In re Imerys, Civ. Action No. 19-mc-00103 (MN) (D.

 Del. 2019), Dkt. No. 2 (Memorandum of Law in Support of Johnson & Johnson’s and Johnson &

 Johnson Consumer Inc.’s Motion to Fix Venue for Claims Related to Imerys’s Bankruptcy Under

 28 U.S.C. §§ 157(b)(5) and 1334(b)), Dkt. No. 81 (Reply Memorandum of Law in Further Support

 of Johnson & Johnson’s and Johnson & Johnson Consumer Inc.’s Motion to Fix Venue for Claims

 Related to Imerys’s Bankruptcy Under 28 U.S.C. §§ 157(b)(5) and 1334(b)).10 Once removed,

 J&J sought to centralize all of those actions in one forum, in the United States District Court for

 the District of Delaware, pursuant to 28 U.S.C. § 157(b)(5). (Id.). Contrary to J&J’s position now

 that the mass tort system is inefficient and inequitable, J&J specifically touted “the process of

 efficient adjudication by the MDL court,” arguing that it is only through a “single, centralized

 forum [in District Court] that the interests of all creditors can best be served and harmonized.” See

 id., Dkt. No. 2 at pp. 2-3. J&J specifically rejected the very arguments that it now advances for

 why MDL litigation of talcum powder claims would be inefficient and inequitable:

        [Any claim] this Court would have to “conduct[] individual trials ad infinitum”
        because of variation in “[t]he substantive law on causation,” “damages,” “non-
        parties and liability,” and “differences in the exposure histories” of plaintiffs. This
        parade of horribles is ill-conceived and disproven by the fact that thousands of state-
        law claims are currently centralized in the MDL court. As a threshold matter, this
        Court could centrally resolve the important question of whether the allegations that
        Debtors’ talc supplied to J&J, causes mesothelioma are grounded in sound science;
        an issue that will be determined by the MDL court as to the ovarian cancer

 10
        Annexed to Silverstein Decl. at Exs. 24–25.

                                                      23
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 37 of 108



        allegations in its forthcoming Daubert ruling. These gating questions do not raise a
        single one of the supposedly difficult and variegated issues cited by Plaintiffs.
        Likewise, after determining the threshold issues, this Court could hold or transfer
        select cases to other federal courts for “bellwether” trials. This, too, would not raise
        any varied issues. What it would do is avoid the need to address these key, common
        issues in a piecemeal and duplicative fashion.

 Id., Dkt. No. 81 at pp. 38-39; see also In re Imerys, Civ. Action No. 19-mc-00103 (MN) (D. Del.

 2019), Dkt. No. 2 at pp. 19-20.

        After its removal strategy failed, and District Courts remanded the 2,400 cases back to the

 state courts on the grounds of lack of jurisdiction and/or abstention (see, e.g., In re Imerys, Civ.

 Action No. 19-mc-00103 (MN) (D. Del. July 19, 2019)), J&J re-doubled its efforts to litigate the

 talcum powder claims in the mass tort system. In March 2020, J&J filed a motion in the In re

 Imerys bankruptcy case to lift the automatic stay to permit J&J to defend all talcum powder claims

 against Imerys in court, rather than have those claims determined by the bankruptcy court. See In

 re Imerys, Case No. 19–10289 (LSS) (Bankr. D. Del.) Dkt. Nos. 1567, 1769 (Silverstein Decl.

 Exs. 26-27). (Nov. 4 H’rg. Tr., at 265:18-267:15; Cl. Exs. 129 & 136). J&J asserted the very

 opposite of the position it now asserts: J&J argued that its litigation of talcum powder claims in

 open court and payment in full of any such successful claims asserted, jointly and severally, against

 both J&J and the debtor (Imerys) would benefit all of J&J, the debtor and the talc claimants. See

 id., Dkt. Nos. 1567 (Silverstein Decl. Exs. 26-27 (Cl. Ex. 129), at ¶¶ 45, 48 & 1769 (Cl. Ex. 136)),

 at ¶¶ 2, 3, 17, 41. Indeed, J&J called “absurd” and “grasping at straws” any notion that the debtor

 or claimants would be worse off by having J&J put its full faith and credit into defending talcum

 powder claims in open court, rather than having those claims decided in the debtor’s bankruptcy

 case. J&J asserted:

        As of the date hereof, J&J has a market capitalization of over $385 billion and
        extensive insurance coverage of its own. It is one of the top 10 companies in the
        United States by market value. J&J can provide the claimants far greater protection

                                                  24
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 38 of 108



        than the Debtors or the bankruptcy claims trust ever could (as discussed above).
        More fundamentally, the Debtors’ own plan relies on J&J’s ability to pay individual
        claims.

 Cl. Ex. 136, at ¶ 41. Notably, J&J made no mention of JJCI’s financial wherewithal. Further, in

 polar opposition to the position it now takes that a § 524(g) trust is more equitable to tort claimants

 than the “lottery-like results” of litigation (Mem. at 3, 5), J&J asserted then that:

        For numerous reasons, including the potential need to reserve funds to satisfy future
        claims, distribution procedures for trusts under section 524(g) typically involve
        paying only a percentage of allowed claim amounts determined pursuant to those
        procedures—unlike the indemnity offered by J&J, which will result in final
        determinations of claim amounts in the tort system (potentially including through
        settlements) and, if necessary, full payment thereof.

 Cl. Ex. 129, at ¶ 45 n.33. Thus, J&J declared that it strongly “prefers to exercise its right to take

 over the defense of the claims and litigate those claims in the tort system.” Cl. Ex. 136, at ¶ 54.

 The motion by J&J, too, was denied.

        D.      J&J Decides to Shift Course

       In March 2021, after the Missouri Supreme Court declined to review the more than $2.2

 billion judgment in Ingham and J&J and JJCI were left with a long-shot bid of petitioning the

 United States Supreme Court for writ of certiorari (see pp. 19–20, supra), the two companies

 began to shift course: At that time, they received a presentation from the Debtor’s counsel here,

 the Jones Day law firm, on the potential for resolving the companies’ talcum powder exposure

 through a divisive merger/bankruptcy strategy that Jones Day had developed and deployed in the

 asbestos litigation context in the North Carolina Court. (Kim Tr., at 90:4-91:12; Nov. 4 H’rg. Tr.,

 at 248:10-249:4; see, e.g., In re DBMP LLC, Case No. 20-30080 (Bankr. W.D.N.C. Aug. 11,

 2021); In re Aldrich Pump, LLC, Case No. 20-30608 (JCW) 2021 WL 3729335 (Bank. W.D.N.C.

 Aug. 23, 2021). As Mr. Kim testified at his deposition, at or about the time of that presentation, it




                                                   25
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                 Document    Page 39 of 108



 was in-house lawyers employed by J&J who decided by consensus to hire Jones Day. (Kim Tr.,

 at 93:8-21).

       In the six or so months that followed, according to Mr. Kim, “Project Plato,” a closely held

 project known only to about 30 to 40 J&J personnel and, “at some point” “probably . . . also people

 from” JJCI, was launched and vigorously pursued. (Kim Tr., at 102:16-105:20; Nov. 4 H’rg. Tr.,

 at 249:5-18, 274:10-17). Mr. Kim testified that “members of the corporate development teams”

 “head[ed]” by Chris Andrew, a J&J Assistant General Counsel (according to his public LinkedIn

 profile11), spearheaded the project. (Id.; see also Kim Tr., at 117:20-118:24).

       During the summer of 2021, reports of J&J’s retention of Jones Day and exploration of a

 “talc bankruptcy” began appearing in the press. (See, e.g, In re Imerys, Case No. 19-10289 (LSS),

 Adv. Pro. No. 21-51006, Dkt. Nos. 5-6 (Silverstein Decl. Exs. 28–29)). Claimants immediately

 sought injunctive relief to prevent the reported divisive merger, which relief J&J successfully

 opposed. (See id.) Claimants also demanded in their individual cases that defendants J&J and Old

 JJCI state clearly on the record their intentions to undertake a divisive merger and bankruptcy

 filing, so that claimants would know the status of their scheduled trials. J&J and Old JJCI

 repeatedly misrepresented and/or concealed the truth. On July 23, 2021, in a case referred to as

 Reyes, for example, plaintiffs’ counsel raised on the record a then recently published Reuters article

 reporting that “Johnson & Johnson is contemplating doing a divisive merger bankruptcy process,

 sometimes colloquially known as the Texas two-step” and stated that [i]f that's in fact the case,

 then it becomes all the more important that this case try and that we are able to get a bonded

 judgment before that time.” (Silverstein Decl. Ex. 30 (Transcript in Reyes v. Johnson & Johnson,




 11
        Available at https://www.linkedin.com/in/chris-andrew-5525b420/.

                                                     26
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 40 of 108



 et al., July 23, 2021), at 5:23-6:8). Yet even though “Project Plato” was in full swing, J&J’s and

 JJCI’s attorneys dismissed the Reuters article as “rumors” and assured the court that:

        J&J defendants are continuing to defend and try these cases before the juries, as we
        will do here in Reyes. Everything else is rumor, and we have no information to
        substantiate those rumors.

 (Id. at 8:2-7). The Reyes trial did not take place: Only a few months after dismissing the Texas

 Two-Step as “rumors” and assuring the court that the “J&J defendants are continuing to defend

 and try” cases, the very same lawyers advised the court that “following a corporate restructuring”

 and bankruptcy filing, the case was stayed. (Cyganowski Decl. Ex. G (Notice of Bankruptcy Filing

 and Stay of Proceedings in Reyes v. Johnson & Johnson, et al., Oct. 15, 2021 and E-mail from Jay

 Bhimani, dated November 16, 2021, attaching PI Order); see pp. 39–44, infra).

       In fact, the human toll on the cancer patients (and their survivors) that J&J and Old JJCI

 exacted through its whipsawing — first by denying and/or concealing the companies’ bankruptcy

 strategy only then to spring later it on litigants (who, in the face of J&J’s denials, continued to

 invest emotionally, physically and financially in litigation) — cannot be overstated. In the case of

 Nedelka Vanklive, a mesothelioma and ovarian cancer victim and single mother granted a trial

 preference because doctors gave her six months to live, J&J and JJCI, in August 2021, assured the

 court, in response to its direct questioning, that, notwithstanding recent press reports, Ms. Vanklive

 had “the right defendants.” (Main Dkt. No. 102). Each of J&J and Old JJCI unequivocally stated

 on the record that it was “the right company with respect to Johnson’s Baby Powder,” and that

 they “are the proper defendants.” (Id.). Only after a jury was empaneled, Ms. Vanklive was in

 the middle of her case in chief at trial, and this bankruptcy case was filed, did J&J and Old JJCI

 finally reveal the truth in claiming a litigation stay, which the trial court found “troubling.” (Id.).

       In the case of Shawn Johnson, a father of seven children suffering from mesothelioma, J&J

 and Old JJCI did not say a word about its ongoing efforts to restructure and file for bankruptcy
                                                   27
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 41 of 108



 during his five-week jury trial, placed in the hands of the jury for deliberations on October 6, 2021

 — treating the trial instead as a mere option. (Cyganowski Declaration Ex. H (Transcript of

 Johnson v. Johnson and Johnson, October 6, 2021)). Only after the jury returned a plaintiff’s

 verdict against J&J and Old JJCI on October 12, 2021 for over $2.4 million in compensatory

 damages and $25 million in punitive damages, but before Mr. Johnson could obtain a bonded

 judgment, did J&J and Old JJCI finally disclose its bankruptcy strategy in arguing for an immediate

 stay. (Cyganowski Declaration Exs. I and J (Transcript of Johnson v. Johnson and Johnson,

 October 12, 2021 and Entry of Judgment, dated October 15, 2021)).

       After months of denials and concealments, on October 11, 2021, Mr. Andrew and a

 corporate development colleague requested, and received, approval from executives of J&J and/or

 its subsidiaries to proceed with a “restructuring” of JJCI “pursuant to a divisional merger,”

 summarized below, that would assign all of JJCI’s “current and future product liability related

 claims associated with talc and talc-containing products,” and a handful of new assets (a royalty

 stream, a bank account and a funding agreement), to LTL, which would be created to “proceed

 with a voluntary petition under chapter 11 of the Bankruptcy Code,” and assigning all of JJCI’s

 assets and operations to an entirely separate entity (a “New JJCI”), which would “continue to

 operate Johnson & Johnson’s Consumer Health business in the United States without interruption.”

 (Cyganowski Decl. Ex. K, LTL 0021791-801). As Mr. Kim testified, the three individuals

 seconded to LTL “were the only individuals [who] changed job titles . . . as a result of the

 transaction.” (Kim Tr., at 142:16-20).

        E.      The “Texas Two-Step”

         The sequence of transactions effectuating the “restructuring” of JJCI, widely referred to

 as the “Texas Two-Step,” approved on October 11, 2021, is described in the First Day Decl. and

 is documented, in substantial part, in Dbt. Ex. 1.
                                                  28
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 42 of 108



                1.      The Transactions

        In brief, on or about October 11, 2021, JJCI formed as a wholly-owned subsidiary a North

 Carolina limited liability company called Royalty A&M LLC (“Royalty”), which JJCI capitalized

 with $367.1 million. (First Day Decl., at ¶ 21). The next day, on October 12, 2021, JJCI merged

 into a newly formed Texas limited liability company called Chenango Zero, LLC (“Chenango

 Zero”), with Chenango Zero being the surviving entity. (Id. at ¶ 22). That same day, Chenango

 Zero effectuated a divisional merger under Texas law, pursuant to which Chenango Zero ceased

 to exist and its assets and liabilities were “allocated” to two new Texas limited liability companies

 formed in the divisional merger, Chenango One LLC (“Chenango One”) and Chenango Two LLC

 (“Chenango Two”). (First Day Decl., at ¶ 23; Dbt. Ex. 1 (LTL 0001327-801)). Chenango One

 then “converted from a Texas Limited liability company into a North Carolina limited liability

 company and changed its name to ‘LTL Management LLC.’” (First Day Decl., at ¶ 23).

 Chenango Two merged into a newly formed New Jersey corporation called Currahee Holding

 Company Inc. (“Currahee”), with Currahee being the surviving entity and changing its name to

 “Johnson and Johnson Consumer Inc.” (New JJCI).             (Id.; Dbt. Ex. 1 (LTL 0001058-61)).

 According to the Debtor, New JJCI, which “is the direct parent of the Debtor,” “manufactures and

 sells a broad range of products used in the baby care, beauty, oral care, wound care and women’s

 health care fields, as well as over-the-counter pharmaceutical products,” i.e., the same business

 that JJCI carried out before the divisional merger. (First Day Decl., at ¶¶ 1, 17-18).

        In connection with the foregoing transactions, various parties — including the Debtor, J&J

 and New JJCI — entered into a series of agreements, including the Plan of Divisional Merger and

 Schedules to the Plan of Divisional Merger (collectively, the “Divisional Merger Plan/

 Schedules”), that were prepared before the Debtor ever came into existence. (See Dbt. Ex. 1 (LTL

 0001327-817)). Notable among such agreements is an Amended and Restated Funding Agreement
                                                  29
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 43 of 108



 among the Debtor, New JJCI and J&J, dated October 12, 2021, the date of the Debtor’s formation

 (the “Funding Agreement”), on which the Debtor relies to support the bona fides of its bankruptcy

 filing. (Dbt. Ex. 1 (LTL 0002300-20); Dbt. Ex. 4). In the Funding Agreement, J&J and New JJCI,

 on a joint and several basis, agreed to provide non-assignable funding, up to the full value of New

 JJCI, to which the Debtor refers “as a backstop” and which the Debtor assures the Court “will

 ensure funding for a trust in the amount required by a confirmed plan of reorganization.” (Mem.

 at 81 n. 44, 90). They agreed to do so “regardless of whether [a confirmed] plan of reorganization

 provides that [they] will receive [channeling injunction ] protection pursuant to section 105 or

 section 524(g) of the Bankruptcy Code.” (Dbt. Ex. 4 (Def. of “Permitted Funding Use”).

        As Mr. Kim admitted, “there [was] no negotiation” of any of these agreements, including

 the Divisional Merger Plan/Schedules and Funding Agreement, executed among J&J and/or its

 subsidiaries, in connection with the Texas Two-Step. (Kim Tr., at pp. 228:5-231:18; Nov. 4 H’rg.

 Tr., at 274:18-275:19). Nor was any external fairness opinion sought or obtained in connection

 with the Funding Agreement and/or any of the other inter-company agreements that the parties

 executed. (Kim Tr., at p. 228:5-231:18; Nov. 4 H’rg. Tr., at 274:18-22). Rather, according to Mr.

 Kim, the agreements simply were “reviewed by certain levels of executives in order for the

 transaction to be approved,” which executives were “just looking at it for whether it’s fair or not.”

 (Kim Tr., at pp. 229:22-230:20). But, in that regard, Mr. Kim testified that the process was no

 different internally than the process for reviewing a transaction with a third-party where there

 actually were arm’s length negotiated terms. (Id. at pp. 228:5-231:18).

        When asked what gave him confidence as the Debtor’s CLO that the transactions entered

 into on October 11 and 12, 2021 were “fair to the debtor,” Mr. Kim answered: “A review of the

 terms and my experience and understanding of the litigation and my discussions with the folks that



                                                  30
Case 21-03032-MBK            Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31              Desc Main
                                   Document    Page 44 of 108



 help put the transaction together. Advice of counsel.” (Kim Tr., at p. 237:7-23). He identified the

 counsel to which he was referring as “Jones Day.” (Id.). Mr. Kim further testified that, in

 connection with the foregoing transactions, Jones Day and J&J’s internal counsel, were not

 representing the interests of the Debtor in the transactions, but, rather, “all the attorneys were

 looking at this from a joint perspective.” (Id. at pp. 234:22-236:4; Nov. 4 H’rg. Tr., at 276:4-10).

 When asked whether “the lawyers who were involved in the funding agreement and the merger

 support agreement and every other agreement executed in connection with the transactions were

 the same lawyers representing the interests of everyone,” Mr. Kim responded: “Essentially, yes .

 . . . That would be part of the internal fairness review, yes.” (Nov. 4 H’rg Tr., at 276:4-10).

                2.      The Liabilities Assigned to the Debtor After the Fact

        Among the assets and liabilities assigned to the Debtor by those orchestrating the Texas

 Two-Step were: (i) “All Contracts related to the transfer of assets from Johnson & Johnson to

 Johnson & Johnson Baby Products Company effective January 1, 1979”; (ii) “All rights to make

 claims under any and all insurance policies as to which the Company [Chenango Zero] has rights

 as an insured, additional insured, successor, beneficiary or otherwise”; and (iii) “Any tenders for

 defense and indemnity in respect of Talc Related Liabilities and any Contracts accepting such

 tenders, including such tenders and/or Contracts with the following retailers” listed on four pages.

 (Dbt. Ex. 1 (LTL 0001400, LTL 0001395 & LTL 0001401-05)). It is on the basis of each of these

 so-called “indemnification obligations to J&J, other Non-Debtor Affiliates, and other Protected

 Parties,” “allocated” to the Debtor in the Texas Two-Step, on which the Motion is now based.

 (Mem. at 3). Each category of claimed indemnification is discussed below.

                        a.       The 1979 Agreement Discovered During the Bankruptcy

        The centerpiece of the Debtor’s argument for extending the stay to J&J is an Agreement

 for Transfer of Assets and Bill of Sale (which the Debtor refers to as the “1979 Agreement”)

                                                  31
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                             Desc Main
                                     Document    Page 45 of 108



 (Mem. at 10-11, 80) that the Debtor did not discover until ten days into the bankruptcy case, after

 it had filed a motion for emergency relief. (Cl. Ex. 5, at 76:8-15; Nov. 4 H’rg. Tr., at 103:11-19;

 Silverstein Decl., Ex. 32 (Transcript of Deposition of Susan Schirger-Ward, October 31, 2021

 (“Schirger-Ward Tr.”)), at 18:16-20:12). The Debtor asserts that it “has a contractual obligation

 to indemnify J&J pursuant to the 1979 Agreement” between J&J and J&J Baby Products (as

 predecessor to JJCI). (Mem. at 10-11, 80). In the 1979 Agreement, according to the Debtor, “J&J

 Baby Products became the real party in interest for all actions, suits or proceedings relating to the

 talc previously sold by J&J or in any way arising out of the talc business that was being

 transferred.” (Mem. at 10-11, 80). In fact, as Mr. Kim admitted on the stand, “the 1979 Transfer

 Agreement does not even mention the word ‘talc.’” (Nov. 4 H’rg. Tr., 216:14-19).

          Rather, the agreement — in which J&J agreed to transfer the assets and liabilities of its

 Baby Products division to J&J Baby Products in exchange for 188,100,000 shares of J&J Baby

 Products stock — provides in pertinent part:

          Subsidiary [J&J Baby Products] agrees to assume and hereby does assume and
          agrees to pay, perform or discharge, as the case may be, all the indebtedness,
          liabilities and obligations of every kind and description which are allocated on the
          books or records of J&J as pertaining to its BABY Division and the Subsidiary
          hereby covenants and agrees with J&J that the Subsidiary will forever indemnify
          and save harmless J&J against all the indebtedness, liabilities and obligations
          aforesaid hereby assumed and agreed to be paid, performed or discharged . . .

 (Dbt. Ex. 2 (LTL 0000561) (emphasis added)).12




 12
           The limitation of the assumption of liabilities to those “allocated . . . on the books or records” recurred in
 subsequent transfer agreements with different corporate entities (Omni Education Corporation in 1981 and Johnson
 & Johnson Dental Products Company in 1988) pursuant to which, according to the Debtor (Mem. at 10-12). “Old
 JJCI bec[ame] responsible for all claims alleging that Johnson's Baby Powder causes cancer or other diseases. (See,
 e.g., Dbt. Ex. 52 (LTL 0012494); Dbt. Ex. 54 (LTL 0012511)). In order to show that J&J’s talcum powder liabilities
 were ultimately transferred to Old JJC (and thence to the Debtor), the Debtor would need to show that the same “books
 or records” requirement was met with respect to Omni Educational Corporation in 1981 and Johnson & Johnson
 Dental Products Company in 1988. The Debtor has not even attempted such a showing.

                                                           32
Case 21-03032-MBK        Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                               Document    Page 46 of 108



         As Mr. Kim admitted, to identify the specific “indebtedness, liabilities and obligations . .

 . allocated on the books or records” of the Baby Products division that were assumed, “you would

 have to look at books or records.” (Nov. 4 H’rg. Tr., at 194:2-12). Yet as Mr. Kim further

 admitted, he has “not looked.” (Kim Tr., at 54:6-11; Nov. 4 H’rg. Tr., at 196:6-16). Susan

 Schirger-Ward, J&J’s Senior Legal Records Coordinator, was never asked to look for them.

 (Schirger-Ward Tr., at 11:1-2, 13:21-14-11, 53:16-54:6, 55:16-56:1, 58:22-63:4, 64:6-16; Nov. 4

 H’rg. Tr., at 194:19-24). For certain, no “indebtedness, liabilities and obligations” relating STS

 were “allocated on the books and records” of J&J’s Baby Products division when the 1979

 Agreement was executed, as that product was not even manufactured or sold by the Baby Products

 division at the time. (Nov. 4 H’rg. Tr., at 207:2-13). Nor is there any question that liabilities

 arising from J&J’s Windsor talc mines were not “allocated on the books or records” of the Baby

 Products division when J&J Baby Products assumed liabilities in the 1979 Agreement. (Id. at

 210:14-210:19).

        More, neither Mr. Kim nor any other representative of the Debtor could identify “a single

 document where J&J has talc liabilities described in books” or records prior to execution of the

 1979 Agreement. (Kim Tr., at 54:6-11; Nov. 4 H’rg. Tr., at 196:6-199:7). That is not surprising,

 given (as Mr. Kim further admitted) that “prior to January 1, 1979 there were no lawsuits claiming

 any personal injury arising from the alleged use of Johnson's Baby Powder and/or Shower to

 Shower filed against any of the J&J companies.” (Nov. 4 H’rg. Tr., at 198:4-11; see pp. 14–15,

 supra). The Debtor has admitted that not until the fourth quarter of 2018 did J&J’s consolidated

 financial statements reflect any reserve for defense and indemnity costs outside of insurance

 coverage for talc-related claims. (Silverstein Decl. Ex. 31 (Debtor’s Answers and Objections to

 Defendants’ First Set of Interrogatories and Request for Admission No. 7)).



                                                 33
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                     Desc Main
                                 Document    Page 47 of 108



                         b.      Insurance Coverage that No Insurance Carrier Acknowledges

         The Debtor also contends that “J&J and the Debtor are both covered for talc-related claims

 under various shared insurance policies” pursuant to which “the Debtor believes that it has rights

 to insurance coverage.” (Mem. at 25, 45). According to the Debtor, the insurance rights derive

 from two types of insurance policies: (i) third-party insurance, e.g., Aetna Casualty and Surety

 Company, American International Group, Allstate Insurance Company, The Hartford, etc.; and (ii)

 self-insurance through “a captive insurance company that is a wholly-owned subsidiary of J&J”

 called Middlesex Insurance Company (“Middlesex”). (First Day Decl., at ¶¶ 46-51). The Debtor

 avers that “[i]n total, the limits of solvent primary and excess insurance policies issued to J&J by

 third-party insurers that potentially cover talc-related liabilities are in excess of $1.95 billion.” (Id.

 at ¶ 52).

         But, as the Debtor concedes, “none of th[e] [third party] insurers has acknowledged its

 coverage obligations, defended Old JJCI or J&J, paid its costs of defense, or indemnified J&J or

 Old JJCI for settlements or judgments.” (First Day Decl., at ¶ 53; Mem. at 28). Nor is there a

 shred of evidence in the record to suggest that, at any time during the course of this bankruptcy

 proceeding, that longstanding status quo is likely to change. To the contrary, even a cursory review

 of the multitudinous coverage defenses asserted by insurers that sued J&J and JJCI reveals that

 any coverage determination is unlikely to occur in the foreseeable future, if at all. (Silverstein

 Decl., Ex. 33 (Second Amended Complaint, Atlanta International Insurance v. Johnson &

 Johnson, MID-L-003563-19 (N.J. Super.) (“Insurance Complaint”)), at ¶¶ 93-103; First Day

 Decl., at ¶ 54).




                                                    34
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                             Desc Main
                                     Document    Page 48 of 108



          There is ample support for the insurers’ denial of coverage. Many of the policies produced

 in discovery by the Debtor (but are not in the record13) only cover unexpected and unintentional

 “occurrences.”14 Other policies contain explicit limitations on personal injury coverage, such as

 policies covering only accidental injuries15 or specific torts like false arrest, malicious prosecution,

 defamatory torts, or privacy torts.16 Numerous policies disclaim liability for injuries arising from

 asbestos exposure.17 And virtually all policies contain specific assistance and cooperation and

 claims control provisions with which the insurers assert J&J has failed to comply.18

          As for its captive insurance, provided by Middlesex, there is no coverage remaining. As

 J&J Assistant Corporate Controller, Adam Lisman, testified: “[Old JJCI] related to the talc matter

 exhausted its coverage within the Middlesex self-insurance captive in the — around the fourth

 quarter of 2018.” (Transcript of Deposition of Adam Lisman, October 30, 2021 (“Lisman Tr.”),

 126:10-15).


 13
          The Debtor has not placed more than a few insurance policies in the record. Instead, the Debtor relies on a
 summary chart purporting to summarize all of the policies that it contends provides coverage of talcum powder claims.
 (Dbt. Ex. 8). The witness, Mr. Kim, who sought to introduce the chart did not prepare it. (Nov. 4 Hrg. Tr., at 290:11-
 16). He merely reviewed it, without the underlying policies, one day earlier. (Id.).
 14
           Many policies define an occurrence as “an accident or happening or event or a continuous or repeated
 exposure to conditions which unexpectedly and unintentionally results in personal injury. . . during the policy period.”
 (E.g., Insurance Complaint, at ¶¶ 61, 75 (quoting Granite Insurance policy 6484-0068 (1984–1987) and North River
 policy JU0276 (1977–1980)); LTL 0009267 (American Centennial policy endorsement incorporating North River
 terms), LTL 0009251 (Aetna endorsement doing same), LTL 0009918 (Wasau endorsement incorporating Granite
 terms)).
 15
          E.g., LTL 0000003138, LTL 0003221, LTL 0003311, LTL 0003554, and LTL 0003917.
 16
          E.g., LTL 0003149–50, LTL 0003359-60, LTL 0003565–66, LTL 0003965–66.
 17
           E.g., LTL 0011518 (letter regarding AIU asbestos exclusion providing “that there is no coverage for bodily
 injury, disease, sickness, shock, death, mental anguish and mental injury at any time, arising out of the exposure to
 asbestos products, asbestos fibers or asbestos”); LTL 0010900 (AIU policy asbestos exclusion); LTL 0011957 (letter
 asserting that coverage under a Hartford policy is precluded by an asbestos exclusion); LTL 0011780–81 (quoting
 asbestos exclusion in three Fireman’s Fund policies).
 18
           LTL 0003141, LTL 0003148, LTL 0003197, LTL 0003214, LTL 0003224, LTL 0003314, LTL 0003557,
 LTL 0003667, and LTL 0003920 (listing such provisions in insurance policies). See also LTL 0008666 (“Whenever
 the Insured has information of an occurrence involving injuries or damages which may involve this policy, written
 notice shall immediately be given to Gibraltar.” (emphasis added)); LTL 0008065 (“Notices, as required to be given
 to the primary insurer, shall also be given to Aetna Casualty in the event of any accident, occurrence, claim or suit
 which is reasonably likely to give rise to a claim for indemnity under this policy.”).

                                                           35
Case 21-03032-MBK            Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                   Document    Page 49 of 108



        It is not surprising, therefore, that in talcum powder litigation prior to the bankruptcy filing,

 J&J and JJCI repeatedly have indicated that they lack insurance coverage. As recently as August

 2021, a corporate representative for both J&J and JJCI testified under oath that the companies are

 “self-insured” and do not “maintain liability insurance for products liability.” (Cl. Ex. 51, at 76:23-

 77:19). Another designated Rule 30(b)(6) witness for both J&J and JJCI testified that J&J is self-

 insured for talc-related litigation expenses. (Picariello Tr., at 59: 24-25 (“To my best knowledge,

 we have an internal insurance in-house”)). In responses to interrogatories, J&J has provided the

 sworn response that it is “self-insured” and that tort claims are unlikely to implicate any insurance

 policies. (Silverstein Decl. Exs. 34-37 (Cl. Ex. 52), Interrogatory No. 10; Cl. Ex. 53, Interrogatory

 No. 19; Cl. Ex. 54, Interrogatories No. 4.1; see also Cl. 55 at p. 10).

        Furthermore, the Debtor is not named as an insured on any of the policies in the record,

 and the definition of “Named Insured” or “Insured” in at least certain of the policies in the record

 do not appear to include the Debtor, at least absent notice to, and/or consent of, the insurance

 carrier (nowhere in the record). (See Dbt. Exs. 10 (LTL 0000172), 12 (LTL0000388)). In fact,

 the Debtor concedes that the policies “were issued to J&J as the Named Insured,” but nonetheless

 asserts that such policies “cover the period when Old JJCI was operated as a business unit of J&J,

 as well as during the period when Old JJCI was a subsidiary of J&J.” (First Day Decl., at ¶ 46

 n.4). Even if JJCI were an insured under the policies, JJCI merged into, and out of existence with,

 Chenango Zero. (See p. 29, supra). The Debtor has not shown that, by operation of law or

 otherwise, coverage under the policies transferred to Chenango Zero, and from there were able to

 be, and were, allocated to the Debtor.

                        c.       Acceptances of Tort Defenses Years After the Torts

        The Debtor further asserts that “[w]hen a Retailer was sued on a . . . Talc Claim, the Retailer

 would notify Old JJCI by submitting a tender request” and that “Old JJCI would then determine
                                                   36
Case 21-03032-MBK            Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                           Desc Main
                                   Document    Page 50 of 108



 whether to accept the Retailer's tender of its defense and indemnify the Retailer pursuant to a tender

 agreement (each, a “Tender Agreement”).” (Mem. at 29). The process itself belies that the

 retailers have any absolute right to indemnification; if the retailers had an absolute right of defense,

 there would be no need for Old JJCI to determine whether or not to accept the tender of defense.

 Indeed, the Debtor admitted that it produced no more than, at most, a handful of “supply

 agreements” with retailers containing indemnification obligations by J&J, Old JJCI or both. (Cl.

 Ex. 5, at 122:20-125:14).

         According to the Debtor, “[s]ince 2018, Old JJCI has indemnified and agreed to assume

 the defense of nearly 600 talc-related claims against the Retailers pursuant to Tender Agreements,”

 “450 [of which agreements] were pending as of the Petition Date.” (Mem. at 29). In fact, the

 record reveals that only recently, after an “internal review” was undertaken following the Imerys

 bankruptcy, was an effort made to “standardize” the Tender Agreements in order to make them

 indemnifications only from Old JJCI. (Kim Tr., at 205:16-220:3). Prior to that, indemnifications

 were given, jointly and severally, by J&J and Old JJCI and may have varied from case to case.

 (Id.). The Debtor admitted that, regardless of when executed “each tender agreement is case

 specific,” and in order “to understand who provided the indemnity and under what conditions

 someone actually needs to look at each of these indemnity agreements.” (Nov. 4 H’rg. Tr., at

 282:18-2, 288:20-25). But the Debtor has placed only a small handful of such exhibits in the

 record. (See Dbt. Exs. 18-19).19

         The few Tender Agreements in the record demonstrate that any indemnification from Old

 JJCI thereunder was and is conditional. (See Dbt. Exs. 18 & 19). The agreements provide, for


 19
          In lieu of the actual Tender Agreements, the Debtor introduced a summary chart purporting to summarize all
 of the Tender Agreements under which it contends the Debtor is obligated. (Dbt. Ex. 17). Again, Mr. Kim, who
 sought to authenticate the chart, had seen it for the first time only the day before, had done none of the work in
 preparing it and could not attest that it was accurate. (11/4/21 H’rg. Tr. 280:12-282:11, 286:244-288:3).

                                                         37
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                     Desc Main
                                 Document    Page 51 of 108



 example, that: (i) “should discovery reveal that the product or products plaintiff allegedly used

 were not manufactured by JJCI or on JJCI’s behalf or that the unspecified JJCI subject product or

 products were not purchased at [Retailer] or that [Retailer] made representations that extended

 beyond the scope of JJCI’s warranties express or implied and inconsistent with product labeling,

 JJCI expressly reserves the right to re-tender the defense back to [Retailer];” (ii) “should evidence

 become available through deposition testimony or otherwise that decedent was not exposed to JJCI

 talcum powder purchased from [Retailer], JJCI will re-tender [Retailer’s] defense back to

 [Retailer];” and (iii) “[i]f it is determined in final non-appealable judgment by court of competent

 jurisdiction that [Retailer] is at fault in whole or in part for the incident alleged in plaintiff’s

 complaint or any subsequent amendments thereto due to [Retailer’s] acts related to the JJCI subject

 products . . . [Retailer] shall be responsible for that portion of the verdict rendered against [Retailer]

 and shall reimburse JJCI’s reasonable attorneys’ fees and costs . . . .” (Id.). In all events, Mr. Kim

 could not testify that the Tender Agreements would make the Retailers anything other than

 unsecured creditors, just like the claimants. (Cl. Ex. 5, at 126:21-127:3; Kim Tr., at 87:16-88:1).

                         d.      The Alleged “Financial Course of Performance”

         In an effort to bolster its argument that JJCI had the legal obligation to indemnify all talcum

 powder liabilities and expenses (which obligation the Debtor contends it now has by virtue of the

 divisional merger), the Debtor asserts that, prior to the bankruptcy, “J&J initially paid costs

 associated with litigation concerning talc products from its concentration account and then charged

 100% of those costs to Old JJCI through intercompany charges.” (Mem. at 17-18). But the so-

 called “financial course of performance” on which the Debtor relies was purely a function of

 accounting policy, not legal responsibility. The witness whom the Debtor put forward to testify

 about the intercompany charges, Mr. Lisman, testified that “if there are costs associated with the

 product or a franchise that is owned and managed by an operating company or sub, those costs
                                                    38
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31               Desc Main
                                Document    Page 52 of 108



 required by GAAP need to be recorded on the ledgers of that company as a fundamental accounting

 GAAP requirement.” (Lisman Tr., at 117:15-23). Mr. Lisman further acknowledged that it is a

 “fundamental GAAP requirement [that] is at the root of” all of the intercompany charges. (Id.).

 In other words, the inter-company charges reflect “an accounting decision.” (Id. at 142:14-143:1).

 In that vein, Mr. Lisman further acknowledged that the allocation of expenses under GAAP is

 “subjective.” (Lisman Tr., at 45:7-11, 139:20-24). He testified that “GAAP isn’t that specific.

 GAAP provides a broad framework of which you are required to report. And every company has

 individual policies and procedures in how they interpret and apply GAAP.” (Id. at 90:14-17).

 Thus, it is J&J’s own interpretation of GAAP that underlies its inter-company charge policy. (Id.

 at 139:14-24).

        In all events, Mr. Lisman admitted that any inter-company charges between J&J and JJCI,

 in his words, “have nothing to do with” the 1979 Agreement or any other agreement between the

 two companies, the existence of which Mr. Lisman was entirely unaware. (Id. at 130:14-131:21,

 158:23-159:19, 161:1-7). He testified that the allocation between J&J and Old JJCI of talcum

 powder liabilities and expenses was purely a matter of “policy issued by the corporate controller’s

 office,” not an “agreement signed off by the executives.” (Lisman Tr., at 144:6-18). Mr. Kim also

 testified that he has not seen any agreements regarding allocation of payments of judgments or

 settlements between J&J and JJCI. (Nov. 4 Hrg. Tr., at 252:14-253:13).

        F.        The Bankruptcy Filing and Announced Stay of Litigation

        Two days after it was created, on October 14, 2021 (the “Petition Date”), the Debtor

 commenced this bankruptcy case by filing a petition for relief under chapter 11 of the Bankruptcy

 Code in the North Carolina Court. (Main Dkt. No. 1). Then and/or the next day, before it even

 had stepped foot in, let alone, received any order of relief from, the North Carolina Court, the

 Debtor blanketed courts across the country in which talcum powder litigations — none filed
                                                 39
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                      Desc Main
                                Document    Page 53 of 108



 against the Debtor — were pending with “Notice[s] of Bankruptcy Filing and Stay of Proceedings”

 (“Stay Notices”), declaring that “LTL is now responsible for the talc-related claims” and that “as

 a result of the Automatic Stay, no further action may be taken to prosecute the talc-related claims

 against any LTL Defendant,” a term defined to include hundreds of entities, including J&J, tens

 of its affiliates, tens of insurance companies and tens of retailers, including defendants in the

 various litigations in which the notice was filed. (See, e.g., Silverstein Decl. Ex. 39 (MDL Dkt.

 No. 25298); Silverstein Decl. Exs. 40-42 (Cl. Exs. 133-35); 11/4/21 H’rg. Tr., at 270:2-4). On

 October 19, 2021 (again, before the Debtor had made even an initial appearance in the North

 Carolina Court), J&J followed on by filing a Form 8-K with the United States Securities and

 Exchange Commission, publicly announcing that, as a result of LTL’s bankruptcy filing, “all

 pending cosmetic talc cases will be stayed.” (Silverstein Decl. Ex. 43 (Cl. Ex. 132); Nov. 4 H’rg.

 Tr., at 269:6-15) (emphasis added). At the same time, J&J assured the public markets that it was

 only a “newly created and separate subsidiary of Johnson & Johnson . . . established to hold and

 manage claims,” LTL, that had filed for bankruptcy protection, and that “Johnson & Johnson and

 its other affiliates did not file for bankruptcy protection and will continue to operate their

 businesses as usual.” (Id.).

        Indeed, that the very purpose of the Debtor’s bankruptcy filing was to enable J&J to seek

 — and, in the interim, to claim — the existence of a stay of all talcum powder litigation against

 J&J is crystal clear in the record. When asked whether J&J — one of two enterprises in the world

 with the highest credit rating, despite what he described as a tidal wave of talcum powder lawsuits

 against it — “could survive the litigation,” Mr. Kim responded:

        I think if, if the litigation continued as it, as it was going and, and it would continue
        for the next 60 years because of the latency period and if we were getting verdicts
        routinely like the verdict that we got in the Ingham case . . ., no, I don't, I don't think
        any company would survive that.

                                                    40
  Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31               Desc Main
                                      Document    Page 54 of 108



       (Nov. 4 H’rg. Tr. 261:4-262:2). Yet when questioned why, in light of that, J&J did not undertake

       the Texas Two-Step and place its own liabilities in bankruptcy, Mr. Kim’s response was: “We

       thought this route was the preferable route,” because “[w]e believe that according to the law would

       certainly be entitled to a stay, yes” from the Debtor’s bankruptcy filing. (Id.).

III.          Relevant Procedural History

              On October 18, 2021, two days before the “first day” hearing in the bankruptcy case but

       days after the Debtor already had filed Stay Notices in courts across the country, the Debtor filed

       an Emergency Motion to Enforce the Automatic Stay against Talc Claimants Who Seek to Pursue

       Their Claims against the Debtor and Its Non-Debtor Affiliates in the North Carolina Court,

       asserting that, based on “precedent in the Fourth Circuit, actions against Non-Debtor parties to

       recover claims against the Debtor are automatically stayed under section 362 of the Bankruptcy

       Code.” (Main Dkt. No. 44 at pp. 2-3). That emergency motion, in turn, was met with a motion to

       strike, on the grounds that the Debtor’s motion “seeks injunctive relief that can only be granted

       through commencement of an adversary proceeding under Rule 7001(7) of the Federal Rules of

       Bankruptcy Procedure.” (Id., Dkt. No. 76 at ¶ 4). At the first day hearing, on October 20, 2021,

       the North Carolina Court agreed that “the debtor needs to file the adversary.” (Silverstein Decl.,

       Ex. 44 (Oct. 20, 2021 H’rg. Tr.), at 137:18-22). Nevertheless, in advance of such filing (which

       the Debtor committed to do, and did file, the next day (Adv. Pro. Dkt. Nos. 1-3)), the North

       Carolina Court entertained an oral application by the Debtor for a temporary restraining order

       (“TRO”), which the court scheduled to hear in full on October 22, 2021. (Oct. 20 H’rg. Tr., at

       154:10-157:2).

              Two days later, after a half-day evidentiary hearing in which the Debtor’s CLO, Mr. Kim,

       took the stand, the North Carolina Court denied the TRO relief except for “claims against the

       debtor and claims against Old JJCI, which no longer exists.” (Cl. Ex. 5, at 159:1-9). The court
                                                        41
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                  Desc Main
                                 Document    Page 55 of 108



 indicated that it was “not going any further” and that it had “grave concerns” that “liabilities of the

 Johnson & Johnson Company that were not . . . liabilities of the debtor.” (Id.). Consequently, the

 order that the court entered provided “the Debtor’s interim stay motion and its request for a

 temporary restraining order, but only as provided herein, and only as to the Debtor and Old JJCI,”

 and further provided that “[t]he Motions are DENIED with respect to the Debtor’s request for a

 temporary restraining order in favor of the Alleged Protected Parties other than the Debtor and Old

 JJCI.” (Adv. Pro. Dkt. No. 28). The court scheduled a preliminary injunction hearing for

 November 4 and 5, 2021, and ordered expedited discovery in connection therewith. (See, e.g.,

 Adv. Pro. Dkt. No. 73).

        At the preliminary injunction hearing on November 4 and 5, 2021, the North Carolina

 Court heard testimony from three witnesses — (i) Mr. Kim, (ii) JJCI’s Chief Medical Officer, Dr.

 Edwin Kuffner, and (iii) an “expert in statistical and econometric analysis and economic modeling

 as it relates to mass tort personal injury claims,” Dr. Charles Mullin. (Nov. 4 H’rg. Tr.; Nov. 5

 Hrg. Tr.). By agreement of the parties, the court also admitted into evidence (i) the declarations,

 and deposition transcripts of, two other witnesses — Mr. Lisman and Ms. Schirger-Ward (Dbt.

 Exs. 48 & 49; Silverstein Decl. Exs. 32 and 38 (Cl. Dep. Exs. 2 & 3)) — and (ii) hundreds of other

 exhibits listed on the parties’ exhibit lists and/or utilized during the course of the hearing. (Adv.

 Pro. Dkt. No. 75). At the conclusion of the hearing, the court reserved judgment and indicated that

 it would read a ruling into the record on November 10, 2021, following the hearing on various

 parties’ and the Court’s own motions to transfer venue of the bankruptcy case. (Silverstein Decl.

 Ex. 45 (Nov. 5 H’rg. Tr.), at 568:15-569:9). In the interim, the court left in place the TRO, which

 it noted “didn't really grant an injunction except as to the debtor and that was, and Old JJCI.” (Id.).




                                                   42
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                  Desc Main
                                 Document    Page 56 of 108



        On November 10, 2021, the North Carolina Court, after hearing argument on the venue

 motions, concluded that it was “obliged to send this case to the District of New Jersey for a variety

 of reasons,” which the court described on the record and set out in an 11-page Order Transferring

 Case to the District of New Jersey. (Nov. 10, 2021 H’rg. Tr., at 125:19-132:4; Main Dkt. No.

 416). After announcing the change in venue, the court turned to the preliminary injunction motion,

 stating on the record:

        What I believe at the moment is that I need to stop the litigation against the would-
        be protected parties, including J&J, for a short time period. Sixty days is what I
        have in mind. That is influenced heavily by the fact that I’m not making a decision
        today for myself. I’m making a decision and sending the case to another court. The
        new judge is going to have to be appointed, get up to speed, and have a chance to
        weigh in on this. It has been pointed out that there may be different law in the Third
        Circuit. I haven't had the occasion to go review their Rules on, on dismissals or
        divisional mergers or good faith/bad faith, all those things, except to the extent that
        we've covered them in the other cases.
        But the point is somebody else is going to have to wrestle with this question and I
        don't want to bind them any more than possible . . . .
 (Nov. 10 H’rg Tr., at 134:24-135:21). The court went on to indicate its own views of the issues,

 “look[ing] at the bankruptcy filing of LTL . . . under the bankruptcy laws and binding Fourth

 Circuit precedent” (id. 134:14-143:11), but concluded all of those remarks by returning to the

 overarching point that:

        I think that, particularly given that I am moving the case, the last thing I want to do
        is send it with it on fire to the, to the recipient court. And so we need to, to slow
        down just for a little bit here and let a new judge take a look at this situation, read
        what we've written before, and then get the other constituencies onboard before we
        go any further with that.

 (Id. at 143:18). The Order Granting the Debtor’s Request for Preliminary Injunctive Relief

 accords fully with that premise, expressly providing that: (i) “all of the Court's findings and

 conclusions herein are without prejudice, as set forth in the record, to . . . any further finding by a

 subsequent court with jurisdiction over this proceeding (the ‘Presiding Court’) . . .; (ii) the “Order



                                                   43
Case 21-03032-MBK                 Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                Desc Main
                                        Document    Page 57 of 108



     is not intended to bind a subsequent Presiding Court”; and (iii) “[t]he injunction and the Court's

     interim stay ruling herein shall expire on the date that is 60 days after the entry of this Order (the

     ‘Termination Date’), unless modified or extended by an order of the Presiding Court.” (Adv. Pro.

     Dkt. 102 at ¶¶ E & 4).

            On December 1, 2021, the Committee filed a motion to dismiss the Debtor’s chapter 11

     bankruptcy case on the grounds that it was not filed in good faith. (Main Dkt. No. 632). On

     December 8, 2021, the Debtor filed its Supplemental Memorandum, asserting that “Talc Claims

     against the Protected Parties, including J&J, [are] automatically stayed” and seeking a preliminary

     injunction enjoining the prosecution of Talc Claims. (Mem. at 4-5). For the reasons set forth

     herein, the Motion should be denied.

                                                ARGUMENT

I.          THE DEBTOR HAS NOT ESTABLISHED THAT ANY EXTENSION OF THE
            STAY UNDER § 362(A) IS WARRANTED

            A.      Section 362(a) Was Enacted to Give a Reprieve to the Debtor

            Section 362(a) of the Bankruptcy Code provides in pertinent part:

            [A] petition filed under section 301, 302, or 303 of this title . . . operates as a stay,
           applicable to all entities, of—

            (1) the commencement or continuation, including the issuance or employment of
           process, of a judicial, administrative, or other action or proceeding against the debtor
           that was or could have been commenced before the commencement of the case under
           this title, or to recover a claim against the debtor that arose before the
           commencement of the case under this title;

            *       *         *

            (3) any act to obtain possession of property of the estate or of property from the
           estate or to exercise control over property of the estate . . . .

     11 U.S.C. § 362(a)(1), (3).

            The legislative history underlying Congress’s enactment of an “automatic stay” upon a

     debtor’s bankruptcy filing is well known and oft observed. Congress created the stay as “‘one of
                                                       44
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                               Desc Main
                                     Document    Page 58 of 108



 the fundamental debtor protections provided by the bankruptcy laws,’ designed to relieve ‘the

 financial pressures that drove [debtors] into bankruptcy.’” Eastern Refractories Co. v. Forty Eight

 Insulations Inc., 157 F.3d 169, 172 (2d Cir. 1998) (quoting H.R. Rep. No. 95–595, at 340 (1977)).

 As the Third Circuit Court of Appeals has observed:

          The automatic stay imposed by the Bankruptcy Code has a ‘twofold’ purpose:

          (1) to protect the debtor, by stopping all collection efforts, harassment, and
          foreclosure actions, thereby giving the debtor a respite from creditors and a chance
          ‘to attempt a repayment or reorganization plan or simply be relieved of the financial
          pressures that drove him [or her] into bankruptcy;’ and (2) to protect ‘creditors by
          preventing particular creditors from acting unilaterally in self-interest to obtain
          payment from a debtor to the detriment of other creditors.’

 In re Denby-Peterson, 941 F.3d 115, 122 (3d Cir. 2019) (first quoting Constitution Bank v. Tubbs,

 68 F.3d 685, 691 (3d Cir. 1995); and then quoting Maritime Elec. Co. v. United Jersey Bank, 959

 F.2d 1194, 1204 (3d Cir. 1991)).

          In other words, “[t]he stay gives a debtor a breathing spell from creditors by stopping all

 collection efforts and all foreclosure actions.” McCartney v. Integra Nat. Bank N., 106 F.3d 506,

 509–10 (3d Cir. 1997). (citing Maritime Elec. Co., 959 F.2d at 1204 ).20 Additionally, it “serves

 the debtor's interests by protecting the estate from dismemberment,” while “benefit[ting] creditors

 as a group by preventing individual creditors from pursuing their own interests to the detriment of

 the others.” City of Chicago v. Fulton, 141 S. Ct. 585, 589 (2021).21




 20
          See also In re Johns-Manville Corp., 26 B.R. 405, 410 (Bankr. S.D.N.Y. 1983) (“[T]he automatic stay is
 designed . . . ‘to prevent the dissipation or diminution of the bankrupt’s assets during the pendency of” [the bankruptcy
 proceeding] . . . . ‘Without it, certain creditors would be able to pursue their own remedies against the debtor’s
 property.’” (quoting Paden v. Union for Experimenting Colleges and Universities, 7 B.R. 289 (N.D. Ill. 1980); H.R.
 Rep. No. 95-595, pp. 5787, 6297) (emphasis original)).
 21
           See also, e.g., Assoc. of St. Croix Condo. Owners v. St. Croix Hotel Corp., 682 F.2d 446, 448 (3d Cir. 1982)
 (noting that stay is intended to “prevent certain creditors from gaining a preference for their claims against the debtor;
 to forestall the depletion of the debtor’s assets due to legal costs in defending proceedings against it; and, in general,
 to avoid interference with the orderly liquidation or rehabilitation of the debtor.”).

                                                            45
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                              Desc Main
                                     Document    Page 59 of 108



          Given its purpose, courts universally acknowledge that “the stay is a shield, not a sword.”

 In re Scarborough-St. James Corp., 535 B.R. 60, 67, 70 (Bankr. D. Del. 2015) (noting, that “the

 stay is a shield, not a sword that should help the debtor deal with his bankruptcy for the benefit of

 himself and his creditors,” and concluding that a debtor’s use of the automatic stay to gain a

 litigation advantage justified lifting the automatic stay afforded by § 362(a)); In re Briarpatch Film

 Corp., 281 B.R. 820, 834 (Bankr. S.D.N.Y. 2002) (“It has often been stated that the automatic stay

 is a shield, not a sword.”).

          Because the automatic stay’s protections are so broad, its applications are expressly

 limited. On its face, the stay applies automatically only to the debtor and the debtor’s property.

 “Although the scope of the automatic stay is broad, the clear language of section 362(a)[1] stays

 actions only against a ‘debtor.’” McCartney, 106 F.3d at 509–10 (quoting Maritime Elec. Co.,

 959 F.2d at 1204). “As a consequence, ‘[i]t is universally acknowledged that an automatic stay of

 proceedings accorded by § 362 may not be invoked by entities such as sureties, guarantors, co-

 obligors, or others with a similar legal or factual nexus to the . . . debtor.’” Id. (quotations and

 citations omitted)).22 Similarly, by its plain words, § 362(a)(3) protects only property in which a

 “debtor” had an interest as of the commencement of the bankruptcy case — whether the debtor’s

 property was in the possession of the debtor or a third party. See 11 U.S.C. § 362(a)(3) (protecting


 22
           See also Maritime Elect. Co., 959 F.2d at 1205 (“[T]he automatic stay is not available to non-bankrupt co-
 defendants of a debtor even if they are in a similar legal or factual nexus with the debtor.”); Jackson v. Trump Ent.
 Resorts, Inc., No. CV 13-1605 (JHR/JS), 2015 WL 13637411, at *2 (D.N.J. Feb. 11, 2015) (“Section 362(a)(1) only
 stays actions against the debtor and may not be invoked by solvent codefendants, even if they are in a similar legal or
 factual nexus with the debtor.” (citing Travelodge Hotels, Inc. v. Patel, C.A. No. 13-03719 (WHW), 2013 WL
 4537906, at *5 (D.N.J. Aug. 27, 2013))).
          The Debtor also suggests that § 362(a)(1)’s stay of actions to “recover a claim against the debtor” also
 necessarily encompasses claims against non-debtors (otherwise, according to the Debtor, the provision would be
 rendered “surplusage.” (Mem. at 41-42). The one case that the Debtor cites for that proposition, however, is wholly
 inapposite. See In re Colonial Realty, 980 F.2d 125, 131–32 (2d Cir. 1992). At issue in Colonial Realty was a claim
 against a third party to recover a fraudulent conveyance — a claim literally to recover the property of the debtor that
 allegedly was improperly transferred. As set forth herein, that is not the nature of the claims that this Debtor seeks to
 stay.

                                                           46
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                Desc Main
                                 Document    Page 60 of 108



 estate property); § 541(a)(1) (defining estate property to include all pre-petition interests of the

 debtor “wherever located and by whomever held”); A.H. Robins Co., Inc. v. Piccinin, 788 F.2d

 994, 999 (4th Cir.), cert. denied, 479 U.S. 876 (1986) (“Subsection (a)(3) directs stays of any

 action, whether against the debtor or third-parties, to obtain possession or to exercise control over

 property of the debtor.”).

         B.      The Stay Should Not Be Extended Here Under § 362(a)(1)

                 1.      Standards for Extending the Stay

         Courts have extended the reach of the statute’s stay to non-debtor parties in limited

 circumstances, where doing so would effectuate the language and purpose of § 362(a) — namely,

 to protect the debtor and its assets from creditors while it attempts to reorganize. See, e.g., In re

 Uni-Marts, LLC, 399 B.R. 400, 416 (Bankr. D. Del. 2009) (“The broader rule here is that a debtor’s

 stay may extend to a non-debtor only when necessary to protect the debtor's reorganization.”)

 (quoting Gray v. Hirsch, 230 B.R. 239, 243 (S.D.N.Y.1999)). The seminal case in that regard is

 Robins, in which the Fourth Circuit Court of Appeals held that the stay may be extended to non-

 debtors in “unusual circumstances” where failing to do so would “defeat” the stay’s “very purpose

 and intent.” 788 F.2d at 999. The Fourth Circuit elaborated: “This ‘unusual’ situation, it would

 seem, arises when there is such identity between the debtor and the third-party defendant that the

 debtor may be said to be the real party defendant and that a judgment against the third-party

 defendant will in effect be a judgment or finding against the debtor.” Id. As an example of such

 a “situation,” the court cited “a suit against a third-party who is entitled to absolute indemnity by

 the debtor on account of any judgment that might result against them in the case.” Id. As the court

 explained, actions against such non-debtors “are so intimately intertwined with those of the debtor

 that the latter may be said to be the real party in interest.” Id. at 1001.



                                                   47
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                  Desc Main
                                Document    Page 61 of 108



        The Third Circuit Court of Appeals has adopted Robins’ “identity of interest” rationale for

 extending § 362(a)(1)’s stay to non-debtors. See, e.g., McCartney, 106 F.3d at 509 (“[C]ourts have

 found ‘unusual circumstances’ where ‘there is such identity between the debtor and the third-party

 defendant that the debtor may be said to be the real party defendant . . . .’” (quoting Robins, 788

 F.2d at 999)). Thus, in determining whether to extend the stay afforded by § 362(a)(1), the Third

 Circuit and other courts look to whether the action against the non-debtor will either (i) have a

 substantial and immediate economic impact on a debtor’s property or estate, or (ii) adversely affect

 the debtor’s management. See Uni-Marts, LLC, 399 B.R. at 416 (“The threatened harm may be to

 needed debtor funds (e.g., when non-debtors are entitled to indemnification) or personnel (e.g.,

 when debtor needs the services of non-debtors facing crushing litigation).”); see also Queenie, Ltd.

 v. Nygard Int'l, 321 F.3d 282, 287–88 (2d. Cir. 2003) (asking whether the action to be stayed will

 have an “immediate adverse economic consequence for the debtor's estate”).

        The “unusual circumstances” exception is intended to be narrow, and is reserved only for

 “extreme” circumstances. See, e.g., In re W.R. Grace & Co., No. 01-01139 (JKF), 2004 WL

 954772, at *2 (Bankr. D. Del. Apr. 29, 2004) (“Although the automatic stay can be extended to

 situations involving nondebtors, courts are careful to reserve such power to the most extreme and

 ‘unusual circumstances.’”); In re Aldan Indus., Inc., No. 00-10360DWS, 2000 WL 357719, at *4

 (Bankr. E.D. Pa. Apr. 3, 2000) (referring to Robins “as a narrow exception to the prohibition

 against extending the protection of the automatic stay”). To extend the stay otherwise would

 present great risk to the rights of the non-debtor’s creditors. See, e.g., Bradberry v. Carrier Corp.,

 86 So. 3d 973, 983 (Ala. 2011) (“Extending the stay to protect solvent co-defendants would not

 advance either of the purposes underlying the automatic stay.”).




                                                  48
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                Desc Main
                                     Document    Page 62 of 108



          Contrary to the Debtor’s position that the application of § 362(a)(1) applies “of its own

 force,” without the need for any “extension” (Mem. at 40), courts within and outside of this Circuit,

 in light of §362(a)(1)’s plain words, have justified the application of the stay to non-debtors as an

 exercise of the Court’s equitable powers granted under § 105(a).23 See, e.g., Patton v. Bearden, 8

 F.3d 343, 349 (6th Cir. 1993) (“Even if we were to adopt the unusual circumstances test, the

 bankruptcy court would first need to extend the automatic stay under its equity jurisdiction

 pursuant to 11 U.S.C. § 105.”); Teachers Ins. & Annuity Ass’n of Am. v. Butler, 803 F.2d 61, 65–

 66 (2d Cir. 1986) (construing stay extension as an exercise of § 105 authority, and stating that it

 “cannot extend to efforts made in bad faith by non-bankrupt co-defendants in order to escape from

 . . . liability”).24

          As such, the relief sought by the Debtor here should be committed to the discretion of the

 Court, to be exercised only upon a clear and convincing showing of an “extraordinary set of



 23
           The Third Circuit has not directly decided this issue. The Third Circuit has concluded that “section 105(a) .
 . . permits the court to do equity where” § 362 is not available, but not in the context here of applying the automatic
 stay to non-debtors. In re Wedgewood Realty Group, Ltd., 878 F.2d 693, 701 (3d Cir. 1989). In adopting Robins’
 “unusual circumstances” test, the Third Circuit simply noted, without further comment, that the Robins court relied
 on both § 362(a) (the automatic stay provision) and § 105(a) (relating to ancillary “necessary and appropriate” orders).
 See McCartney, 106 F.3d at 506 (noting in parenthetical that Fourth Circuit relied on both the “automatic stay
 provision and the bankruptcy court's equitable powers under 11 U.S.C. § 105 to enjoin actions against nondebtor
 codefendants”). McCartney then cited cases relying on both § 362(a) and § 105(a). Id.; see also Aldan Indus., 2000
 WL 357719, at *8 (noting same).
 24
           See also Edwards v. McElliotts Trucking, LLC, 2017 WL 5559921, at *4 (S.D. W. Va. Nov. 17, 2017) (noting
 that bankruptcy court’s authority to expand the scope of the stay derives from § 105); In re Bora Bora, Inc., 424 B.R.
 17, 23 (Bankr. D.P.R. 2010) (“Although called an extension of the automatic stay provisions of the Bankruptcy Code
 to non-debtor parties, these are in fact injunctions issued by a bankruptcy court under 11 U.S.C. § 105(a) . . . .”); In re
 Trans-Service Logistics, Inc., 304 B.R. 805, 807 (Bankr. S.D. Ohio 2004) (citing § 105 as statutory predicate for
 extension of the stay); Millard v. Developmental Disabilities Institute, Inc., 266 B.R. 42, 44 (E.D.N.Y. 2001) (“where
 extension of the Automatic Stay to non-bankrupt defendants is recognized as appropriate,” “[t]he power to enter such
 a stay in derived from 11 U.S.C. § 105”); In re Phila. Newspapers, LLC, 407 B.R. 606, 616 (E.D. Pa. 2009) (explaining
 that an extension of the stay requires a showing under both §§ 362(a)(1) and 105(a)); Aldan Indus., 2000 WL 357719,
 at *8 (stating that, even if “unusual circumstances” were present, “extensions of the stay under such circumstances are
 granted in conjunction with a court's authority under § 105”); In re F.T.L., Inc., 152 B.R. 61, 63 (E.D. Va. 1993)
 (stating that extension of the stay for “unusual circumstances” is an exercise of authority under § 105(a)); In re All
 Seasons Resorts, Inc., 79 B.R. 901, 903 (Bankr. C.D. Cal. 1987) (“It is clear to me that the Fourth Circuit in Robins
 agrees that the automatic stay under § 362 of the Code may be extended to cover non-debtors in special situations.
 However, to achieve this result, a debtor must proceed through § 105(a).”).

                                                            49
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                Desc Main
                                Document    Page 63 of 108



 circumstances.” Millard, 266 B.R. at 44 (“Extension of the Automatic Stay to non-bankrupt

 defendants is a matter of discretion”); see In re FPSDA I, LLC, No. 10-75439, 2012 WL 6681794,

 at *8 (Bankr. E.D.N.Y. Dec. 21, 2012), as corrected (Dec. 26, 2012) (“[E]xtensions of the stay to

 protect non-debtor parties are the exception, not the rule, and are generally not favored. Thus, the

 movant must show by ‘clear and convincing evidence’ that extension of the stay is warranted.”)

 (citing Millard., 266 B.R. 42)); In re Univ. Med. Ctr., 82 B.R. 754, 757 (Bankr. E.D. Pa. 1988)

 (noting that “invocation of § 105(a) must be reserved for a truly ‘extraordinary set of

 circumstances’”). As set forth below, the Debtor has not come close to meeting this burden.

                2.      Identities of Interest May Not Be Manufactured Shortly Before the
                        Bankruptcy Filing For Purpose of § 362(a)(1)

        The Debtor’s principal argument for why the Court should extend the stay under

 § 362(a)(1) to hundreds of “Protected Parties” that are not in bankruptcy, including one of the

 richest companies in the world, J&J, is because, according to the Debtor, “Old JJCI no longer

 exists” and, thus, “the Debtor is [now] responsible for the Debtor Talc Claims.” (Mem. at 41). As

 a basis for that, the Debtor cites to various indemnity agreements, insurance agreements, and tender

 agreements with the Protected Parties to which Old JJCI is or was a party. (Id. at 41, 44). Setting

 aside the flawed factual premise for the argument (discussed below), the Debtor’s reasoning also

 is flawed.

        With the exception of a small handful of isolated decisions from the North Carolina Court

 involving different circumstances discussed below (see pp. 55–56, infra), all of the cases cited by

 the Debtor supporting its request for relief under § 362(a) involved commercial contracts that an

 operating debtor signed, or assumed, in the ordinary course of its business, well in advance of its




                                                 50
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                 Desc Main
                                     Document    Page 64 of 108



 bankruptcy filing.25 Yet completely omitted, or disregarded, by the Debtor in its Supplemental

 Memorandum is the fact that all of its agreements were unilaterally and intentionally allocated to

 the Debtor by J&J and its affiliates — the very parties that now seek to have the protections of the

 stay extended to them — just two days before the bankruptcy filing. (See pp. 29–31, supra). In

 other words, outside of a few isolated and distinguishable cases, the Debtor’s request is

 unprecedented.

          This is not the case in which the Court should seek to set new precedent. The requested

 extension of the stay here would transform the stay from a shield into a sword — to be wielded by

 non-debtors seeking to avail themselves of the benefits, but not the burdens, of the Bankruptcy

 Code by allocating assets and liabilities to a new entity formed specifically for the purpose of a

 bankruptcy filing to stop non-bankruptcy litigation.26 See, e.g., Scarborough-St. James Corp., 535

 B.R. at 70; In re Irwin, 457 B.R. 413, 418 (Bankr. E.D. Pa. 2011) (“[T]he stay must, in some sense,

 be ‘earned’ by the beneficiary of the stay submitting to the invasive authority of the bankruptcy

 court into his private financial life . . . [thus] assur[ing] a comprehensive commitment of the

 beneficiary's assets to the satisfaction of his obligations, a fundamental aspect of the


 25
           See, e.g., In re Heating Oil Partners, No. 3:08-CV-1976 CSH, 2009 WL 5110838, at *6–7 (D. Conn. Dec.
 17,2009) (debtor was successor in interest after purchasing subsidiary’s assets three years before bankruptcy);
 Mallinckrodt PLC v. Connecticut (In re Mallinckrodt), Misc. No. 20-408-LPS, 2021 WL 523625 (D. Del. Feb. 2,
 2021) (debtors were named co-conspirators in actions sought to be enjoined); Kaiser Group Int'l, Inc. v. Kaiser
 Aluminum and Chem. Corp. (In re Kaiser Aluminum Corp., Inc.), 315 B.R. 655, 658 (D. Del. 2004) (staying suit
 against insurer by KGI (another debtor) where debtor was only party with established right to proceeds); Maaco
 Enters., Inc. v. Corrao, No. CIV. A. 91-3325, 1991 WL 255132, at *2 (E.D. Pa. Nov. 25, 1991) (holding that, where
 debtor’s principals were parties to a franchise agreement that was never properly assigned to corporate debtor
 responsible for franchise business, and franchisor had pre-petition suit against principles, the suit against the principals
 related to franchise agreement was stayed as debtor had identity with its principals); In re Monroe Well Serv., Inc., 67
 B.R. 746 (Bankr. E.D. Pa. 1986); Lyondell Chem. Co. v. CenterPoint Energy Gas Servs., Inc., 402 B.R. 571; In re
 Brier Creek Corporate Center Associates Ltd., 486 B.R. 681 (Bankr. E.D.N.C. 2013).
 26
         In fact, the Texas divisional merger statute on which J&J and Old JJCI relied in allocating liabilities to LTL,
 Chapter 10 of Title 1 of the Texas Business Organization Code (“TBOC”) reinforces the point. Section 10.901 of
 Subchapter Z of the TBOC provides: “This code does not . . . abridge any right or rights of any creditor under existing
 laws.” Denying tens of thousands of claimants continued access to the courts in order to pursue direct claims against
 J&J and hundreds of retailers for their own conduct, because LTL was allocated Old JJCI’s indemnity liabilities in
 the Texas Two Step, would constitute an abridgement of creditor rights that the statute precludes.

                                                             51
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                  Desc Main
                                Document    Page 65 of 108



 debtor/creditor readjustment process that justifies the extraordinary effect of a stay of creditor

 pursuit of self-interest.” (quoting In re Saxby’s Coffee Worldwide, LLC, 440 B.R. 369, 378 (Bankr.

 E.D. Pa. 2009))).

        Further, any resort to equity here, in order to extend the automatic stay to J&J and hundreds

 of its commercial partners, would be wholly inappropriate under the facts of this case, because of:

 (i) the non-arm’s length nature of the agreements pursuant to which the Debtor was “allocated”

 the indemnifications, shared insurance coverage and tender agreements at issue: (ii) the

 inconsistencies in the positions J&J advances in favor of a stay post-bankruptcy compared to the

 positions it advanced prior to the bankruptcy; (iii) J&J’s inequitable conduct in inducing claimants

 to continue investing emotionally, physically and financially in litigation when J&J knew it would

 be seeking to halt the litigations; and (iv) the devastating impact on J&J’s dying victims from being

 denied their right to a jury trial. (See pp. 21–38, supra; pp. 89–91, infra).

        Even if the Debtor were correct that § 362(a)(1) applied to non-debtors “of its own force”

 without the need for any equitable extension (which is not the case), the requested stay should still

 be denied. It is well settled that, in interpreting and applying a statute, “a court must look beyond

 that plain language where a literal interpretation would lead to an absurd result, or would otherwise

 produce a result ‘demonstrably at odds with the intentions of the drafters.’”           In re Phila.

 Newspapers, LLC 418 B.R. 548, 560 (E.D. Pa. 2009) (quoting United States v. Ron Pair Enters.,

 Inc., 489 U.S. 235, 242 (1989)); see also In re Kaiser Aluminum Corp., 456 F.3d 328, 330 (3d Cir.

 2006) (“A basic principle of statutory construction is that we should avoid a statutory interpretation

 that leads to absurd results.”); Mitchell v. Horn, 318 F.3d 523, 535 (3d Cir. 2003) (“We do not

 look past the plain meaning unless it produces a result demonstrably at odds with the intentions of

 its drafters . . . or an outcome so bizarre that Congress could not have intended it.” (citations and



                                                  52
Case 21-03032-MBK        Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                  Desc Main
                               Document    Page 66 of 108



 quotations omitted)). Rather, any interpretation and application of § 362(a) should accord with

 “the legislative purpose and underlying policy goals of the automatic stay.” Denby-Peterson, 941

 F.3d at 122. The result advocated by the Debtor here — that non-debtors can avail themselves of

 the automatic stay simply by unilaterally allocating to the debtor indemnity and other obligations

 on the eve of the bankruptcy filing — is an absurd result that would turn the purpose of automatic

 stay on its head, enabling non-debtors seeking litigation advantage to abuse it.          Any such

 construction should not be countenanced.

        In that vein, it bears noting that there is no apparent limit to the principle that the Debtor

 implicitly asks this Court to apply — that any debtor could simply be formed as receptacle for, or

 even voluntarily enter into or assume, agreements with non-debtors on the eve of a bankruptcy

 filing for the purpose of broadening the scope of the stay. Application of any such principle would

 pervert the language and purpose of the stay that Congress determined to confer, automatically but

 not without limitation, upon a bankruptcy filing. (See pp. 44–47, supra).

        Indeed, the Third Circuit has rejected similar attempts to “game” the Bankruptcy Code

 through, as here, manipulation or artifice. See, e.g., In re Owens Corning, 419 F.3d 195, 200, 216

 (3d Cir. 2005) (reversing an order allowing “deemed” consolidation of Chapter 11 estates of

 corporate-debtor-borrowers and related corporate entities that guaranteed their loan obligations,

 on the ground it was “a ploy to deprive one group of creditors of their rights while providing a

 windfall to other creditors”); In re Integrated Telecom Express, Inc., 384 F.3d 108, 129 (3d Cir.

 2004) (finding bad faith where “the company had no significant debt apart from the Landlord’s

 claim,” which formed the basis of strategic bankruptcy petition); In SGL Carbon Corp., 200 F.3d

 154, 157 (3d Cir. 1999) (“The bankruptcy filing contained a proposed reorganization plan under

 which only one type of creditor would be required to accept less than full cash payment for its



                                                 53
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 67 of 108



 account, namely the antitrust plaintiffs who obtained judgments against SGL Carbon.”); accord In

 re Millennium Lab Holdings II LLC, 945 F.3d 126, 139 (3d Cir. 2019) (eschewing

 “gamesmanship” in connection with seeking bankruptcy court approval of third party releases

 “simply because” third parties “demand them”); In re Combustion Eng’g, Inc., 391 F.3d 190, 238

 (3d Cir. 2004) (rejecting notion that non-debtors can manufacture subject matter jurisdiction

 necessary to support a channeling injunction in favor of the non-debtors by providing financial

 support to the debtor; “[i]f that were true, a debtor could create subject matter jurisdiction over any

 non-debtor third party by structuring a plan in such a way that it depended upon third-party

 contributions”).

        Moreover, federal courts reject “feigned” or “collusive” cases, like the charade staged by

 J&J in this case, because, among other things, they undermine “the integrity of the judicial

 process.” Poe v. Ullman, 367 U.S. 497, 505 (1961) (internal quotation marks and citation omitted).

 In United States v. Johnson, 319 U.S. 302 (1943), for example, the Court dismissed for want of a

 case or controversy a cooperative lawsuit brought by a tenant against a landlord, at the landlord’s

 behest and expense, to vindicate the landlord’s interests. The Court noted that the case “was

 instituted as a ‘friendly suit’ at [the defendant’s] request;” that the plaintiff was represented by

 “counsel who was selected by [defendant's] counsel” in advance of the lawsuit; and that the

 defendant agreed in advance to pay the plaintiffs’ counsel for bringing the suit. See id. at 304

 (“Even in a litigation where only private rights are involved, the judgment will not be allowed to

 stand where one of the parties has dominated the conduct of the suit by payment of the fees of

 both.”); see also Muskrat v. United States, 219 U.S. 346, 360-61 (1911) (dismissing staged and

 friendly suit designed to obtain a judicial ruling on the legality of a claims resolution scheme,

 because the defendant (like J&J in the present case) had invited the lawsuit and agreed in advance



                                                   54
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                     Desc Main
                                 Document    Page 68 of 108



 to pay the plaintiffs’ attorneys fees, and had “no interest adverse to the claimants”). This case

 bears all the hallmarks of a feigned and collusive case. It is a “friendly” bankruptcy dominated by

 J&J, financed by J&J, orchestrated by J&J, and instituted to provide J&J (and other non-debtor

 parties) with the benefits of the stay and litigation advantages over talc claimants. The faux nature

 of this case is confirmed by the fact that the Debtor in this case does what few if any genuine

 debtors ordinarily do: affirmatively seek to assume liability upon liability for hundreds of affiliated

 and non-affiliated parties, all in a brazen attempt to ensure that the injunctive relief sought by the

 Motion is as broad as possible.

         The three cases from the North Carolina Court on which the Debtor relies do not dictate a

 different conclusion. See In re Aldrich Pump, LLC, Case No. 20-30608 (JCW) 2021 WL 3729335

 (Bank. W.D.N.C. Aug. 23, 2021); In re Bestwall LLC, 606 B.R. 243 (Bankr. W.D.N.C. 2019), In

 re DBMP LLC, Case No. 20-30080 (JCW), 2021 WL 3552350 (Bankr. W.D.N.C. Aug. 11, 2021).

 Each of those decisions applied the automatic stay to non-debtors following the Texas Two-Step

 under an entirely different set of facts. In all of those cases, the principal entities seeking protection

 of the stay were themselves parties to the Texas divisional merger. There was no parent company,

 like J&J here, seeking to stay direct, pre-merger personal injury claims against that parent company

 and its commercial partners. Aldrich Pump involved the divisional merger of two entities,

 Ingersoll-Rand Company (“Old IRNJ”) and Trane US, Inc. (“Old Trane”). Old IRNJ divided

 into entities, Trane Technologies Company LLC (“New TTC”) and debtor Aldrich Pump LLC;

 and Old Trane divided into two entities, Trane US Inc. (“New Trane”) and debtor Murray Boiler

 LLC. 2021 WL 3729335, at *1. At the time of the merger, there were no claims for personal

 injury asserted against any parent company of Old IRNJ and/or Old Trane. Rather, the claims

 sought to be stayed in the bankruptcy were those principally against New TTC and New Trane on



                                                    55
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                  Desc Main
                                Document    Page 69 of 108



 theories of “alter ego” or “fraudulent conveyance.” Id. at *21. In Bestwall, Georgia-Pacific LLC

 (“Old GP”) underwent a divisional merger, in which it was succeeded by two entities, Georgia-

 Pacific LLC (“New GP”) and the debtor Bestwall LLC. As in Aldrich, there was no parent

 company of Old GP seeking a stay of direct, pre-merger tort claims against it. Rather, the focus

 of the stay motion was claims against New GP, as to which the court found “[t]he liability being

 asserted against New GP and Bestwall would be identical and co-extensive in every respect.” 606

 B.R. at 251. And in DBMP, CertainTeed Corporation (“Old CertainTeed”) divided by merger

 into CertainTeed LLC (“New CertainTeed”) and the debtor DBMP LLC. No party was alleging

 direct tort claims against any parent company of Old CertainTeed. Rather, the focus of the motion

 was on post-merger tort claims against New CertainTeed. The court found that “[p]ost-merger,

 the only way that these tort claims themselves might be asserted against third parties like New

 CertainTeed would be through remedial equitable doctrines like alter ego and successor liability,

 or by attacking them as fraudulent transfers,” and granted the motion. 2021 WL 3552350, at *20.

 In short, none of the cases on which the Debtor relies involved a separate parent entity seeking the

 benefit of a divisional merger to which it was not a party in order to stay direct pre-merger tort

 claims against it — which is what J&J seeks here.

        For all of the foregoing reasons, this Court should reject the request of the Debtor to extend

 the stay to hundreds of non-debtors, where the claim of shared identities of interests is based solely

 on the allocation of agreements to the debtor on the eve of the bankruptcy filing for the very

 purpose of extending the stay.

                3.      In All Events, Denying the Stay Would Have No Impact on the
                        Debtor’s Estate

        The Debtor still bears the burden of showing that continuation of the actions sought to be

 stayed would have actual and substantial consequences to the Debtor’s estate, even if an identify

                                                  56
Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                           Desc Main
                                    Document    Page 70 of 108



 of interests were to exist (which it does not). See FPSDA I, 2012 WL 6681794, at *8 (“It is not

 enough for the movant to show some limited risk, or that there is a theoretical threat to the

 reorganization, because it is always the case that a lawsuit against principals of the Debtor could

 have some effect on the reorganization. Rather, and in keeping with the principle that extending

 the stay to non-debtors is extraordinary relief, the party seeking extension of the stay must put

 forth real evidence demonstrating an actual impact upon, or threat to, the reorganization efforts if

 the stay is not extended.”).27 Here, because this bankruptcy case and the Debtor itself are a

 charade, denying the extension of the stay to the Protected Parties can have no impact on the

 Debtor’s estate as a practical matter. Nor has the Debtor shown otherwise.

         Case law makes clear that the existence of an indemnification from the debtor to a non-

 debtor (the Debtor’s principal argument for extending the stay under § 362(a)(1)) is an insufficient

 ground for extension of the automatic stay. Rather, for the stay to apply, the debtor has the burden

 to show that the indemnification obligation threatens the debtor’s assets or reorganization. See,

 e.g., Uni-Marts, 399 B.R. at 416 (concluding that indemnification obligation did not constitute

 “unusual circumstances” where it did not threaten reorganization); Millard, 266 B.R. at 45

 (“Ultimately, the decisive issue is consideration of the same policy underlying the Automatic Stay

 — whether extension of the stay is necessary to foster the reorganization process.”); All Seasons

 Resorts, 79 B.R. at 904 (“Although there is a closeness between debtor and co-defendants by

 reason of their officer and agent status and their right to indemnification . . . the magnitude of the




 27
         See also In re First Cent. Fin. Corp., 238 B.R. 9, 19 (Bankr. E.D.N.Y. 1999) (concluding that, absent
 “massive depletion of estate assets” and distraction to management, no basis to extend the stay existed); Official
 Unsecured Creditors Committee of Phar-Mor, Inc. v. Bowen, et al. (In re Phar-Mor, Inc. Sec. Litig.), 164 B.R. 903,
 906 (W.D. Pa. 1994) (declining to extend the stay where the action would not will not “materially affect or diminish
 the Debtor’s claims.”).

                                                         57
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                               Desc Main
                                     Document    Page 71 of 108



 harm to debtor if no stay is in force does not approach the scope of the potential injuries besetting

 the debtors in Robins”).

          Here, the Debtor cannot meet its burden because the Debtor is a shell and has no actual

 estate to be impacted. The Debtor claims that it might face indemnification obligations – which,

 of course, it cannot meet because J&J stripped it of all real assets. However, in place of those

 assets J&J left the Funding Agreement which the Debtor (i.e., J&J) asserts allows the Debtor to

 access the funds of J&J and New JJCI to meet all of its talc liabilities. Of course, these claims are

 not true — but true or not, the Funding Agreement and the various corporate shell games that

 comprised the Texas Two-Step mean that the Debtor can never actually have an adverse effect

 from a talc judgment against J&J (or any of the other purported Protected Parties).

          First, for arguments’ sake, take J&J at its word that the Funding Agreement works the way

 J&J claims it does: J&J or New JJCI picks up the tab for any talc liability of the Debtor and does

 not seek to use the Funding Agreement to hinder, delay, and defraud their creditors and the

 creditors of the Debtor. In that case, J&J tenders an adverse talc judgment to the Debtor — and

 the Debtor simply tenders that liability right back to J&J to pay. No effect on the Debtor’s estate.28

          Next, take the more accurate view: that the Funding Agreement is a scheme to hinder,

 delay, and defraud talc powder creditors — in other words, if J&J tenders an adverse talc powder

 judgment to the Debtor, it will not honor its reimbursement obligations under the Funding

 Agreement and will seek to maroon that liability at the Debtor for some length of time (or forever).

 That would have an adverse impact on the Debtor — but it would demonstrate that the scheme to



 28
          Moreover, the circularity of J&J’s indemnity does not assist it in obtaining a stay. In this Circuit, indemnities
 requiring future litigation to resolve precludes sufficient impact on the debtor’s estate to justify extending the stay to
 a non-debtor, here, J&J. See In re Lower Bucks Hosp., 488 B.R. 303, 314 (E.D. Pa. 2013) (“[W]here the right to
 indemnification is contingent on a factual finding in an action not involving the bankruptcy debtor and requires the
 commencement of another lawsuit to establish that right,” jurisdiction is lacking to extend the stay to a non-debtor),
 aff’d, 571 F. App’x 139 (3d Cir. 2014).

                                                            58
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 72 of 108



 allocate those liabilities to the Debtor was a fraudulent transfer, and those liabilities should be

 transferred right back to where they belong — at J&J and New JJCI (or the assets of those entities

 transferred to the Debtor to satisfy those obligations). See, e.g., 11 U.S.C. § 548(a) (“[T]he trustee

 may avoid any transfer (including any transfer to or for the benefit of an insider under an

 employment contract) of an interest of the debtor in property, or any obligation (including any

 obligation to or for the benefit of an insider under an employment contract) incurred by the debtor

 . . . if the debtor voluntarily or involuntarily made such transfer or incurred such obligation with

 actual intent to hinder, delay, or defraud any entity to which the debtor was or became, on or after

 the date that such transfer was made or such obligation was incurred, indebted . . . .”).

        J&J cannot have it both ways. Either the Funding Agreement is what they claim it is, and

 such indemnification obligations merely round-trip by virtue of the Funding Agreement. Or it is

 not (it is not), and such indemnification obligations instead round-trip by virtue of the avoidance

 of the fraudulent transfers at the heart of the Texas Two-Step and the creation of the Debtor. In

 either case, there is no ultimate harm to the Debtor’s estate, and an extension of the stay to J&J

 and the “Protected Parties” would serve no purpose other than to frustrate non-debtors’ legitimate

 claims. See Bradberry, 86 So. 3d at 983 (“It would make no sense to extend the automatic stay

 protections to solvent co-defendants. They don’t need it, and at the same time it would work a

 hardship on plaintiffs, by giving an unwarranted immunity from suit to solvent co-defendants.”

 (citations and quotations omitted)). For this reason, too, the Debtor’s request to apply to J&J and

 hundreds of its affiliates, insurers and retailers should be rejected.




                                                   59
Case 21-03032-MBK                Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                        Desc Main
                                       Document    Page 73 of 108



                   4.       As a Factual Matter, Despite Efforts to Manufacture One, There Is
                            No Identity of Interest

                            a.       The Debtor has not proven an “identity of interest” with J&J

                                    i.        The record is clear that J&J is a joint tortfeasor with
                                              direct liability to claimants

          As courts often observe, “the Code was not intended to stay actions . . . where the

 nondebtor’s liability rests upon his own breach of duty” or to “trample the rights of the Creditor-

 Defendants to assert their independent and distinct claims against a non-bankrupt third party.”

 Phar-Mor, Inc. v. Gen. Elec. Capital Corp. (In re Phar-Mor, Inc. Sec. Litig.), 166 B.R. 57, 62

 (W.D. Pa. 1994); accord Combustion Eng’g, 391 F.3d at 234 (holding injunctive relief could not

 extend to “independent non-derivative claims against non-debtor third parties,” because it “would

 improperly extend bankruptcy relief to non-debtors” and “would jeopardize the interests of future

 . . . claimants” against the non-debtors); see Stanford v. Foamex L.P., 2009 WL 1033607, *2 (E.D.

 Pa. Apr. 15, 2009) (concluding “unusual circumstances” did not permit automatic stay to extend

 to non-debtor entities because “plaintiff in this action alleges that each of the non-bankrupt

 defendants is independently liable”).29

          Thus, it is settled law that “joint tortfeasors” are not entitled to the benefit of the automatic

 stay upon a co-defendant’s bankruptcy filing. Williford v. Armstrong World Industries, Inc., 715

 F.2d 124, 127-28 (4th Cir. 1983); Robins, 788 F.2d at 999 (opining, in cases where a separate

 party, even a co-defendant with a debtor in pending litigation, is “independently liable as, for

 example, where the debtor and another are joint tortfeasors or where the nondebtor’s liability rests

 upon his own breach of duty . . . the automatic stay would clearly not extend to such non debtor”);



 29
         See also Aldan Indus., 2000 WL 357719, at *7 (automatic stay did not extend to non-debtor where separate
 proceeding against non-debtor could proceed in debtor’s absence: “arbitration of the Escrow Claim can be held without
 the Debtor”); Holland v. High Power Energy, 248 B.R. 53, 58 (S.D. W. Va. 2000) (automatic stay is inapplicable
 when a third party has “obligations that are ‘independent’ and primary, not derivative of those of the debtor.”).

                                                          60
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 74 of 108



 Gold v. Johns-Manville Sales Corp., 723 F.2d 1068, 1076 (3d Cir. 1983) (upholding denial of a

 stay to co-defendants after the Johns-Manville defendants filed for bankruptcy, explaining that the

 suits could proceed because “the Chapter 11 debtors are potential joint tortfeasors”).

        Indeed, given the harms to alleged victims claiming tort injury are especially high, the grant

 of any to a joint tortfeasor must exceed a high bar. As stated by the Third Circuit in the Johns-

 Manville case:

        the clear damage to the plaintiffs is the hardship of being forced to wait for an
        indefinite and, if recent experience is any guide, a lengthy time before their causes
        are heard. Moreover, we cannot ignore the fact that plaintiffs and crucial witnesses
        are dying, often from the very diseases that have led to these actions. We are not
        persuaded that the hardship imposed on defendants by proceeding to trial without
        Johns-Manville or our legitimate interest in judicial economy is sufficient to force
        these plaintiffs to forbear until the bankrupt defendants emerge from the
        reorganization proceedings. The defendants may be seriously inconvenienced by
        the resumption of the actions against them; under the standard announced in Landis,
        however, the balance of hardship weighs in favor of the injured plaintiffs.

 Johns-Manville Sales Corp., 723 F.2d at 1076; see also Austin v. Unarco Industries, Inc., 705 F.2d

 1, 5 (1st Cir. 1983) (denying discretionary stay because plaintiffs and crucial witnesses are dying

 and “the damage to the plaintiff would be the financial hardship of being forced to wait for an

 undefined but potentially lengthy period before receiving the money to which she may be

 entitled”); Williford, 715 F.2d at 127-28 (holding, in denying extension of stay, that “[o]f particular

 significance in balancing the competing interests of the parties in the case at bar are the human

 aspects of the needs of a plaintiff in declining health as opposed to the practical problems imposed

 by the proceedings in bankruptcy, which very well could be pending for a long period of time. A

 stay under such circumstances would work manifest injustice to the claimant.”); Wedgeworth v.

 Fibreboard Corp., 706 F.2d 541, 545 (5th Cir. 1983) (determining discretionary stay was properly

 denied because “the requisite balancing of the competing interests involved in these cases weighs

 in favor of allowing the remaining actions to proceed. The realities of the hardship of a stay on


                                                   61
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                  Desc Main
                                Document    Page 75 of 108



 the plaintiffs, many of whom allege that they are dying from asbestosis, is substantial and, in some

 instances, permanent. The grim reaper has called while judgment waits.”).

        Here, the record overwhelmingly establishes that the claims in the MDL and thousands of

 state court actions against J&J that are pending, or have been tried to judgment, are based on J&J’s

 conduct and are, thus, direct. (See pp. 17‒20, supra). Indeed, as set forth above, juries have been


 required to, and have, found J&J liable for talcum powder product liability claims, separately and

 independently from Old JJCI. (See id.). No appellate court has reversed a judgment against J&J

 on the grounds that, as a matter of law, it does, or did, not have a legal duty to the plaintiff. (See

 id.). To the contrary, in affirming, in substantial part, one of the largest personal injury awards in

 history, the appellate court in Ingham found J&J liable to the plaintiffs based on the evidence in

 the record, rejecting any notion that J&J’s liability was based on derivative principles of alter ego

 or agency. (See id.). Hence, even if the Debtor were the valid successor to Old JJCI, J&J is nothing

 more than a mere joint tortfeasor that, given the devastating impact of a stay on those suing it for

 personal injuries, absent clearly and convincingly proven “unusual circumstances” (not shown

 here), is not entitled to application of the Debtor’s stay.

        The Debtor’s mantra that the claims against J&J are based “on the same products, same

 defect, and same alleged harm” as claims against Old JJCI (Mem. at 19) — even if true — does

 not alter that conclusion. The assertion of claims involving overlapping theories of liability, harm

 and damages is the very nature of joint tortfeasor liability, which the courts have made crystal clear

 is insufficient for application of the automatic stay. In all events, the Debtor’s contention simply

 disregards the record demonstrating distinct findings of liability, damages and culpability made

 against each of J&J and Old JJCI. (See pp. 17–20, supra).




                                                   62
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 76 of 108



        Nor has the Debtor even tried to make any concrete showing that continued litigation

 against J&J would somehow otherwise impair the Debtor’s ability to reorganize. (Mem. at 72–

 73). In fact, the Debtor can make no such showing. The Debtor has no business to reorganize.

 (See pp. 6‒7, supra). Moreover, the record is clear that the Debtor’s skeletal staff no longer have


 (if they ever had) any responsibilities for products liability claims brought against J&J. (See p. 6,

 supra). In short, it would only be if the Debtor’s seconded staff insinuated themselves in J&J’s

 defense of talcum powder claims that the Debtor would be distracted from the reorganization. Of

 course, the Debtor cannot manufacture its own impairment of estate administration to justify

 extension of the stay.

        In sum, the Debtor has not demonstrated any cognizable “identity of interest” between it

 and J&J.

                             ii.       The Debtor’s invocation of the 1979 Agreement is
                                       unavailing.

        The Debtor asserts that it nevertheless has demonstrated an identity of interest with J&J

 “because the Debtor has a contractual obligation to indemnity [sic] J&J pursuant to the 1979

 Agreement” that was allocated to it in the Texas Two-Step. (Mem. at 80.) In the 1979 Agreement,

 according to the Debtor, Old JJCI “assumed all liabilities” associated with J&J’s talcum powder

 products. (Mem. at 8-12). The argument is baseless.

        To start, even if Old JJCI did “assume all liabilities” relating to J&J’s talcum powder

 products (which, as set forth herein, it did not), that assumption would not alter J&J’s status as a

 joint tortfeasor. It is settled law that “[c]orporations cannot discharge liabilities for their torts

 against third parties through contract.” Jaycox v. Terex Corp., No. 4:19-CV-02650 SRC, 2021

 WL 2187907, *12 (E.D. Mo. May 28, 2021). Hence, “[e]ven if a successor assumes the tort

 liability of the predecessor through an asset purchase agreement, a plaintiff may still bring a claim

                                                  63
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                Desc Main
                                Document    Page 77 of 108



 against the predecessor.” Id. (citing 15 Fletcher’s Cyclopedia of the Law of Corporations § 7123

 (2020)); see also In re Federal-Mogul Global Inc., 411 B.R. 148, 161 (Bankr. D. Del. 2008) (“The

 indemnity provisions allocated liabilities between Wagner and Pneumo Abex. They did not impact

 the claims against either party that may be brought directly by an asbestos claimant.”). Rather, for

 any assumption to be binding on creditors, the creditors would have to indicate acceptance of the

 assumption. See Fletcher’s Cyclopedia of the Law of Corporations § 7114 (Sept. 2021 update)

 (“[W]here an assumption agreement is based on a valuable consideration and the receipt of the

 property of the other company is a sufficient consideration, the company assuming such debts or

 liabilities may become liable, provided, it seems, there has been an acceptance of, or acquiescence

 in, the agreement by the creditors of the corporation that was originally indebted.” (emphasis

 added)); Darcy v. Brooklyn & N.Y. Ferry Co., 89 N.E. 461, 462 (N.Y. 1909) (“The consent of the

 creditor to accept the substituted debtor is essential to make such an agreement valid as against

 him.”). That did not occur.

        In any event, the record does not support the Debtor’s position that Old JJCI did assume

 “all liabilities” associated with J&J’s talcum powder products. That is especially so, given the

 contradictory positions both J&J and JJCI repeatedly took in talcum powder litigations before the

 filing of this bankruptcy case. (See pp. 21–28, supra). Up until the bankruptcy filing, J&J and

 Old JJCI were uniform in asserting that there were no indemnification agreements between them,

 and, further, as to any claim of pre-1979 exposure, if not post-1979 exposure, as well, it was J&J

 — not JJCI — that was the legally responsible party. (Id.). In fact, J&J and JJCI’s prior positions

 are grounded in the record. (See id.).




                                                 64
Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                              Desc Main
                                    Document    Page 78 of 108



          To effectuate an assumption by contract, “[t]he agreement must be clear and

 unambiguous.” Fletcher’s Cyclopedia of the Law of Corporations § 7114 (Sept. 2021 update).30

 Here, based on its plain wording, the only assumption that the 1979 Agreement effectuated was an

 assumption of “indebtedness, liabilities and obligations of every kind and description . . . allocated

 on the books or records of J&J as pertaining to its BABY Division.” (See p. 32, supra). But there

 is nothing in the record identifying the specific “indebtedness, liabilities and obligations . . .

 allocated on the books or records of J&J as pertaining to its BABY Division” — let alone that such

 indebtedness, liabilities, and obligations included talcum powder liabilities and expenses — when

 the 1979 Agreement was executed. (See pp. 32–33, supra). Indeed, it is indisputable that the first

 cases alleging cancer resulting from J&J’s talcum powder products were not filed until decades

 later.

          Nor is there any legal support for the Debtor’s suggestion that “liabilities . . . allocated on

 the books or records” means all liabilities — past, present or future — associated with a company’s

 product lines. (Mem. at 10). The phrase “books or records” has a specific meaning in the context

 of corporate law, which cannot be broadly construed and does not encompass every corporate

 communication or document. N.J.S.A. 14A:5–28 5A (statute delineates limited categories of

 documents that corporations have a duty to maintain); Fletcher Cyc. Corp. §§ 2189, 2191, 2193

 (describing standard provisions); Huylar v. Cragin Cattle Co., 7 A. 521, 522 (N.J. Ch. 1887)

 (“[Then-existing] statutory authority to order a company to bring its books into the state does not



 30
           Notably, J&J knew how to draft broader indemnification provisions when it wished. When J&J sold Windsor
 to Cyprus in 1989, for example, J&J agreed to indemnify Cyprus against “any product liability-based claim, suit,
 demand or cause of action directed against Cyprus, Windsor or Western or any of their affiliates arising out of the sale
 of tale or talc-containing products manufactured by Windsor, Western, J&J or the affiliates of Windsor, Western or
 J&J, prior to Closing.” (Cl. Ex. 50, at § 11.2, p. 62). Exhibit I to the agreement contained an itemized list of pending
 product liability lawsuits specifically covered by the indemnity provision. (Id.).


                                                           65
Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                           Desc Main
                                    Document    Page 79 of 108



 embrace, by implication, the authority to order it to bring all its papers and memoranda here also.”);

 Feuer v. Merck & Co., 187 A.3d 873, 888 (N.J. App. Div. 2018), aff'd, 207 A.3d 264 (N.J. 2019)

 (right to inspect corporation's “books” did not include “analyses or tentative studies,” which were

 “in the nature of confidential inter-office communications” and prepared solely for management's

 information). Thus, the phrase “books or records” does not necessarily encompass a particular

 past, present or future tort liability simply because the company may possess a “document”

 referring to that liability or potential liability.31

         In fact, in Deutsche Bank Nat. Trust Co. v. FDIC, 109 F. Supp. 3d 179 (D.D.C. 2015), the

 court rejected the argument the Debtor makes here. The court held that a buyer’s assumption of

 “liabilities . . . reflected on the books and records” of the seller encompassed only liabilities

 “reflected at a stated Book Value on . . . accounting records.” Id. at 199. The court concluded that

 the term “records” meant accounting records and rejected the contention that the term included

 any document. The term, the court explained, could not “be stretched beyond its purpose to impose

 liability on JPMC for any potential liability written down on any medium in any WaMu office” —

 an argument that “fails from its own sheer hyperbole.” Id. at 201. So, too, here.32 The language in

 the 1979 Agreement expressly limits the liabilities being assumed to those “allocated on the books

 or records of J&J as pertaining to its BABY Division” as of January 1, 1979. In the absence of

 any showing (of which there is none) that the talcum powder claims against J&J that the Debtor




 31
          Subsection 4 of Section 14A:5–28 belies the Debtor’s position. It provides that a court may order a
 corporation to bring into New Jersey “books, documents and records.” N.J.S.A. 14A:5–28(4). The statute, on its face,
 thus draws a distinction between “documents,” “books” and “records.”
 32
         Courts have also repeatedly held that even provisions assuming liabilities referenced in books and records do
 not encompass contingent liabilities. Harrison Lumber & Hardware Co. v. C. I. R., 15 T.C.M. (CCH) 281 (Tax 1956);
 Blackstone Valley Elec. Co. v. Stone & Webster, Inc., 867 F. Supp. 73, 75–76 (D. Mass. 1994); Ferguson v. Arcata
 Redwood Co., 2004 WL 2600471, at *4 (N.D. Cal. 2004); Cowan v. Harris Corp., 1982 WL 602774, at *1 (D. Kan.
 1982)).

                                                         66
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                 Document    Page 80 of 108



 now seeks to stay were “allocated on the books or records of J&J” as of January 1, 1979, the Debtor

 has not proven the identity of interest it claims.

        The cases cited by the Debtor, Bippus v. Norton Co., 437 F. Supp. 104 (E.D. Pa. 1977) and

 Bouton v. Litton Indus., Inc., 423 F.2d 643 (3d Cir. 1970), do not dictate another result. In Bippus,

 the assumption agreement included language that was the opposite of the language in the 1979

 Agreement: The agreement in that case referred not only to “all recorded liabilities,” but, “in

 addition, those liabilities and obligations under the contracts, agreements, commitments and

 unaccepted or irrevocable bids . . . which are not recorded at the date of the Closing Balance Sheet

 and unrecorded liabilities for services actually rendered or materials or supplies delivered . . . .”

 Bippus, 437 F. Supp. at 106 (emphases added). The court, applying Pennsylvania law, found an

 indemnity obligation by the seller of a business with respect “to tools manufactured prior to the

 date of sale.” Id. Similarly, in Bouton, the assumption agreement contained broad language

 referring to “all liabilities and obligations . . . in respect of the contracts and commitments referred

 to in paragraph (f) of Section 3, and all other contracts and commitments entered into in the regular

 and ordinary course of . . . business at any time.” 423 F.2d at 648 (emphasis added). Applying

 New York law, the court found an indemnity obligation by the seller of a business for personal

 injuries claims arising after the sale based on products sold before the sale. The contrast between

 the agreements in those cases and the 1979 Agreement is thus stark, and defeats any reliance on

 those cases to support the Debtor’s unsupported reading of the language in the 1979 Agreement.

 Moreover, nothing in either case (neither applying New Jersey law, which governs the 1979

 Agreement) supports any contention that the language in the 1979 Agreement applies

 prospectively to cover claims against J&J after 1979 resulting from J&J’s conduct. In short, the




                                                      67
Case 21-03032-MBK           Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                  Desc Main
                                  Document    Page 81 of 108



 Debtor’s reliance on the 1979 Agreement to establish an identity of interest with J&J sufficient to

 justify extending the stay to stop all talcum powder litigation against J&J is unavailing.

                          b.      The Debtor has not proven an “identity of interest” with J&J’s
                                  affiliates

           In a single part of a single sentence in its 93-page brief, the Debtor also contends that an

 extension of the stay to over 400 subsidiaries of J&J is warranted “pursuant to a merger support

 agreement” — an agreement that the Debtor does not even discuss, let alone quote, in its brief.

 (Mem. at 80). In the Amended and Restated Divisional Merger Support Agreement (Dbt. Ex. 1

 (LTL 0002321-27) (the “MSA”) — one of the agreements prepared before the Debtor’s existence

 without any negotiation from, any representation by, or any independent regard for the fairness to,

 the Debtor (see pp. 29–31, supra) — the Debtor “agreed” on the date of its formation to “indemnify

 and hold harmless [New] JJCI and each of its affiliates . . . from and against all Losses (or

 Proceedings in respect thereof) to which [New] JJCI or any of its affiliates may become subject,

 insofar as such Losses (or Proceedings in respect thereof) relate in any way to (a) a claim in respect

 of any Chenango One Assets or Chenango One Liabilities” (LTL 0002322), comprising the assets

 and liabilities “allocated” to the Debtor in the Divisional Merger Plan/Schedules. (See pp. 29–38,

 supra).

           The Debtor’s reliance on a non-arm’s length agreement that was foisted upon it on the day

 that it was formed in order to argue in favor of an extension of the stay to over 400 J&J subsidiaries

 is patently unwarranted. Indeed, the argument undermines any claim of independence by the

 Debtor and the credibility of its Motion. (See pp. 29–31, 50–55, supra). As Mr. Kim testified

 when questioned about the MSA, its reach “[d]epends on how you define affiliates.” (11/4/21 H’rg.

 Tr. 278:15-18). There is no definition of “affiliate” in the MSA. (Dbt. Ex. 1 (LTL 0002321-27)).

 Without any definition, according to Mr. Kim, “the fact that this is JJCI agreement talking about


                                                   68
Case 21-03032-MBK            Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31               Desc Main
                                   Document    Page 82 of 108



 affiliates it's really just, you know, other companies, operating companies that had product.” (Id.

 279:9-18). Even if the MSA were arm’s length, the Debtor makes no showing that the 400 J&J

 subsidiaries to which it seeks to extend the stay under § 362(a)(1) fall within the contemplated

 scope of its indemnification. Nor does the Debtor show that there even are any actions, or even

 any threats of actions, being taken against these 400 subsidiaries. The Debtor’s attempt to confer

 the automatic stay on 400 J&J affiliates is, thus, pure overreach.

                        c.       The Debtor has not proven an “identity of interest” with J&J’s
                                 retailers

        The 145 Retailers to which the Debtor seeks to extend the stay, like J&J, are joint

 tortfeasors, and thus, absent clearly and convincingly established “unusual circumstances,” are

 undeserving of any extension of a co-defendant’s bankruptcy stay. In many states, “[a] retailer

 who sells a product in a defective condition may be held liable in a products liability action.

 Furthermore, a retailer, along with others engaged in distributing a defective product, may be held

 strictly liable for personal injuries caused by the product’s defects, even though the retailer has no

 control as to hidden or latent defects, as where the product is prepackaged.” 63 Am. Jur. 2d

 Products Liability § 91 (Aug. 2021 update) (citing cases) ; see also, e.g., Milchalko v. Cooke Color

 & Chem. Corp., 91 N.J. 386, 394 (1982) (“Under New Jersey law, manufacturers, as well as all

 subsequent parties in the chain of distribution, are strictly liable for damages caused by defectively

 designed products.”); Pierre-Louis v. DeLonghi America, Inc., 66 A.D.3d 859, 860, 887 N.Y.S.2d

 628, 630 (2d Dep’t 2009) (denying retailer’s motion for summary judgment and explaining “a

 manufacturer may be held liable for placing into the stream of commerce a defective product which

 causes injury” and “[t]his burden is also imposed on a wholesaler, distributor, or retailer who sells

 a product in a defective condition” ) (internal quotation marks and citations omitted); Restatement,

 Torts 2d, § 402A, comment f (strict products liability “applies to any manufacturer of such a


                                                  69
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 83 of 108



 product [and] to any wholesale or retail dealer or distributor”). Furthermore, as set forth above,

 the fact that Old JJCI, after the fact, may have entered into Tender Agreements with the retailers

 does not eliminate such liability. (See pp. 63–65, supra). Thus, as set forth above (see p. 59–60,

 supra), the extension of the stay to a non-debtor is inappropriate where, as here, the non-debtor is

 “independently liable” to the creditor. See CAE Indus. Ltd. v. Aerospace Holdings Co., 116 B.R.

 31, 33 (S.D.N.Y. 1991) (quoting Robins, 788 F.2d at 999).

        The Debtor’s argument for extending the stay to non-debtor retailers is based on the

 claimed existence of Tender Agreements that Old JJCI had signed in connection with 450 pending

 lawsuits. (Mem. at 29.) But the Debtor has not proven the existence, let alone, terms, of all of

 these claimed Tender Agreements. Scant few are in the record. (See p. 37, supra). Indeed, not

 every Tender Agreement in the record is one solely from Old JJCI. To the contrary, certain of the

 Tender Agreements in the record provide for indemnification of the retailers from J&J (in addition

 to Old JJCI). (See, e.g., Silverstein Decl., Exs. 46-47; Cl. Exs. 141 & 142).

        In any event, even as to those Tender Agreements in the record that are exclusively from

 Old JJCI, the Debtor’s position that they justify an extension of the stay to the non-debtor

 indemnitees thereunder is unsupported by the law. In this Circuit, “an indemnity provision is not

 in and of itself sufficient to satisfy the A.H. Robins standard” to permit extension of the stay to a

 non-debtor. Jackson v. Trump Entertainment Resorts, Inc., 2015 WL 13637411, at *3; Algemene

 Bank Nederland, N.V. v. Hallwood Indus., Inc., 133 B.R. 176, 180 (W.D. Pa. 1991) (the “debtor

 and the nonbankrupt defendant are not ‘closely related’ in the sense contemplated by the circuits

 extending the stay provisions to non-bankrupt defendants, merely by virtue of the indemnification

 agreement”). Rather, to give rise to “identity of interest” necessary to create the “unusual

 circumstance” sufficient to extend the automatic stay to a non-debtor indemnitee, the debtor’s



                                                  70
Case 21-03032-MBK            Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                           Desc Main
                                   Document    Page 84 of 108



 indemnification obligation must be “absolute.” Forcine Concrete & Const. Co. v. Manning Equip.

 Sales & Serv., 426 B.R. 520, 525 (E.D. Pa. 2010) (“Because there is no indication that such

 obligations would be “absolute” in this case, the prospect of indemnification does not provide the

 “unusual circumstances” required by McCartney to extend the automatic stay to the non-debtor

 parties.”); Federal-Mogul, 282 B.R. at 308 (“The possibility that the loser of an unrelated dispute

 might seek to recover its losses from the debtor does not make the dispute between non-debtors

 subject to the jurisdiction of the bankruptcy court.”).

         Here, the Tender Agreements to which the Debtor points, on their faces, fall far short of

 “absolute” indemnification. Rather, all versions of Old JJCI Tender Agreements33 contain at

 least one, and usually more than one, of the following clauses: (a) reserving rights to re-evaluate

 this acceptance should new facts come to light indicating that the assumption is incorrect, that the

 claim arises as a result of the negligent or intentional acts of the retailer or any other appropriate

 basis determined in the future; (b) reserving rights to re-tender the defense back to retailer if

 claimant was not exposed to talcum powder product or that the Old JCI subject products were not

 purchased from retailer, or that retailer made representations that extended beyond the scope of

 JJCI's warranties; (c) reserving rights to adjust the proportion of defense costs it will pay if

 claimant was exposed to not only a JJCI talcum powder product, but also to another talcum powder

 product at issue; or (d) reserving rights to tender the defense back if JJCI did not manufacture or

 provide the products at issue in the above-referenced matter.” (See pp. 37–38, supra). As such,

 the Tender Agreements on which the Debtor relies do not warrant the extension of the stay to the

 145 retailers, which, at most, are conditional indemnitees.



 33
          All of the Tender Agreements produced by the Debtor contain at least one of the examples of language cited
 in the text. See, e.g., LTL 0012785-788, LTL 0013496-499, LTL 0019870-874, LTL 0020862-863, 971, LTL
 0021236-237, LTL 0021287-288.

                                                         71
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 85 of 108



                        d.      The Debtor has not proven an “identity of interest” based on
                                “collateral estoppel”

        As a “catch all,” the Debtor argues that, even if had no indemnification obligations, shared

 insurance coverage or defense payment requirements, it nevertheless would have an “identity of

 interest” with the hundreds of “Protected Parties,” because continued litigation against such parties

 “creates risks of binding the Debtor through res judicata and collateral estoppel.” (Mem. at 71).

 The argument fails.

        It is well settled that mere apprehension that a creditor may later attempt to assert collateral

 estoppel, or a related doctrine, based on a finding by a court in a non-stayed action is insufficient

 grounds for applying the automatic stay. See Queenie, 321 F.3d at 288 (“If such apprehension

 could support application of the stay, there would be vast and unwarranted interference with

 creditors’ enforcement of their rights against non-debtor co-defendants.”); see also Forcine

 Concrete, 426 B.R. at 526 (“Moreover, while several courts have considered potential collateral

 estoppel effects as a factor supporting extension of the automatic stay to non-debtor parties,

 the Queenie court “located [no] decision[s] applying the stay to a non-debtor” solely on collateral

 estoppel grounds, id., and this court has discovered no post-Queenie cases in this district extending

 a stay on such grounds.”); Int'l Union of Painters & Allied Trades Dist. Council No. 21 Health &

 Welfare Fund v. Serv. Painting, Inc., No. CV 18-3480, 2019 WL 2143370, at *7 (E.D. Pa. May

 16, 2019).

        In all events, the Debtor’s apprehension is misplaced. Collateral estoppel may not be

 asserted against a party in a subsequent proceeding where the party did not have a full and fair

 opportunity to litigate the claim or issue in the prior proceeding. See, e.g., Allen v. McCurry, 449

 U.S. 90, 96–97 (1980); Haring v. Prosise, 462 U.S. 306, 213 (1983). Here, the automatic stay

 precludes the commencement or continuation of any action against the Debtor. Because the Debtor


                                                  72
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                              Desc Main
                                     Document    Page 86 of 108



 necessarily will not be a party to any continued litigation against any non-debtor entities, it cannot

 be collaterally estopped from later litigating any issue decided in those actions. See, e.g., Pacor,

 Inc. v. Higgins, 743 F.2d 984, 995 (3d Cir. 1984). Speculative arguments to the contrary in support

 of a requested stay have been rejected. See, e.g., In re Metal Center, Inc., 31 B.R. 458, 463 (Bankr.

 D. Conn. 1983) (“the debtor would not be bound by any judgment [the creditor] might obtain

 against [the co-debtor] in state court, and consequently, [the co-debtor] is not protected by the

 automatic stay”); In re MCSi, Inc., 371 B.R. 270, 275 (S.D. Ohio 2004); accord Combustion

 Eng’g, 391 F.3d at 233, 242 (finding record “insufficient” to support channeling injunction).34

          In sum, the Debtor has not established any extension of the stay to any non-debtor under §

 362(a)(1). Its Motion, to the extent it relies on § 362(a)(1), should be denied.

          C.       The Stay Under § 362(a)(3) is Inapplicable Here

          In addition to invoking § 362(a)(1)’s stay of “actions against the Debtor,” the Debtor also

 invokes§ 362(a)(3)’s stay of “any act to obtain possession of property of the estate,” to justify the

 stay of litigation against hundreds of non-debtors. (Mem. at 44-62). The “property of the estate”

 to which the Debtor points in order to justify a stay of tens of thousands of litigations against non-



 34
          The cases cited by the Debtor (Mem. at. 70-71) are inapposite. In W.R. Grace & Co. v. Chakarian (In re
 W.R. Grace & Co.), 386 B.R. 17 (Bankr. D. Del. 2008), the court addressed a motion to “expand” an injunction to a
 non-debtor under §105. Id. at 20. The court found an “identity of interest” where (i) “no direct action” was asserted
 against non-debtor, and (ii) the claims against the non-debtor would trigger over 1,000 indemnification claims against
 the debtor, requiring a duty to defend, that the court found would result in the “diversion of resources would retard
 the administration of the chapter 11 cases by requiring the time and commitment of individuals intimately involved in
 the chapter 11 cases at this critical time, seven years into the case.” 386 B.R. at 22-24. Against that backdrop, and
 with an admitted “broader view of the potential impact on the debtor’s estate,” the court found it could “take[] into
 account the risks of collateral estoppel and record taint.” Id. at 29. Those risks arose for reasons inapplicable here —
 a duty to defend on the part of the debtor, not present here. In In re Am. Film Techs., Inc.,175 B.R. 847 (Bankr. D.
 Del. 1994), on which the Debtor also relies, the court observed that the “automatic stay affords protection only to
 debtors and does not extend to ‘cotortfeasors,’ ‘joint obligors,’ ‘guarantors,’ ‘sureties,’ or other non-debtor ‘co-
 defendants’” and, thus, that “third-party suits are permitted to proceed if the nondebtor is a joint tortfeasor with the
 debtor or where the nondebtor's liability rests upon his own breach of duty.” Id. at 850-53. The court nevertheless
 granted a preliminary injunction in favor of a nondebtors who had an “absolute” right of indemnification from the
 debtor. Id. While the court also found that the claims against the debtor “expose[d] [the debtor] to collateral estoppel
 prejudice,” it also stated that the identity of interests created by the absolute indemnity was “a more important issue.”
 Id. 853-55.

                                                           73
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 87 of 108



 debtors falls into two broad categories. (Id.). The Debtor asserts that the “right to insurance

 coverage is property of the estate,” and, thus, that “[s]ection 362(a)(3) bars plaintiffs from bringing

 suits, against the Debtor's Insurers, the Retailers and J&J, that would deplete the Debtor's insurance

 on account of Debtor Talc Claims.” (Id. at 44-46). Further, the Debtor asserts that the tens of

 thousands of claims asserted by talcum powder plaintiffs against J&J and retailers (the Debtor

 identifies no lawsuits by claimants against insurance companies) are property of the estate because

 the claims supposedly assert “derivative liability” (such as alter ego or piercing the corporate veil),

 are based on “successor liability,” or involve “fraudulent conveyance” — all of which the Debtor

 asserts are claims that “belong” to the Debtor, even if asserted by claimants. (Id. at 46-62). The

 Debtor’s position finds no more support in the language and purpose of § 362(a)(3) than it does

 under § 362(a)(1).

                1.      The Assertion of Shared Insurance Coverage Here Does Not Satisfy
                        § 362(a)(3)

        The lynchpin to the Debtor’s argument that § 362(a)(3) compels the stay of tens of

 thousands of lawsuits against non-debtor J&J based on shared insurance coverage is that “J&J and

 the Debtor are both covered for talc-related claims under various shared insurance policies.”

 (Mem. at 45). In fact, “[u]nder the weight of authority, insurance contracts have been said to be

 embraced in this statutory definition of ‘property’” for purposes of § 362(a)(3). Robins, 788 F.2d

 at 1001. Nonetheless, the Third Circuit has instructed that courts should not just “assume[] that

 independent claims against [non-debtors] would reduce the insurance proceeds available to the

 estate.” Combustion Eng’g, 391 F.3d at 232-33 (finding no “related to” jurisdiction in the absence

 of “factual findings regarding the terms, scope or coverage of the allegedly shared insurance

 policies”).




                                                   74
Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                             Desc Main
                                    Document    Page 88 of 108



          Here, by the Debtor’s own admission, the third party insurance carriers for Old JJCI and

 J&J have never acknowledged any coverage obligation or paid a penny for talc-related liabilities

 — through decades of litigation — and have always asserted, and continue to assert, defenses to

 such coverage. (See pp. 34–36, supra). Nothing in the record demonstrates that this status quo is

 likely to change at any time during the course of this bankruptcy case. Because the carriers are

 currently disputing coverage, there is nothing more than speculation that actions against co-insured

 non-debtor third parties actually risks depletion of available insurance proceeds. Such speculation

 over shared insurance fails to provide a basis for extending the automatic stay. See Combustion

 Eng’g, 391 F.3d at 226 (finding insufficient evidence to resolve the issue of shared insurance,

 including the issue of the debtor’s purported automatic liability and declined to exercise

 jurisdiction); Phar-Mor, 164 B.R. at 906 (no basis for extending stay where movant “has failed to

 establish that [nondebtor] would be unable to satisfy judgments that exceed the insurance

 coverage”); In re Imerys Talc America, Inc, Inc., 2019 WL 3253366, at *2–9(D. Del. 2019)

 (declining to assert jurisdiction in motion made by J&J to transfer venue of talcum powder cases

 on, among other grounds, that J&J failed to provide detail specifying how purported shared

 insurance policies with the debtor might apply to claims by each of the many plaintiffs). Cf., e.g.,

 In re Quigley Co., Inc., 676 F.3d 45, 53–54, 58 (2d Cir. 2012) (noting that litigation against a non-

 debtor may be stayed where it “would almost certainly result in the drawing down of insurance

 policies” (emphasis added)).35




 35
           Moreover, the Debtor has failed to prove that, in fact, it is covered under the various insurance policies it
 invokes, the vast majority of which are not even in the record. (See p. 35, supra). Even if Old JJCI were covered,
 there is nothing in the record to establish that the “allocation” to the Debtor of policies covering Old JJCI, which
 merged out of existence in a merger with Chenango Zero, which then itself merged out of existence when the Debtor
 was created, has been accepted by any insurance carrier. (See pp. 29, 35, supra).

                                                          75
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                               Desc Main
                                     Document    Page 89 of 108



          But even if the Debtor has third party insurance coverage, continued litigation against J&J

 and other “Protected Parties” would cause no shrinkage in coverage. The Debtor states that limits

 of its shared third party insurance coverage with J&J and others is approximately $2 billion. (See

 p. 34, supra). But J&J and its affiliates already have well-exceeded that coverage limit through

 defense costs and verdict and settlement payments incurred prior to the bankruptcy. (See pp. 19–

 20, supra). Indeed, J&J’s payment in the summer of 2021 of more than $2 billion in satisfaction

 of the Ingham judgment alone exceeded the limits of its third-party insurance coverage. Thus,

 even if J&J and the Debtor were to prevail in their insurance coverage dispute with third party

 carriers, the coverage to which they would be entitled already has been exhausted by past litigation

 expenses and liabilities. Further, their captive insurance coverage through Middlesex was also

 exhausted, before J&J made the Ingham payment that (assuming there is coverage) exhausted the

 third party coverage. (See p. 35, supra). In short, any continued talcum powder litigation will not

 impact the Debtor’s available insurance one iota. Either no coverage exists or, if it does, it has

 been exhausted. In either case, there can be no depletion in shared insurance if litigation against

 “Protected Parties” continues.

          For these reasons, as well as those set forth above (see pp. 57–59, supra), any resort to a

 shrinkage in shared insurance coverage as a basis for extending the stay to hundreds of “Protected

 Parties” under § 362(a)(1) or (3) is unavailing. 36




 36
           To the extent that the Court concludes that the alleged shared insurance proceeds do constitute property of
 the estate, the Debtor still has not proven that it would impact the Debtor’s property, as the Court can fashion relief to
 protect the purported shared insurance policies, including preventing any party claiming an interest in the proceeds
 (such as J&J) from making a claim to the proceeds of the policies absent relief from the Debtor’s automatic stay. See
 Goldin v. Primavera Familienstiftung Tag Assocs. (In re Granite Partners, L.P.), 194 B.R. 318, 337-38 (Bankr.
 S.D.N.Y. 1996) (“We are not convinced that an action by a third party to recover a judgment against another third
 party, whose liability may be covered under an insurance policy that also grants the debtor separate rights, implicates
 the automatic stay.”).

                                                            76
Case 21-03032-MBK                Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31               Desc Main
                                       Document    Page 90 of 108



                      2.        The Assertion that the Debtor “Owns” the Claims to Be Stayed Does
                                Not Satisfy § 362(a)(3)

              The Debtor devotes tens of pages in its brief to discussing legal standards governing claims

      for alter ego, fraudulent conveyance and successor liability — all of which claims the Debtor

      asserts are property of the estate (Mem. at 44-62). It does so on the unstated theory that the tens

      of thousands of claims against J&J (and less against retailers) that the Debtor is now seeking to

      stay under § 362(a)(3) qualify as such claims and, thus, are property of the estate. The theory, and

      the entire discussion, is a red herring.

              As is abundantly clear in the record (see pp. 17–20, supra), the claims asserted against J&J

      and retailers based on the manufacture, marketing, and sale of J&J cosmetic talcum powder claims

      are not based on derivative, successor liability, or fraudulent conveyance theories. Rather, the

      claims are direct claims based on J&J’s and/or the retailers’ conduct. (See id.) In fact, this is the

      very opposite of the situation in which § 362(a)(3) usually has been applied to stay litigation:

      Claimants here are not suing J&J and retailers to recover the assets of the Debtor. Claimants —

      none of whom even have sued LTL — have expressed no interest in LTL’s assets at all. Instead,

      it is crystal clear that claimants have been suing, and absent injunction will continue to sue, J&J

      and Retailers to get to their assets based on their liability. Under such circumstances, § 362(a)(3)

      is entirely inapposite.

              For all of the foregoing reasons, the Debtor’s Motion, to the extent it seeks to extend the

      stay under § 362(a) of the Bankruptcy Code to hundreds of non-debtors, should be denied.

II.           THE DEBTOR HAS NOT DEMONSTRATED ITS ENTITLEMENT TO
              PRELIMINARY INJUNCTIVE RELIEF UNDER § 105(A) OF THE
              BANKRUPTCY CODE

              As the Third Circuit has observed:

              The legislative history . . . clearly indicates that Congress intended section 105(a)
              to be available to the debtor to enjoin . . . proceedings even where the proceedings
                                                       77
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 91 of 108



        are specifically excepted from the automatic stay of section 362. The relief under
        section 105(a), however, is neither automatic nor may it be imposed sua sponte by
        the court. The movant must meet the standards for injunctive relief . . . .

 Wedgewood Realty Group, 878 F.2d at 701. Here, the Debtor asserts that, assuming § 362(a) does

 not extend to the “Protected Parties” (to which, as set forth above, it does not), it nevertheless is

 entitled to a preliminary injunction under § 105(a) enjoining tens of thousands of lawsuits against

 J&J and other non-debtors “to maintain the integrity of the debtor's estate and fully effectuate the

 protections of the automatic stay.” (Mem. at 64). As set forth herein, the Debtor has not met its

 heavy burden for obtaining such relief.

        A.      The Court Does Not Have Subject Matter Jurisdiction to Issue the Requested
                Injunction Enjoining Actions Between Non-Debtors

        As a threshold matter, to establish its entitlement to preliminary injunctive relief under

 § 105(a), the Debtor must first demonstrate that the Court has subject matter jurisdiction to grant

 that requested relief. It is well settled that while “[s]ection 105(a) permits a bankruptcy court to

 ‘issue any order, process or judgment that is necessary or appropriate to carry out the provisions’

 . . . , § 105 does not provide an independent source of federal subject matter jurisdiction.”

 Combustion Eng’g, 391 F.3d at 224-25. Rather, “jurisdiction must . . . exist independently of any

 [request to] enjoin claims against non-debtors.” Id. at 225. In that vein, it is the Debtor’s burden

 to establish that the Court has subject matter jurisdiction over this matter. See Nuveen Mun. Tr. ex

 rel. Nuveen High Yield Mun. Bond Fund v. WithumSmith Brown, P.C., 692 F.3d 283, 293 (3d Cir.

 2012). It cannot meet that burden.

        Pursuant to 28 U.S.C. § 1334(b), a Bankruptcy Court has jurisdiction over cases under the

 Bankruptcy Code, as well as all matters or proceedings that (i) “arise under” the Bankruptcy Code;

 (ii) “arise in” a case under the Bankruptcy Code; or (iii) “relate to” a proceeding under the




                                                  78
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                                Document    Page 92 of 108



 Bankruptcy Code. Phila. Newspapers, 407 B.R. at 612. The Debtor contends that the Court has

 jurisdiction to issue the preliminary injunction on all three grounds. (Mem. at 37-39).

        Both “arises under” and “arises in” jurisdiction are considered “core” proceedings in

 bankruptcy. Combustion Eng’g, 391 F.3d at 225. A proceeding is deemed to “arise under” the

 Bankruptcy Code when the Bankruptcy Code creates the cause of action or provides the

 substantive right being invoked. Stoe v. Flaherty, 436 F.3d 209, 217 (3d Cir. 2006) (citing Halper

 v. Halper, 164 F.3d 830, 836, 836–37 n. 7 (3d Cir.1999). A proceeding is deemed to “arise in” a

 bankruptcy case if such proceeding has “no existence outside of the bankruptcy.” Stoe, 436 F.3d

 at 216 (quoting United States Trustee v. Gryphon at the Stone Mansion, Inc., 166 F.3d 552, 556

 (3d Cir.1999)); see also Halper, 164 F.3d at 836 (a proceeding is “core” “if it is a proceeding that,

 by its nature, could arise only in the context of a bankruptcy case”).

        Proceedings are considered “non-core” when they fall under a court’s “related to”

 jurisdiction, which is triggered if “the outcome of [a]proceeding could conceivably have any effect

 on the estate being administered in bankruptcy.” Pacor, 743 F.2d at 994. The Pacor court

 elaborated: “an action is related to bankruptcy if the outcome could alter the debtor’s rights,

 liabilities, options or freedom of action (either positively or negatively) and which in any way

 impacts upon the handling and administration of the bankruptcy estate.” Id.; see also Phila.

 Newspapers, 407 B.R. at 612. With respect to whether a lawsuit would invoke “related to”

 jurisdiction, the “test articulated in Pacor for whether a lawsuit could ‘conceivably’ have an effect

 on the bankruptcy proceeding inquires whether the allegedly related lawsuit would affect the

 bankruptcy proceeding without the intervention of yet another lawsuit.” Federal–Mogul Global,

 Inc., 300 F.3d at 382.




                                                  79
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                 Document    Page 93 of 108



         For the reasons set forth below, the Debtor has not met, and cannot meet, its burden to

 establish that the Court has jurisdiction to consider issuance of preliminary injunctive relief

 enjoining tens of thousands of non-debtor claimants from continuing to prosecute claims against

 non-debtor J&J and hundreds of other non-debtors.

                 1.      The Request for Injunctive Relief Is Not a Core Proceeding, as It
                         Neither “Arises Under” the Bankruptcy Code Nor “Arises In” the
                         Bankruptcy Case

         The Debtor asserts “arising under” and “arising in” jurisdiction based on the contention

 that it is seeking a “section 105(a) injunction . . . to guarantee the integrity of the automatic stay,”

 a matter that, according to the Debtor, both “invokes a substantive right created by the Bankruptcy

 Code” and “is unique to bankruptcy.” (Mem. at 35-37). The Debtor is wrong.

         Injunctive relief is certainly not unique to a bankruptcy case, and injunctions of litigation

 frequently occur outside of bankruptcy in actions having nothing to do with bankruptcy. That the

 injunctive relief is being sought under § 105 of the Bankruptcy Code does not change its

 fundamental nature. See, e.g., Combustion Eng'g, 391 F.3d at 224–25; see also In re Johns-

 Manville Corp., 801 F.2d 60, 63 (2d Cir. 1986) (“Section 105(a) does not, however, broaden the

 bankruptcy court’s jurisdiction, which must be established separately[.]”); Phila. Newspapers, 407

 B.R. at 611.

         Ultimately, the Debtor’s mere invocation of § 105 (or § 362, for that matter) is insufficient

 to establish that the injunction it seeks enjoining litigations between non-debtors “arises under”

 the Bankruptcy Code or “arises in” the Debtor’s bankruptcy case. Even if these statutory

 provisions fall under the Court’s “core” jurisdiction in a general sense, the Court is without any

 jurisdiction to stay actions between non-debtors unless those actions could have some conceivable




                                                   80
Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                             Desc Main
                                    Document    Page 94 of 108



 impact on the estate.37 However, as set forth above (pp. 56–73, supra) and explained further

 below, the Debtor has not, and cannot, make this showing.

                   2.       The Debtor Has Failed to Establish “Related To” Jurisdiction

          Nor can the Debtor show “related to” jurisdiction. The criteria for establishing “related to”

 jurisdiction is essentially co-extensive with the criteria for establishing an extension of § 362(a) to

 the hundreds of “Protected Parties” that the Debtor seeks alternatively to benefit with an injunction.

 See Combustion Eng’g, 391 F.3d at 226. Accordingly, for the same reasons, stated above (see pp.

 56–73, supra), that the automatic stay under § 362(a) should not be extended to the “Protected

 Parties,” there is no conceivable effect on the Debtor’s bankruptcy estate and, thus, no “related to”

 jurisdiction. That is: (a) the claims against J&J are independent from any claims against the Debtor

 (of which none have been asserted) or even Old JJCI; (b) the Debtor has not established any

 “absolute” indemnification obligation in favor of J&J, J&J’s 400 affiliates, the 145 retailers and/or

 any of the other Protected Parties (in fact, pre-petition it denied such indemnification liabilities);38


 37
           None of the cases cited by the Debtor (Mem. at 37) supports a different conclusion. See, e.g., Stoe, 436 F.3d
 at 216-17 (holding that a bankruptcy court lacked “arising in” jurisdiction where a former employee brought an action
 to recover unpaid severance benefits from current and former officers of a bankrupt employer); In re G-I Holdings,
 580 B.R. 388 (Bankr. D.N.J. 2018) (finding “arising in” jurisdiction to enforce the injunction provisions of its plan
 confirmation order); In Re Seven Fields Dev. Corp., 505 F.3d 260, 260-62 (3d Cir. 2007) (finding that the court had
 “arising in” jurisdiction over a post-confirmation alleged malpractice that occurred inside of the bankruptcy
 proceeding as it related to the administration of the estate.); Monroe Well Serv., 67 B.R. at 749-50 (issuing a § 105
 injunction to prevent suits “to terminate the last source of income to the debtors”); Lyondell Chem. Co., 402 B.R. 571
 (issuing limited, 60-day injunctions with carveouts to prevent disruption of debtor-in-possession financing and prevent
 involuntary insolvency proceedings in other countries); Brier Creek, 486 B.R. at 687 (granting a § 105 injunction
 against an arbitration proceeding that duplicated an adversary proceeding within the bankruptcy that “directly affects
 the administration of the bankruptcy proceedings and impedes on the court's ability to administer the estate.”);
 Elsinore, 91 B.R. 238 (enjoining a creditors’ committee from calling a meeting of the shareholders to replace Manville
 directors in an effort to undermine the reorganization plan). Moreover, as noted above, all of these cases involve
 genuine —as opposed to imagined or utterly speculative — threats to the reorganization of operating businesses, not
 shell entities seeking a litigation stay like the one requested here.
 38
           The Third Circuit has made clear that “related to” bankruptcy jurisdiction exists only where “the allegedly
 related lawsuit would affect the bankruptcy proceeding without the intervention of yet another lawsuit.” Federal–
 Mogul, 300 F.3d at 382; see also Combustion Eng’g, 391 F.3d at 231–32; In re Lower Bucks Hosp., 488 B.R. 314
 ((“The existence of an indemnification agreement between a defendant in a proceeding outside the bankruptcy action
 and a non-party bankrupt debtor does not automatically supply the nexus necessary for the exercise of ‘related to’
 jurisdiction. Only when the right to indemnification is clearly established and has accrued upon the filing of a civil


                                                          81
Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                           Desc Main
                                    Document    Page 95 of 108



 (c) the Debtor has not established that it shares insurance coverage with J&J and the retailers and

 that such shared insurance coverage is being, or is in jeopardy of being, depleted, or that there is

 even any automatic right to defend or indemnify J&J and Old JJCI;39 and (d) the Debtor has not

 established that, by collateral estoppel or otherwise, it will be bound by any judgment against any

 of the “Protected Parties.” (See pp. 59–73, supra).

         B.       The Debtor Has Not Satisfied Its Burden of Establishing the Requirements
                  for Granting the Extraordinary Relief of a Preliminary Injunction

         Even if the Court were to have subject matter jurisdiction to consider the Debtor’s request

 for preliminary injunctive relief, the Debtor has failed to meet its burden of establishing each of

 the requirements for the issuance of a preliminary injunction. A preliminary injunction — even

 one that is a fraction of the breadth requested here — is “an extraordinary remedy.” Winter v.

 Natural Resources Defense Council, Inc., 555 U.S. 7, 22 (2008); Monsanto Co. v. Geertson Seed

 Farms, 561 U.S. 139, 165 (2010) (“injunction is a drastic and extraordinary remedy, which should

 not be granted as a matter of course”); Instant Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d

 797 (3d Cir. 1989) (an injunction is an “extraordinary remedy, which should be granted only in

 limited circumstances”); see also Novartis Consumer Health, Inc. v. Johnson & Johnson – Merck

 Consumer Pharmaceuticals Co., 290 F.3d 578 (3d Cir. 2002) (same); NutraSweet Co. v. Vit-Mar

 Enterprises, Inc., 176 F.3d 151 (3d Cir. 1999) (“A preliminary injunction is an extraordinary

 remedy”). “The determination whether to grant or deny a § 105 injunction is intensely fact driven.”

 Saxby's Coffee, 440 B.R. at 380.




 action is the proceeding deemed ‘related to’ the bankruptcy case.”) (citing Federal–Mogul, 300 F.3d at 382); Imerys,
 2019 WL 3253366, at *3.
 39
         The need for additional lawsuits has already been established in concrete terms. Insurers are already suing
 J&J and Old JJCI seeking a declaratory judgment they have no duty to defend or indemnify J&J and Old JJCI. (See
 pp. 34–35, supra).

                                                         82
Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                             Desc Main
                                    Document    Page 96 of 108



          To obtain a preliminary injunction, a debtor seeking an injunction must demonstrate: (1)

 a reasonable likelihood of a successful plan of reorganization; (2) irreparable harm to the debtors'

 ability to reorganize without the requested relief; (3) that the relative balance of the harms weighs

 in favor of granting the debtor an injunction; and (4) that the requested relief would serve the

 public interest. See Phila. Newspapers, 407 B.R. at 617 (citing Tenafly Eruv Ass'n, Inc. v. Borough

 of Tenafly, 309 F.3d 144, 157 (3d Cir. 2002)); In re G-I Holdings Inc., 420 B.R. 216, 281 (D.N.J.

 2009); see also Solidus Networks, Inc. v. Excel Innovations, Inc. (In re Excel Innovations, Inc.),

 502 F.3d 1086, 1094 (9th Cir. 2007).40

          Given the extraordinary nature of preliminary injunctive relief, the burden of proof is on

 the movant, i.e., the Debtor, to establish, by clear and convincing evidence, each of the foregoing

 elements to obtain a preliminary injunction. See Phila. Newspapers, 407 B.R. at 616-17 (citing

 Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (a preliminary injunction “should not be granted

 unless the movant, by a clear showing, carries the burden of persuasion.’”) (quoting 11A Wright,

 Miller & Kane, Federal Practice and Procedure § 2948, p. 129-30 (1995); Phar-Mor, 164 B.R. at

 907 (the movant has the burden of justifying the need for an injunction “by clear and convincing

 circumstances outweighing potential harm to the party against whom [the injunction would be]

 operative.”).

          In that vein, speculation is not enough for an injunction extending the reach of the stay to

 non-debtors. “It is not enough for the movant to show some limited risk, or that there is a

 theoretical threat to the reorganization. . . Rather, and in keeping with the principle that extending

 the stay to non-debtors is extraordinary relief, the party seeking extension of the stay must put


 40
           As the Debtor recognizes, there is some inconsistency in the cases regarding whether all four prongs of the
 test are considered together or whether the first two prongs must be established first, before considering the last two
 prongs of the test. Mem. at 76, n. 40). Any such inconsistency is academic here, as the Debtor cannot satisfy any
 prong of the test.

                                                          83
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                 Document    Page 97 of 108



 forth real evidence demonstrating an actual impact upon, or threat to, the reorganization efforts if

 the stay is not extended.” FPSDA I, LLC, 2012 WL 6681794, at *8; see also Matter of S.I.

 Acquisition, Inc., 817 F.2d 1142, 1146, n. 3 (5th Cir.1987) (movant “must justify the stay by clear

 and convincing circumstances outweighing the potential harm to the party against whom it is to be

 operative”); see also Winter, 555 U.S. at 22(“[i]ssuing a preliminary injunction based only on a

 possibility of irreparable harm is inconsistent with our characterization of injunctive relief as an

 extraordinary remedy that may only be awarded upon a clear showing that the plaintiff is entitled

 to such relief.”) (citing Mazurek, 520 U.S. at 972). Here, the Debtor has not come close to meeting

 its heavy burden.

                1.      The Debtor Has Not Shown Likelihood of a Successful Reorganization

        The Debtor has offered nothing but speculation — contradicted by the facts — that a

 reorganization is likely to succeed here. First, the Debtor is a shell entity created for litigation

 advantage, and there is nothing to actually reorganize. Indeed, the Official Committee has filed a

 motion to dismiss the bankruptcy on that basis. (See p. 44, supra).

        Second, even if it were to establish a legitimate purpose for this bankruptcy case, the Debtor

 has not demonstrated any likelihood that it could confirm a plan of reorganization. According to

 the Debtor, it is seeking in a confirmed plan of reorganization “the issuance of an injunction that

 will permanently protect [it], its affiliates and certain other parties from further talc-related claims

 arising from products manufactured and/or sold by Old JCCI, or for which Old JJCI may otherwise

 have had legal responsibility, pursuant to section 105(a) and/or 524(g) of the Bankruptcy Code.”

 (First Day Decl., at ¶ 59; see also Mem. at 92 (“[The Debtor and the Protected Parties] fully

 understand that all liability arising out of the Debtor Talc Claims will be ‘resolved and channeled

 only if [the Debtor] succeeds in confirming a plan of reorganization that contains a channeling

 injunction that extends to the Protected Parties’” (quoting Bestwall, 606 B.R. at 258)). Yet, The
                                                   84
Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                             Desc Main
                                    Document    Page 98 of 108



 Debtor has not shown that its stated goal of reorganizing under § 524(g) is achievable, based on

 the current record, for at least two fundamental reasons: (1) the Debtor has not demonstrated that

 § 524(g) is available to it; and (2) the Debtor has not demonstrated any likelihood of obtaining a

 consenting class necessary for plan confirmation under §524(g).

          Section 524(g) provides, in relevant part:

          (g)(1)(A) After notice and hearing, a court that enters an order confirming a plan of
          reorganization under chapter 11 may issue, in connection with such order, an
          injunction in accordance with this subsection to supplement the injunctive effect of
          a discharge under this section.

          …

          (2)(B) The requirements of this subparagraph are that—

          (i) the injunction is to be implemented in connection with a trust that, pursuant to
          the plan of reorganization--

          (I) is to assume the liabilities of a debtor which at the time of entry of the order for
          relief has been named as a defendant in personal injury, wrongful death, or
          property-damage actions seeking recovery for damages allegedly caused by the
          presence of, or exposure to, asbestos or asbestos-containing products; …

 11 U.S.C. § 524(g) (emphasis added). “If . . . a [statutory] provision ‘is clear and unambiguous,

 [courts] must simply apply it.’” Denby-Peterson, 941 F.3d at 124 (quoting In re KB Toys Inc.,

 736 F.3d 247, 251 (3d Cir. 2013)). Here, by the plain terms of the statute, § 524(g) “require[s]”

 that, as of the Petition Date (the “entry of the order for relief”),41 the “debtor” “be named as a

 defendant in [a] personal injury” lawsuit. See Combustion Eng’g, 391 F.3d at 234 n.45 (“There

 are many statutory prerequisites imposed by § 524(g). To qualify for its protections, a court must

 find that the debtor has been named in an action for damages allegedly caused by asbestos . . . .”).




 41
          “The commencement of a voluntary case under a chapter of this title constitutes an order for relief under such
 chapter.” 11 U.S.C. § 301(b).

                                                          85
Case 21-03032-MBK              Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                               Desc Main
                                     Document    Page 99 of 108



          Principles of statutory construction (see immediately above) establish that “debtor” means

 LTL; it does not mean its predecessor-in-interest, Old JJCI. The Bankruptcy Code defines the

 “debtor” as the “person or municipality concerning which a case under this title has been

 commenced.” 11 U.S.C. § 101. That is LTL, not Old JJCI. Indeed, § 524(g), on its face,

 distinguishes the “debtor” (LTL) from a “predecessor in interest of the debtor.” See, e.g., 11 U.S.C.

 § 524(g)(4)(A)(ii)(I) and (II) (listing the relationships that may benefit from the injunction and

 specifically enumerating a “predecessor in interest of the debtor”); § 524(g)(4)(A)(iii) (a related

 party is defined to include a “predecessor in interest of the debtor” and an entity that owned a

 financial interest in the debtor or a “predecessor in interest of the debtor”).42

          The Debtor has not shown that it was named in any lawsuit prior to the bankruptcy filing

 (“the order for relief”). To the contrary, as set forth above, the Debtor’s CLO has admitted under

 oath — not surprisingly, given that the Debtor was a mere 48–hours or so old when it filed for

 bankruptcy — that, when it petitioned for bankruptcy relief, it had not been named in any lawsuits.

 (See p. 7, supra). Accordingly, the Debtor has not shown that it can avail itself of, and reorganize

 under, § 524(g).43

          Even if § 524(g) were available, the Debtor will need the support of claimants to confirm

 a plan. The Debtor can make no showing that it is likely to get it. The Debtor does not have any


 42
          The North Carolina Court cases granting preliminary injunctive relief to non-debtors following a Texas
 divisional merger did not reach a contrary conclusion. The issue of whether §524(g) is available to debtors not named
 in a lawsuit prior to the bankruptcy filing was neither raised nor decided in any of those cases. See In re Aldrich
 Pump, LLC, 2021 WL 3729335, *33-36 (finding the debtor had demonstrated a likelihood of success of reorganizing
 under §524(g) without addressing, or deciding, any argument that the debtor had not been “named as a defendant” in
 any personal injury lawsuit as of the petition date); In re Bestwall LLC, 606 B.R. at 254-56 (same), In re DBMP LLC,
 2021 WL 3552350, *39-41 (same).
 43
          The Debtor’s failing in this regard is entirely self-inflicted. Old JJCI had been named in lawsuits alleging
 injury caused by the presence of asbestos prior to the Petition Date and, thus, could have sought to avail itself of the
 benefits of §524(g). But, in an effort to obtain the benefits, without any of the burdens, of bankruptcy, J&J deliberately
 elected not to put Old JJCI into bankruptcy. It should have to live with the consequences of that decision. It certainly
 should not be entitled to rely on an interpretation of §524(g) at odds with the statute’s plain words in order to
 compensate for its own choices.

                                                            86
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                  Desc Main
                                Document    Page 100 of 108



 funded or operational debt.      There are no banks, bondholders, landlords, unions/pensions,

 vendors/suppliers, or taxing authorities. The Debtor’s debt structure really reduces down to one

 line-item: the 38,000 pending tort claims arising from the use of J&J’s talcum powder products.

 Thus, there is only one creditor class that possibly could support a plan. A channeling injunction

 under § 524(g) requires that at least 75 percent of the members of “a separate class or classes of

 the claimants whose claims are to be addressed” by the trust must vote in favor of the plan. 11

 U.S.C. § 524(g)(2)(B)(ii)(IV)(bb). By all evidence (including a pending motion to dismiss), the

 Debtor cannot demonstrate it will come anywhere close to the requisite level of support. See also

 11 U.S.C. § 129(a)(10) (requiring that, if any classes are impaired, that at least one class must

 accept the plan). Beyond that, § 1129(a)(3) mandates that any plan be proposed in good faith. See

 In re Am. Cap. Equip., LLC, 688 F.3d 145, 157 (3d Cir. 2012) (“A prior determination that a

 bankruptcy petition was filed or proceeded in good faith does not necessarily preclude a later

 inquiry into whether a plan under that petition is proposed in good faith for purposes of

 confirmation. The question of whether a Chapter 11 bankruptcy petition is filed in good faith is a

 judicial doctrine, distinct from the statutory good faith requirement for confirmation pursuant to

 § 1129(a)(3).”) (citing Combustion Eng'g, 391 F.3d at 247 n. 67; 6 Norton Bankr. L. & Prac. §

 112:10 (3d ed. 2012)). The requisite “good faith” inquiry for plan confirmation focuses on

 “whether such a plan will fairly achieve a result consistent with the objectives and purposes of the

 Bankruptcy Code.” Id. Here, there is no reorganizational goal or purpose other than to enjoin and

 channel direct claims against J&J, which is seeking the benefits of bankruptcy and none of the

 burdens, into a trust, the adequacy of which is entirely speculative. This is contrary to the purposes

 of the Bankruptcy Code, making any presumption of good faith unwarranted. For all of these




                                                  87
Case 21-03032-MBK               Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                                 Desc Main
                                      Document    Page 101 of 108



 reasons, the Debtor has not demonstrated a likelihood of a successful reorganization. Rather, any

 reorganization effort is, at best at this point, speculative.44

                    2.        The Debtor Has Not Shown That Continued Prosecutions of Claims
                              Against Non-Debtors Will Cause It Irreparable Harm

          The Debtor fails to demonstrate by clear and convincing evidence that the commencement

 or continuation of talcum powder products liability claims against any, let alone, all, of the

 hundreds of Protected Parties will cause it irreparable harm. The Debtor’s principal argument in



 44
            That the Debtor has not demonstrated the likelihood of a successful reorganization is particularly significant
 here, where the preliminary injunctive relief that the Debtor seeks — in support of an unlikely bid to reorganize — is
 far broader than any permanent channeling injunction to which the Debtor would be entitled under either §524(g) or
 §105(a). “Section 524(g) injunctions barring third party claims against non-debtors cannot be entered in favor of just
 any non-debtor.” In re Purdue Pharma, L.P., Case No. 21 cv 7532 (CM) (S.D.N.Y. Dec. 16, 2021) (Decision and
 Order on Appeal) (citing 11 U.S.C. § 524(g)(4)(A)). Rather, the injunction is available to a party only when “that
 party is alleged to be liable ‘for the conduct of, claims against, or demands on’ the debtor and to the extent that such
 liability arises ‘by reason of” one of the four relationships between the third party and the debtor.” In re Quigley Co.,
 Inc., 676 F.3d 45, 58-59 (2d Cir. 2012). Those four (4) categories of relationships, as prescribed in the statute, are as
 follows:

          (I) the third party's ownership of a financial interest in the debtor, a past or present affiliate of the
          debtor, or a predecessor in interest of the debtor;
          (II) the third party's involvement in the management of the debtor or a predecessor in interest of the
          debtor, or service as an officer, director or employee of the debtor or a related party;
          (III) the third party's provision of insurance to the debtor or a related party; or
          (IV) the third party's involvement in a transaction changing the corporate structure, or in a loan or
          other financial transaction affecting the financial condition, of the debtor or a related party, including
          but not limited to—
                    (aa) involvement in providing financing (debt or equity), or advice to an entity involved in
                    such a transaction; or
                    (bb) acquiring or selling a financial interest in an entity as part of such a transaction.
 11 U.S.C. § 524(g)(4)(A)(ii). The hundreds of retailers that the Debtor seeks to protect do not fit into any of the above
 categories of third parties eligible for a channeling injunction under § 524(g). Moreover, J&J would not be entitled
 to a channeling injunction of the direct tort claims (i.e., claims that were not filed against it “by reason of its” ownership
 interest in the Debtor) in any plan of reorganization under § 524(g). See Quigley, 676 F.3d at 61. Furthermore, the
 Third Circuit has held that § 105(a) may not “be employed to extend a channeling injunction to non- debtors in an
 asbestos case where the requirements of § 524(g) are not otherwise met.” Combustion Eng’g, 391 F.3d at 233-34,
 236-37 (“As both the plain language of the statute and its legislative history make clear, § 524(g) provides no specific
 authority to extend a channeling injunction to include third-party actions against non-debtors where the liability
 alleged is not derivative of the debtor. Because § 524(g) expressly contemplates the inclusion of third parties' liability
 within the scope of a channeling injunction — and sets out the specific requirements that must be met in order to
 permit inclusion — the general powers of § 105(a) cannot be used to achieve a result not contemplated by the more
 specific provisions of § 524(g).” (footnotes excluded)). Accordingly, the Debtor is seeking preliminarily an injunction
 that it cannot obtain permanently under either § 524(g) or § 105(a).

                                                              88
Case 21-03032-MBK           Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31               Desc Main
                                  Document    Page 102 of 108



 support of an injunction enjoining tens of thousands of claims from proceeding is that it

 purportedly has certain indemnification obligations that “could make judgments against certain

 Protected Parties on those claims tantamount to judgments against the Debtor.” (Mem. at 80

 (emphasis added)).

           The Debtor’s reliance on conjectural obligations to indemnify fails. For all of the reasons

 set forth above in the context of § 362(a), even if the unilateral allocation of Old JJCI’s

 indemnification obligations to the Debtor on the eve of the bankruptcy filing passed muster (which

 it does not), the Debtor has not proven the existence of any “absolute” indemnification obligations

 that Old JJCI had to the alleged Protected Parties. (See pp. 36–38, 70–71, supra). That is not

 surprising, given the record of J&J’s and Old JJCI’s repeated denials of the existence of any such

 indemnification obligations prior to the bankruptcy filing in multiple talcum powder litigations.

 (See pp. 21–22, supra). Further, even if the claimed indemnification obligations did exist, they

 are conditional and/or would require intervening lawsuits to enforce. (See pp. 36–38, 70–71,

 supra).

           In all events, the claimed indemnity obligations would not cause continued litigation

 against the so-called “Protected Parties” to undermine the reorganization process. Even if the

 Debtor’s factual assertions are taken at face value in all respects, the Debtor has still not

 demonstrated that the effect of the indemnity agreements would be anything other than to replace

 talcum powder claimants with indemnity claims. See Algemene Bank Nederland, N.V. v. Hallwood

 Indus., Inc., 133 B.R. at 180 (“If anything, allowance of judgment against Hallwood now might

 assist RAC's reorganization by replacing the claims of Algemene, a clearly hostile creditor, with

 Hallwood's claim for indemnification.”). Alternatively, if claims against a Non-Debtor entity with

 indemnification rights did not proceed to judgment during the bankruptcy, such claim would



                                                   89
Case 21-03032-MBK             Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                            Desc Main
                                    Document    Page 103 of 108



 continue to be, at best, a contingent general unsecured claim subject to the automatic stay and

 subject to the same review and allowance procedures as any other general unsecured pre-petition

 claim before the Court, and could be subject to expungement as contingent and unliquidated

 pursuant to § 502(e)(1)(B) of the Bankruptcy Code.45 More to the point, the Debtor claims that,

 by virtue of the Funding Agreement, J&J is backstopping any funding requirements the Debtor

 would otherwise be unable to make (and in the likely event that J&J seeks to shirk that obligation,

 it will instead be met by the ability to avoid fraudulent transfers under the Bankruptcy Code).

 Thus, even if the Debtor had indemnity obligations, the Funding Agreement assures that such

 depletion will be replenished by one of the most credit worthy enterprises in the world, J&J.

 Hence, there can be no harm to the estate. For the same reason, there can be no harm to the estate

 even if the Debtor found itself subject to collateral estoppel and/or res judicata.

         Therefore, the Debtor has not shown, and cannot show, irreparable harm.

                  3.         The Debtor Has Not Shown That the Balance of Equities Weigh In
                             Favor of an Injunction.

         The Debtor has not shown that the balance of equities weighs in favor of an injunction.

 Nor can it. As the Fourth Circuit has observed,

         [o]f particular significance in balancing the competing interests of the parties . . .
         are the human aspects of the needs of a plaintiff in declining health as opposed to
         the practical problems imposed by the proceedings in bankruptcy, which very well
         could be pending for a long period of time. A stay under such circumstances would
         work manifest injustice to the claimant.



 45
         Section 502(e)(1)(B) provides:
         (e)(1) Notwithstanding subsections (a), (b), and (c) of this section and paragraph (2) of this
         subsection, the court shall disallow any claim for reimbursement or contribution of an entity that is
         liable with the debtor on or has secured the claim of a creditor, to the extent that . . .
         (B) such claim for reimbursement or contribution is contingent as of the time of allowance or
         disallowance of such claim for reimbursement or contribution . . . .
 11 U.S.C. § 502(e)(1)(B).

                                                          90
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                Desc Main
                                Document    Page 104 of 108



 Williford v. Armstrong World Indus., 715 F.2d at 127–28.

        Here, a manifest injustice is precisely what the Debtor is seeking to achieve through its

 request for injunctive relief. Indeed, the contrast between the negligible, if any, harm to the

 Debtor’s estate, claimed by the Debtor to be backstopped by one of the richest companies in the

 world, and the immense harm to dying victims whom J&J has actually invited to pursue claims

 against it in the tort system (so that J&J could “defend” its products “in open court”) only to now

 try to stop them dead in their tracks, is staggering. The victims of J&J are sick and dying. In

 Ingham, the appellate court eloquently described the devastation experienced by these victims in

 describing what it found to be J&J’s “reprehensible” conduct:

        The harm suffered by Plaintiffs was physical, not just economic. Plaintiffs each
        developed and suffered from ovarian cancer. Plaintiffs underwent chemotherapy,
        hysterectomies, and countless other surgeries. These medical procedures caused
        them to experience symptoms such as hair loss, sleeplessness, mouth sores, loss of
        appetite, seizures, nausea, neuropathy, and other infections. Several Plaintiffs
        died, and surviving Plaintiffs experience recurrences of cancer and fear of relapse.
        All Plaintiffs suffered mentally and emotionally. Their ovarian cancer diagnoses
        caused them constant worry and fear.

 Ingham, 608 S.W.3d at 721.

        Many of the victims have been litigating against J&J for years. The MDL has been pending

 for five years, and bellwether trials are set to begin in the MDL in April (See pp. 16–17, supra).

 Other cases were trial ready or had in fact begun. As set forth above, J&J and Old JJCI, by omitting

 and misrepresenting its plans to create and put into bankruptcy LTL, induced one dying victim to

 empanel a jury and put on evidence during trial. After the trial was underway, upon the bankruptcy

 filing, they immediately argued in favor of halting the proceeding. (See p. 27, supra). It induced

 another sick plaintiff to try a case through verdict, only to reveal its bankruptcy plans after

 receiving a plaintiff’s verdict and before the judgment could be bonded. (See pp. 27–28, supra).




                                                 91
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 105 of 108



        While J&J previously argued for the continuation of litigation outside of bankruptcy —

 daring victims to prove their causes of action and for J&J to be able to defend itself in the MDL

 and other litigations — now J&J says is does not matter if the victims have to wait. But waiting

 has real-world, immediate consequences to the victims here. The women and men who have been

 seeking to hold J&J accountable through years of litigation — as is their right under the United

 States Constitution — have invested financially, physically and emotionally in the litigation. They

 are entitled to have their days in court, and to try to prove the wrong, and to seek compensation

 for the harm done to them by J&J. Many of these victims will die before they can see justice done

 and will potentially forfeit claims for pain and suffering compensatory damages under the laws of

 many States. Victims are dying, while the Debtor suffers no harm. Granting an injunction, in

 these circumstances, would turn the concept of irreparable harm on its head.

                4.      The Debtor Has Not Shown That the Public Interest Weighs Against
                        an Injunction

        Finally, the Debtor has not shown that any public interest will be served by granting the

 extraordinary injunction of enjoining tens of thousands of personal injury lawsuits against non-

 bankrupt companies who, until recently, were content to defend themselves in court. Considering

 whether an injunction serves the public interest “requires a balancing of the public interest in

 successful bankruptcy reorganizations with other competing societal interests. Monroe Well Serv.,

 67 B.R. at 753. Here, however, there is no purpose served to the Debtor’s reorganization efforts,

 as there is nothing to reorganize, nor is there any likelihood that the Debtor can achieve a successful

 plan of reorganization. The only interests that would be advanced here is the interest of J&J in

 halting all litigation and gaining a litigation advantage over tens of thousands of pending cases.

        Moreover, as shown above, there is no logical stopping point to the Debtor’s strategy. Any

 rich company facing liabilities could completely stymie them simply by allocating them to a new

                                                   92
Case 21-03032-MBK         Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                Document    Page 106 of 108



 entity and putting the entity into bankruptcy. The bankruptcy courts would be flooded with abusive

 petitions, courts would be unduly burdened, and public confidence in the fair administration of the

 bankruptcy system would be undermined. If permitted to succeed, the Debtor’s strategy would

 undermine the multi-district litigation system that Congress established in 28 U.S.C.§ 1407 to

 centralize, efficiently manage and ultimately settle mass tort actions and other litigations alleging

 the same claims and injuries. The charade that the Debtor seeks to stage is not in the public interest.

        That is especially so given that, at its core, what the Debtor seeks to deprive the claimants

 of, beyond their dignity, is their fundamental right to a jury trial of their claims enshrined in the

 Seventh Amendment of the United States Constitution.             See, e.g., Granfinanciera, S.A. v.

 Nordberg, 492 U.S. 33, 59–61 (1989) (“Congress cannot eliminate a party’s Seventh Amendment

 right to a jury trial merely by relabeling the cause of action to which it attaches and placing

 exclusive jurisdiction in an administrative agency or a specialized court of equity.”).

        For each and every one of these reasons, no injunctive relief should issue.

        C.      The Debtor’s Request for Equitable Relief Should Be Denied Due to The
                Debtor’s (and J&J’s) Unclean Hands

         Finally, it is well settled that “[t]he doctrine of unclean hands prevents a [movant] from

 obtaining equitable relief if the plaintiff has been ‘guilty of any inequitable or wrongful conduct

 with respect to the transaction or subject matter sued on.’” Worldcom, Inc. v. Boyne, 68 Fed.

 App’x. 447, 451 (4th Cir. 2003) (quoting Richards v. Musselman, 267 S.E.2d 164, 166 n. 1 (Va.

 1980) (quoting W. deFuniak, Handbook of Modern Equity § 24 (2d ed.1956))); In re New Valley

 Corp., 181 F.3d 517, 525 (3d Cir. 1999) (“[W]hen ‘some unconscionable act of one coming for

 relief has immediate and necessary relation to the equity that’ the party seeks, . . . the doctrine

 [will] bar recovery.” (quoting Keystone Driller Co. v. General Excavating Co., 290 U.S. 240, 245




                                                   93
Case 21-03032-MBK          Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                   Desc Main
                                 Document    Page 107 of 108



 (1933))). “As an equitable doctrine, application of unclean hands rests within the sound discretion

 of the trial court.” New Valley Corp., 181 F.3d at 525.

        Here, the litany of inequitable and wrongful conduct engaged in by the Debtor and its

 ultimate parent company, J&J, with respect to this application should disqualify them from the

 benefits of equity. Such conduct includes, but is not limited to, engaging in a divisive merger that

 was structured to abridge creditor rights in violation of Texas law (see p. 51 n.26, supra), filing a

 bankruptcy for the sole purpose of obtaining litigation advantage (see pp. 25–29, 39–40, supra),

 misrepresenting or concealing their efforts in that regard, thereby causing dying cancer patients to

 continue investing emotionally, physically and financially in continuing to pursue litigation that

 J&J knew it would be seeking to halt (see pp. 26–28, supra), and taking positions in bankruptcy

 court to support its request for equitable relief that are flatly contradicted by the positions that J&J

 and its affiliates consistently took up until the bankruptcy filing. (See pp. 22-25, supra). On this

 record, the Debtor and J&J are undeserving of equity.




                                                   94
Case 21-03032-MBK        Doc 142 Filed 12/22/21 Entered 12/22/21 16:54:31                 Desc Main
                               Document    Page 108 of 108



                                           CONCLUSION

        For all of the foregoing reasons, the Official Committee respectfully requests that the Court

 should deny the Motion in its entirety.

                                                      Respectfully submitted,

                                                         GENOVA BURNS LLC
 Dated: December 22, 2021

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                                                 95
